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                         THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH,
                                 CENTRAL DIVISION

                                         )
UTAH COUNTY, UTAH,                       )               COMPLAINT
                                         )
                                         )     JURY TRIAL DEMANDED AND
                                         )
                                                  ENDORSED HEREON
                                       )
                            Plaintiff, )
                                       )
v.                                     )
                                       )
PURDUE PHARMA, INC.; THE PURDUE        )
FREDERICK COMPANY, INC.; PURDUE        )          Case No. 2:18-cv-00784-EJF
PHARMA L.P.; AMERISOURCEBERGEN         )
DRUG CORPORATION; CARDINAL             )
                                                     Judge Evelyn J. Furse
HEALTH, INC.; McKESSON                 )
CORPORATION;TEVA                       )
PHARMACEUTICAL INDUSTRIES, LTD.;       )
TEVA PHARMACEUTICALS USA, INC.;        )
CEPHALON, INC.; JOHNSON & JOHNSON;      )
JANSSEN PHARMACEUTICALS, INC.;          )
ORTHO-MCNEIL-JANSSEN                    )
PHARMACEUTICALS, INC. n/k/a JANSSEN     )
PHARMACEUTICALS, INC.; JANSSEN          )
PHARMACEUTICA INC. n/k/a JANSSEN        )
PHARMACEUTICALS, INC.; NORAMCO,         )
INC.; ENDO HEALTH SOLUTIONS INC.;       )
ENDO PHARMACEUTICALS, INC.;             )
ALLERGAN PLC f/k/a ACTAVIS PLS;         )
WATSON PHARMACEUTICALS, INC. n/k/a      )
ACTAVIS, INC.; WATSON                   )
LABORATORIES, INC.; ACTAVIS LLC;        )
ACTAVIS PHARMA, INC. f/k/a WATSON       )
PHARMA, INC.;                           )
MALLINCKRODT PLC and                    )
MALLINCKRODT LLC.                       )
                                        )
                            Defendants. )
                                        )
______________________________________ )




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       Plaintiff, UTAH COUNTY, a political subdivision of the State of Utah, brings this

Complaint against Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick

Company, Inc.; Teva Pharmaceutical Industries, LTD.; Teva Pharmaceuticals USA, Inc.;

Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen

Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a

Janssen Pharmaceuticals, Inc.; Noramco, Inc.; Endo Health Solutions, Inc.; Endo

Pharmaceuticals, Inc.; Allergan PLC f/k/a Actavis PLS; Watson Pharmaceuticals, Inc. n/k/a

Actavis, Inc.; Watson Laboratories, Inc.; Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson

Pharma, Inc.; Mallinckrodt plc; Mallinckrodt LLC; McKesson Corporation; Cardinal Health,

Inc.; and AmerisourceBergen Drug Corporation (collectively “Defendants”) and alleges as

follows:

                                     I. INTRODUCTION

       1.    Plaintiff brings this civil action to eliminate the hazard to public health and safety

caused by the opioid epidemic, to abate the nuisance caused thereby and to recoup monies spent

because of Defendants’ false, deceptive and unfair marketing and/or unlawful diversion of

prescription opioids.1 Such economic damages were foreseeable to Defendants and were

sustained because of Defendants’ intentional and/or unlawful actions and omissions.

       2.    Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions.2




1
  As used herein, the term “opioid” refers to the entire family of opiate drugs including natural,
synthetic and semi-synthetic opiates.
2
 See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions
and Mitigation Strategies, 374 N. Eng. J. Med. 1253 (2016).
        3.     The opioid epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”3

        4.     Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, which turned patients into drug addicts for their own corporate profit. Such

actions were intentional and/or unlawful.

        5.     Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached

their legal duties under federal and state law to monitor, detect, investigate, refuse and report

suspicious orders of prescription opiates.

                                             II. PARTIES


                    A. PLAINTIFF

        6.     Plaintiff UTAH COUNTY (“The County” or “Plaintiff”) has the power to bring the

claims asserted herein.

        7.     Plaintiff has standing to take action to protect the public health, safety and welfare

of its citizens.

        8.     Plaintiff has declared, inter alia, that opioid abuse, addiction, morbidity and

mortality have created a serious public health and safety crisis and are a public nuisance and that




3
 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J.
Med. 1480 (2016).

                                                  2
the diversion of legally produced controlled substances into the illicit market causes or

contributes to this public nuisance.

       9.    The distribution and diversion of opioids into Utah (the “State”), and into Utah

County and its surrounding areas (collectively, “Plaintiff’s Community”), created the foreseeable

opioid crisis and opioid public nuisance for which Plaintiff here seeks relief.

       10.   Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief.

Categories of past and continuing sustained damages include, inter alia: (1) costs for providing

medical care, additional therapeutic and prescription drug purchases, and other treatments for

patients suffering from opioid-related addiction or disease, including overdoses and deaths; (2)

costs for providing treatment, counseling and rehabilitation services; (3) costs for providing

treatment of infants born with opioid-related medical conditions; and (4) costs associated with

public safety relating to the opioid epidemic. The Plaintiff has suffered and continues to suffer

these damages directly.

       11.   Plaintiff also seeks the means to abate the epidemic Defendants’ wrongful and/or

unlawful conduct has created.

       12.   Plaintiff has standing to bring an action for the opioid epidemic nuisance created by

Defendants and to bring an action stemming from Defendants’ violations of the Utah Consumer

Sales Practices Act. See generally Utah Code Ann. §§ 76-10-806 (1993) and 13-11-1 et seq.

       13.   Plaintiff has standing to recover damages incurred as a result of Defendants’

actions and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia,

to bring claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons”




                                                 3
include entities which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have

standing).

       14.    Plaintiff does not bring, or seek to bring, a product liability action.


                     B. DEFENDANTS.

                        1. Manufacturer Defendants.

       15.    The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or

purported to inform prescribers and users regarding the benefits and risks associated with the use

of the prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured

and sold prescription opioids without fulfilling their legal duty to prevent diversion and report

suspicious orders.

       16.    PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA, INC. is a New York corporation with its principal place of

business in Stamford, Connecticut and THE PURDUE FREDERICK COMPANY is a Delaware

corporation with its principal place of business in Stamford, Connecticut (collectively,

“Purdue”).

       17.    Purdue manufactures, promotes, sells and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER and Targiniq ER in the United States.

OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide sales of

OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic

drugs (painkillers).


                                                   4
       18.   CEPHALON, INC. is a Delaware corporation with its principal place of business in

Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an

Israeli corporation with its principal place of business in Petah Tikva, Israel. In October 2011,

Teva Ltd. acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is

a Delaware corporation and is a wholly owned subsidiary of Teva Ltd. in Pennsylvania.

       19.   Cephalon, Inc. manufactures, promotes, sells and distributes opioids, such as Actiq

and Fentora, in the United States. The FDA has approved Actiq only for the “management of

breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent

cancer pain.”4 The FDA has approved Fentora only for the “management of breakthrough pain in

cancer patients 18 years of age and older who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.”5 In 2008, Cephalon

pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading

promotion of Actiq and two other drugs and agreed to pay $425 million.6

       20.   Teva Ltd., Teva USA and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

Cephalon in the United States through Teva USA and has done so since its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

to the public. Teva USA sells all former Cephalon-branded products through its “specialty

4
  Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge,
CII (2009), https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
5
   Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII
(2011), https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
6
   Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425
Million & Enter Plea to Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.

                                               5
medicines” division. The FDA-approved prescribing information and medication guide, which is

distributed with Cephalon opioids, discloses that Teva USA submitted the guide and directs

physicians to contact Teva USA to report adverse events.

       21.   All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo.7 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

its own, and its year-end report for 2012 – the year immediately following the Cephalon

acquisition – attributed a 22% increase in its specialty medicine sales to “the inclusion of a full

year of Cephalon’s specialty sales,” including, inter alia, sales of Fentora®.8 Through

interrelated operations like these, Teva Ltd. operates in the United States through its subsidiaries,

Cephalon and Teva USA. The United States is the largest of Teva Ltd.’s global markets,

representing 53% of its global revenue in 2015, and, were it not for the existence of Teva USA

and Cephalon, Inc., Teva Ltd. would conduct those companies’ business in the United States

itself. Upon information and belief, Teva Ltd. directs the business practices of Cephalon and

Teva USA, and their profits inure to the benefit of Teva Ltd. as controlling shareholder. Teva

Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA, Inc.; and Cephalon, Inc. are

referred to as “Cephalon.”

       22.   JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey and is a wholly owned subsidiary of

JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. NORAMCO, INC. (“Noramco”) is a Delaware company



7
  E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21,
2017).
8
 Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.

                                                 6
headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as Janssen

Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey. JANSSEN PHARMACEUTICA, INC., now known as Janssen

Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

Pharmaceuticals’ stock and corresponds with the FDA regarding Janssen’s products. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs

and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-

Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco and J&J are referred to as

“Janssen.”

       23.   Janssen manufactures, promotes, sells and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1

billion in annual sales. Until January 2015, Janssen developed, marketed and sold the opioids

Nucynta (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172

million in sales in 2014.

       24.   ENDO HEALTH SOLUTIONS, INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS, INC. is a wholly

owned subsidiary of Endo Health Solutions, Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. Endo Health Solutions, Inc. and Endo

Pharmaceuticals, Inc. are referred to as “Endo.”

       25.   Endo develops, markets and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet and Zydone, in the United States. Opioids made up



                                                   7
roughly $403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15

billion in revenue from 2010 and 2013 and accounted for 10% of Endo’s total revenue in 2012.

Endo also manufactures and sells generic opioids, such as oxycodone, oxymorphone,

hydromorphone and hydrocodone products, in the United States, by itself and through its

subsidiary, QUALITEST PHARMACEUTICALS, INC.

       26.   ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired Allergan PLC in March

2015, and the combined company changed its name to Allergan PLC in January 2013. Before

that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012, and

the combined company changed its name to Actavis, Inc. as of January 2013 and then Actavis

PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation with its

principal place of business in Corona, California and is a wholly-owned subsidiary of Allergan

PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). ACTAVIS PHARMA, INC. (f/k/a

Actavis, Inc.) is a Delaware corporation with its principal place of business in New Jersey and

was formerly known as WATSON PHARMA, INC. ACTAVIS LLC is a Delaware limited

liability company with its principal place of business in Parsippany, New Jersey. Allergan PLC

owns each of these defendants and uses them to market and sell its drugs in the United States.

Upon information and belief, Allergan PLC exercises control over these marketing and sales

efforts and profits from the sale of Allergan/Actavis products ultimately inure to its benefit.

Allergan PLC; Actavis PLC; Actavis, Inc.; Actavis LLC; Actavis Pharma, Inc.; Watson

Pharmaceuticals, Inc.; Watson Pharma, Inc. and Watson Laboratories, Inc. are referred to as

“Actavis.”




                                              8
       27.   Actavis manufactures, promotes, sells and distributes opioids, including the

branded drugs Kadian and Norco, a generic version of Kadian and generic versions of Duragesic

and Opana, in the United States. Actavis acquired the rights to Kadian from King

Pharmaceuticals, Inc. on December 30, 2008 and began marketing Kadian in 2009.

       28.   MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its United States headquarters in St. Louis,

Missouri. MALLINCKRODT, LLC is a limited liability company organized and existing under

the laws of the State of Delaware. Mallinckrodt, LLC is a wholly owned subsidiary of

Mallinckrodt, plc. Mallinckrodt, plc and Mallinckrodt, LLC are referred to as “Mallinckrodt.”

       29.   Mallinckrodt manufactures, markets and sells drugs in the United States including

generic oxycodone, of which it is one of the largest manufacturers. In July 2017, Mallinckrodt

agreed to pay $35 million to settle allegations brought by the Department of Justice that it

failed to detect and notify the DEA of suspicious orders of controlled substances.9


                       2. Distributor Defendants.

       30.   The Distributor Defendants are defined below. At all relevant times, the Distributor

Defendants have distributed, supplied, sold and placed into the stream of commerce the

prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed to comply with federal and/or state law. The Distributor

Defendants are engaged in “wholesale distribution,” as defined under state and federal law.


9
  Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement
for Failure to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping
Violations, July 11, 2017, https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-
million-settlement-failure-report-suspicious-orders, last visited October 26, 2017.

                                                9
Plaintiff alleges the unlawful conduct by the Distributor Defendants is responsible for the

volume of prescription opioids plaguing Plaintiff’s Community.

       31.    McKESSON CORPORATION (“McKesson”) at all relevant times operated as a

licensed pharmacy wholesaler in Utah. McKesson is a Delaware corporation. McKesson has its

principal place of business located in San Francisco, California.

       32.    CARDINAL HEALTH, INC. (“Cardinal”) at all relevant times operated as a

licensed pharmacy wholesaler in Utah. Cardinal’s principal office located in Dublin, Ohio.

       33.    AMERISOURCEBERGEN DRUG CORPORATION (“AmerisourceBergen”) at

all relevant times operated as a licensed pharmacy wholesaler in Utah. AmerisourceBergen’s

principal place of business is located in Chesterbrook, Pennsylvania.

       34.    The data that reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential ARCOS database. See Madel v.

USDOJ, 784 F.3d 448 (8th Cir. 2015). Neither the DEA10 nor the wholesale distributors11 will

voluntarily disclose the data necessary to identify with specificity the transactions that will form

the evidentiary basis for the claims asserted herein.

       35.    Consequently, Plaintiff has named the three (3) wholesale distributors (i.e.,

AmerisourceBergen Drug Corporation, Cardinal Health, Inc. and McKesson Corporation) that



10
  See Declaration of Katherine L. Myrick, Chief, Freedom of Information (FOI)/Privacy Act
Unit (“SARF”), FOI, Records Management Section (“SAR”), Drug Enforcement Administration
(DEA), United States Department of Justice (DOJ), Madel v. USDOJ, Case 0:13-cv-02832-
PAM-FLN, (Document 23) (filed 02/06/14) (noting that ARCOS data is “kept confidential by the
DEA”).
11
   See Declaration of Tina Lantz, Cardinal Health VP of Sales Operation, Madel v. USDOJ, Case
0:13-cv-02832-PAM-FLN, (Document 93) (filed 11/02/16) (“Cardinal Health does not
customarily release any of the information identified by the DEA notice letter to the public, nor
is the information publicly available. Cardinal Health relies on DEA to protect its confidential
business information reported to the Agency.”).

                                                 10
dominate 85% of the market share for the distribution of prescription opioids. These “Big 3” are

Fortune 500 corporations listed on the New York Stock Exchange whose principal business is

the nationwide wholesale distribution of prescription drugs. See Fed. Trade Comm’n v. Cardinal

Health, Inc., 12 F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal Health, Inc., McKesson

Corporation and AmerisourceBergen Drug Corporation predecessors). The DEA has investigated

and/or fined each for the failure to report suspicious orders. Plaintiff has reason to believe each

has engaged in unlawful conduct that resulted in the diversion of prescription opioids into

Plaintiff’s Community, and that discovery will likely reveal others who likewise engaged in

unlawful conduct. Plaintiff names each of the “Big 3” herein as defendants and places the

industry on notice that the Plaintiff is acting to abate the public nuisance plaguing the

community. Plaintiff will request expedited discovery pursuant to Rule 26(d) of the Federal

Rules of Civil Procedure to secure the data necessary to reveal and/or confirm the identities of

the wholesale distributors, including data from the ARCOS database.

                              III. JURISDICTION & VENUE

       36.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§ 1961, et seq. (“RICO”). This Court has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367 because those claims are so related to Plaintiff’s federal

claims that they form part of the same case or controversy.

       37.    This Court also has jurisdiction over this action in accordance with 28 U.S.C. §

1332(a) because the Plaintiff is a “citizen” of this State, the named Defendants are citizens of

different states and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.



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       38.    This Court has personal jurisdiction over Defendants because they conduct

business in the State, they purposefully direct or directed their actions toward the State, some or

all consented to be sued in the State by registering an agent for service of process, they

consensually submitted to the jurisdiction of the State when obtaining a manufacturer or

distributor license and they have the requisite minimum contacts with the State necessary to

constitutionally permit the Court to exercise jurisdiction.

       39.    This Court also has personal jurisdiction over all of the Defendants under 18 U.S.C.

§ 1965(b). This Court may exercise nationwide jurisdiction over the named Defendants where

the “ends of justice” require national service and Plaintiff demonstrates national contacts. Here,

the interests of justice require that Plaintiff be allowed to bring all members of the nationwide

RICO enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17

Insurance Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (1998) (citing LaSalle National Bank v.

Arroyo Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988); Butcher’s Union Local

No. 498 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986).

       40.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. §1965

because a substantial part of the events or omissions giving rise to the claims stated herein

occurred in this District and each Defendant transacted affairs and conducted activity that gave

rise to the claims for relief in this District. 28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).




                                                 12
                              IV. FACTUAL BACKGROUND


                  A. THE OPIOID EPIDEMIC.

                       1. The National Opioid Epidemic.

       41.   Increasing abuse and diversion of prescription drugs, including opioid medications,

have characterized the past two decades in the United States.12

       42.   Prescription opioids have become widely prescribed. By 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month.13

       43.   By 2011, the U.S. Department of Health and Human Resources, Centers for

Disease Control and Prevention declared prescription painkiller overdoses to be at epidemic

levels. The news release noted:

               a. The death toll from overdoses of prescription painkillers has more than tripled

                  in the past decade.

               b. More than 40 people die every day from overdoses involving narcotic pain

                  relievers like hydrocodone (Vicodin), methadone, oxycodone (OxyContin),

                  and oxymorphone (Opana).

               c. Overdoses involving prescription painkillers are at epidemic levels and now

                  kill more Americans than heroin and cocaine combined.

               d. The increased use of prescription painkillers for nonmedical reasons, along

                  with growing sales, has contributed to a large number of overdoses and


12
   See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United
States, 372 N. Eng. J. Med. 241 (2015).
13
  Katherine M. Keyes, et al., Understanding the Rural-Urban Differences in Nonmedical
Prescription Opioid Use and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).

                                               13
                  deaths. In 2010, 1 in every 20 people in the United States age 12 and older—a

                  total of 12 million people—reported using prescription painkillers non-

                  medically according to the National Survey on Drug Use and Health. Based

                  on the data from the Drug Enforcement Administration, sales of these drugs to

                  pharmacies and health care providers have increased by more than 300

                  percent since 1999.

               e. Prescription drug abuse is a silent epidemic that is stealing thousands of lives

                  and tearing apart communities and families across America.

               f. Almost 5,500 people start to misuse prescription painkillers every day.14

       44.   The number of annual opioid prescriptions written in the United States is now

roughly equal to the number of adults in the population.15

       45.   Many Americans are now addicted to prescription opioids, and the number of

deaths due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed

roughly 64,000 people in the United States, an increase of more than twenty-two percent (22%)

over the 52,404 drug deaths recorded the previous year.16




14
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human
Servs., Prescription Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
15
 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J.
Med. 1480 (2016).
16
   See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
Provisional     Counts    of     Drug      Overdose     Deaths,    (August      8,     2016),
https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-estimates.pdf.

                                               14
       46.    Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid

painkillers are forty times more likely to be addicted to heroin.17

       47.    Heroin is pharmacologically similar to prescription opioids. The majority of current

heroin users report having used prescription opioids non-medically before they initiated heroin

use. Available data indicates that the nonmedical use of prescription opioids is a strong risk

factor for heroin use.18

       48.    The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in four (4) years. This increase mirrors large

increases in heroin use across the country and has been shown to be closely tied to opioid pain

reliever misuse and dependence. Past misuse of prescription opioids is the strongest risk factor

for heroin initiation and use, specifically among persons who report past-year dependence or

abuse. The increased availability of heroin combined with its relatively low price (compared with

diverted prescription opioids) and high purity appear to be major drivers of the upward trend in

heroin use and overdose.19

       49.    The societal costs of prescription drug abuse are “huge.”20




 See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s
17

Heroin Epidemic, https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).
18
  See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and
Heroin, 374 N. Eng. J. Med. 154 (2016).
19
  See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States,
2000–2014, 64 Morbidity & Mortality Wkly. Rep. 1378 (2016).
20
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of
Appellant Cardinal Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-
5061 (D.C. Cir. May 9, 2012), 2012 WL 1637016, at *10 [hereinafter, “Brief of HDMA”].

                                                 15
        50.   Across the nation, local governments are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than ninety (90) Americans

lose their lives after overdosing on opioids.21

        51.   The National Institute on Drug Abuse identifies misuse and addiction to opioids as

“a serious national crisis that affects public health as well as social and economic welfare.”22 The

economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs

of healthcare, lost productivity, addiction treatment and criminal justice expenditures. 23

        52.   The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999–2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United

States, 28,647 (60.9%) involved an opioid.24

        53.   The rate of death from opioid overdose has quadrupled during the past fifteen (15)

years in the United States. Nonfatal opioid overdoses that require medical care in a hospital or

emergency department have increased by a factor of six (6) in the past fifteen (15) years.25

        54.   Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidemic, which

21
     Opioid Crisis, NIH, National Institute on Drug Abuse (available at
https://www.drugabuse.gov/drugs-abuse/opioids/opioid-crisis, last visited Sept. 19, 2017)
(“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P, David F, Scholl L, Increases in Drug
and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR MORB MORTAL
WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
22
     Opioid Crisis, NIH.
23
     Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of
Prescription Opioid Overdose, Abuse, and Dependence in the United States, 2013, MED CARE
2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).
24
   See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United
States, 2010–2015, 65 Morbidity & Mortality Wkly. Rep. 1445 (2016).
25
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions
and Mitigation Strategies, 374 N. Eng. J. Med. 1253 (2016).

                                                  16
now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

opioids are “everywhere” and mistaken for candy.26

       55.    In 2016, the President of the United States declared an opioid and heroin

epidemic.27

       56.    The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country.28 Meanwhile, the manufacturers and distributors

of prescription opioids extract billions of dollars of revenue from the addicted American public

while public entities experience hundreds of millions of dollars of injury caused by the

reasonably foreseeable consequences of the prescription opioid addiction epidemic.

       57.    The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional and unlawful conduct, despite their knowledge that

such conduct is causing and/or continuing to cause the national, state and local opioid epidemic.


                       2. The Opioid Epidemic In Utah and Utah County.

       58.    The national opioid crisis has especially ravaged Utah and Utah County. Utah

County has the second largest population, by County, in Utah.

       59.    Utah experienced a nearly 400% increase in deaths form the misuse and abuse of

prescription opioids from 2000 to 2015.



26
    Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest
Victims, N.Y. Times, Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old],
of the nation’s opioid problem, ‘with tendrils that are going everywhere.’”).
27
  See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription
Opioid and Heroin Epidemic Awareness Week”).
28
  See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015
Daily Comp. Pres. Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-
201500743/pdf/DCPD-201500743.pdf.

                                               17
       60.      Utah ranked seventh in the U.S. for drug poisoning deaths from 2013 to 2015. 29

       61.      Approximately 52 adults in Utah die per year as a result of drug poisoning. Over

the last several years, drug deaths in Utah outpaced deaths due to firearms, falls, and motor

vehicle crashes. 77.6% of those deaths involve opioids, particularly prescription opioids.30 In

fact, prescription opioids have been responsible for more drug deaths in Utah than all other drug

categories.31

       62.      Drug poisoning deaths in Utah from 1999 to 2015 significantly outpaced the

national average per 100,000 population32:




       63.      From 2000 forward prescription opioid deaths in Utah rose dramatically33:


29
   http://ibis.health.utah.gov/indicator/view/PoiDth.LCD.html
30
   Id.
31
   http://health.utah.gov/vipp/pdf/RxDrugs/PDODeaths2015.pdf
32
   http://ibis.health.utah.gov/indicator/view/PoiDth.UT_US.html

                                                 18
        64.    From 2013 to 2015, Utah County had a drug death rate of 18.9 per 100,000 people,

which was significantly higher than the national average during that same time period34.

        65.    From 2014 through 2015, Utah County had 179 opioid deaths, for an opioid death

rate of 19.33 per 100,000 and 623 opioid emergency department encounters, for a rate of 62.1

per 100,000.35

        66.    Utah County is in the top indexed tier for county opioid mortality and morbidity in

the State.36

        67.      The opioid epidemic in Utah has impacted teens and young adults at a shocking

rate. In 2014, 4.18% of 12 to 17 year olds in Utah reported using prescription pain relievers for a




33
    http://ibis.health.utah.gov/indicator/view/PoiDth.Opi.html
34
    http://ibis.health.utah.gov/indicator/view/PoiDth.LHD.html
35
   https://dsamh.utah.gov/pdf/Utah%20STR%20State%20Level%20Needs%20Assessment%20Ju
ly%2031%202017.pdf
36
    Id.

                                                19
non-medical use. That same year 7.02% of 18 to 25 year olds reported using prescription

painkillers for a non-medical use, this highest rate of any age group.37

       68.   Tragically, newborns also have been harmed by the opioid epidemic in Utah. From

2005 to 2014, the number of newborns in Utah diagnosed with neonatal abstinence syndrome

increased by 275%.38 This dramatic increase is attributed to increased use of opioids by pregnant

women.39

       69.   Plaintiff’s Community has been experiencing and is continuing to experience an

excessive drug overdose rate related to an excessive volume of prescription opiates proximately

caused by the wrongful conduct by the Defendants described and named herein. The opioid

prescription rates in Plaintiff’s Community exceeded any legitimate medical, scientific, or

industrial purpose.

       70.   The epidemic is putting a strain on public resources in Utah County.

       71.   Opioid abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the State and in Plaintiff’s Community, and constitute a temporary and continuing

public nuisance, which remains unabated.


                      B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE
                      AND UNFAIR MARKETING OF OPIOIDS.

       72.   The opioid epidemic did not happen by accident.

       73.   Before the 1990s, generally accepted standards of medical practice dictated that

patients should only use opioids short-term for acute pain, pain relating to recovery from surgery,

or for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved


37
   Id. at 2.
38
   http://health.utah.gov/uwnqc/pages/documents/ChangePackageFinalDraft.pdf
39
   https://ibis.health.utah.gov/pdf/opha/publication/hsu/2013/1307_NAS.pdf

                                                20
patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time, the serious risk of addiction and other side

effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

       74.   Each Manufacturer Defendant has conducted and has continued to conduct a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of

opioids. In connection with this scheme, each Manufacturer Defendant spent and continues to

spend millions of dollars on promotional activities and materials that falsely deny or trivialize the

risks of opioids while overstating the benefits of using them for chronic pain.

       75.   The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed

the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when

signs of actual addiction began appearing and advocated that doctors should treat the signs of

addiction with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that it is easy to manage opioid dependence and withdrawal; (5) denied

the risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent”

opioid formulations to prevent abuse and addiction. The Manufacturer Defendants also have

falsely touted the benefits of long-term opioid use, including the supposed ability of opioids to

improve function and quality of life, even though there was no scientifically reliable evidence to

support the Manufacturer Defendants’ claims.




                                                 21
          76.   The Manufacturer Defendants have disseminated these common messages to

reverse the popular and medical understanding of opioids and risks of opioid use. They

disseminated these messages directly, through their sales representatives, in speaker groups led

by physicians the Manufacturer Defendants recruited for their support of their marketing

messages, through unbranded marketing and through industry-funded front groups.

          77.   The Manufacturer Defendants’ efforts have been wildly successful. Opioids are

now the most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue

for drug companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue

annually since 2009.40 In an open letter to the nation’s physicians in August 2016, the then-U.S.

Surgeon General expressly connected this “urgent health crisis” to “heavy marketing of opioids

to doctors . . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive

when prescribed for legitimate pain.”41 This epidemic has resulted in a flood of prescription

opioids available for illicit use or sale (the supply) and a population of patients physically and

psychologically dependent on them (the demand). When those patients can no longer afford or

obtain opioids from licensed dispensaries, they often turn to the street to buy prescription opioids

or even non-prescription opioids, like heroin.

          78.   The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the

harms and damages alleged herein.




40
   See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David     Crow,
Drugmakers Hooked on $10bn Opioid Habit, Fin. Times, Aug. 10, 2016,
https://www.ft.com/content/f6e989a8-5dac-11e6-bb77-a121aa8abd95.
41
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.

                                                 22
                         1. Each Manufacturer Defendant Used Multiple Avenues to
                         Disseminate Their False and Deceptive Statements About
                         Opioids.

       79.   The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients in and around the State,

including in Plaintiff’s Community. Defendants also deployed seemingly unbiased and

independent third parties whom they controlled to spread their false and deceptive statements

about the risks and benefits of opioids for the treatment of chronic pain throughout the State and

Plaintiff’s Community.

       80.   The Manufacturer Defendants employed the same marketing plans and strategies

and deployed the same messages in and around the State, including in Plaintiff’s Community, as

they did nationwide. Across the pharmaceutical industry, corporate headquarters fund and

oversee “core message” on a national basis. This comprehensive approach ensures that the

Manufacturer Defendants accurately and consistently deliver their messages across marketing

channels – including detailing visits, speaker events and advertising – and in each sales territory.

The Manufacturer Defendants consider this high level of coordination and uniformity crucial to

successfully marketing their drugs.

       81.   The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants required their sales representatives and physician

speakers to stick to prescribed talking points, sales messages and slide decks, and supervisors

rode along with them periodically to check on both their performance and compliance.



                                                 23
                          i.    Direct Marketing.

       82.   The Manufacturer Defendants’ direct marketing of opioids generally proceeded on

two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, upon information

and belief, the Manufacturer Defendants spent more than $14 million on medical journal

advertising of opioids in 2011, nearly triple what they spent in 2001.

       83.   Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like construction worker, chef and teacher, misleadingly implying

that the drug would provide long-term pain-relief and functional improvement. Upon information

and belief, Purdue also ran a series of ads called “Pain vignettes” for OxyContin in 2012 in

medical journals. These ads featured chronic pain patients and recommended OxyContin for

each. One ad described a “54-year-old writer with osteoarthritis of the hands” and implied that

OxyContin would help the writer work more effectively.

       84.   Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

through “detailers” – sales representatives who visited individual doctors and medical staff in

their offices – and small-group speaker programs. The Manufacturer Defendants have not

corrected this misinformation. Instead, each Manufacturer Defendant devoted massive resources

to direct sales contacts with doctors. Upon information and belief, in 2014 alone, the

Manufacturer Defendants spent in excess of $168 million on detailing branded opioids to

doctors, more than twice what they spent on detailing in 2000.

       85.   The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest
                                                24
influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

analyze some of the most sophisticated data available in any industry, data available from IMS

Health Holdings, Inc., to precisely track the rates of initial prescribing and renewal by individual

doctors, which in turn allows them to target, tailor and monitor the impact of their core

messages. Thus, the Manufacturer Defendants know their detailing to doctors is effective.

       86.   The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

promotions. In March 2010, for example, the FDA found that Actavis had been distributing

promotional materials that “minimize[] the risks associated with Kadian and misleadingly

suggest[] that Kadian is safer than has been demonstrated.” Those materials in particular “fail to

reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

patient for whom the drug was prescribed.”42


                          ii.   Indirect Marketing.

       87.   The Manufacturer Defendants indirectly marketed their opioids using unbranded

advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded

organizations posing as neutral and credible professional societies and patient advocacy groups

(referred to hereinafter as “Front Groups”).

       88.   The Manufacturer Defendants deceptively marketed opioids in the State and

Plaintiff’s Community through unbranded advertising – e.g., advertising that promotes opioid

use generally but does not name a specific opioid. Independent third parties ostensibly created

and disseminated this advertising. However, by funding, directing, reviewing, editing and

distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

42
   Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food &
Drug Admin., to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

                                                25
messages these third parties disseminated and acted in concert with them to falsely and

misleadingly promote opioids for the treatment of chronic pain. Much as the Manufacturer

Defendants controlled the distribution of their “core messages” via their own detailers and

speaker programs, they similarly controlled the distribution of these messages in scientific

publications, treatment guidelines, Continuing Medical Education (“CME”) programs, medical

conferences, and seminars. To this end, the Manufacturer Defendants used third-party public

relations firms to help control those messages when they originated from third-parties.

       89.   The Manufacturer Defendants marketed through third-party, unbranded advertising

to avoid regulatory scrutiny because that advertising is not submitted to and typically is not

reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded

advertising to give the false appearance that the deceptive messages came from an independent

and objective source. Like the tobacco companies, the Manufacturer Defendants used third

parties that they funded, directed and controlled to carry out and conceal their scheme to deceive

doctors and patients about the risks and benefits of long term opioid use for chronic pain.

       90.   The Manufacturer Defendants also identified doctors to serve, for payment, on their

speakers’ bureaus and to attend programs with speakers and meals paid for by Defendants. These

speaker programs provided: (1) an incentive for doctors to prescribe a particular opioid (so they

might be selected to promote the drug); (2) recognition and compensation for the doctors

selected as speakers; and (3) an opportunity to promote the drug through the speaker to his or her

peers. These speakers give the false impression that they are providing unbiased and medically

accurate presentations when they are, in fact, presenting a script prepared by Defendants. On

information and belief, these presentations conveyed misleading information, omitted material




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information and failed to correct Defendants’ prior misrepresentations about the risks and

benefits of opioids.

       91.    Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging and directing

doctors who served as KOLs, and (b) funding, assisting, directing and encouraging seemingly

neutral and credible Front Groups. The Manufacturer Defendants then worked together with

those KOLs and Front Groups to taint the sources that doctors and patients relied on for

ostensibly “neutral” guidance, such as treatment guidelines, CME programs, medical

conferences, seminars and scientific articles. Thus, working individually and collectively and

through these Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and

patients that what they have long known – that opioids are addictive drugs, unsafe in most

circumstances for long-term use – was untrue and that the compassionate treatment of pain

required opioids.

       92.    In 2007, multiple States sued Purdue for engaging in unfair and deceptive practices

in its marketing, promotion and sale of OxyContin. Certain states settled their claims in a series

of Consent Judgments that prohibited Purdue from making misrepresentations in the promotion

and marketing of OxyContin in the future. By using indirect marketing strategies, however,

Purdue intentionally circumvented these restrictions. Such actions included contributing to the

creation of misleading publications and prescribing guidelines, which lack reliable scientific

basis and promote prescribing practices that have worsened the opioid crisis.

       93.    Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of

long-term opioid use. The Manufacturer Defendants know that doctors rely heavily and less



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critically on their peers for guidance, and KOLs provide the false appearance of unbiased and

reliable support for chronic opioid therapy. For example, the State of New York found in its

settlement with Purdue that the Purdue website “In the Face of Pain” failed to disclose that

Purdue paid doctors who provided testimonials on the site and concluded that Purdue’s failure to

disclose these financial connections potentially misled consumers regarding the objectivity of the

testimonials.

       94.      Defendants utilized many KOLs, including many of the same ones.

       95.      Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees and honoraria from Cephalon, Endo, Janssen

and Purdue (among others) and was a paid consultant to Cephalon and Purdue. Dr. Portenoy was

instrumental in opening the door for the regular use of opioids to treat chronic pain. He served on

the American Pain Society (“APS”) / American Academy of Pain Medicine (“AAPM”)

Guidelines Committees, which endorsed the use of opioids to treat chronic pain, first in 1996 and

again in 2009. He was also a member of the board of the American Pain Foundation (“APF”), an

advocacy organization almost entirely funded by the Manufacturer Defendants.

       96.      Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain

using an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a



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history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted.”43

           97.   Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s and

‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than one

percent (1%) of patients would become addicted to opioids. According to Dr. Portenoy, because

the primary goal was to “destigmatize” opioids, he and other doctors promoting them overstated

their benefits and glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the

effectiveness of opioids does not exist.”44 Portenoy candidly stated: “Did I teach about pain

management, specifically about opioid therapy, in a way that reflects misinformation? Well, . . . I

guess I did.”45

           98.   Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President of American Academy of Pain Medicine (“AAPM”) in 2013. He is a

Senior Editor of Pain Medicine, the same journal that published Endo special advertising

supplements touting Opana ER. Dr. Webster was the author of numerous CMEs sponsored by

Cephalon, Endo and Purdue. At the same time, Dr. Webster was receiving significant funding

from the Manufacturer Defendants (including nearly $2 million from Cephalon).

           99.   During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his


43
     Good Morning America (ABC television broadcast Aug. 30, 2010).
44
  Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec.
17, 2012, https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
45
     Id.

                                                   29
clinic in 2010. Although the DEA closed the investigation without charges in 2014, more than

twenty (20) of Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

       100. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to

manage the risk that their patients will become addicted to or abuse opioids. The claimed ability

to pre-sort patients likely to become addicted is an important tool in giving doctors confidence to

prescribe opioids long-term, and, for this reason, references to screening appear in various

industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on or are

linked to websites run by Endo, Janssen and Purdue. Unaware of the flawed science and industry

bias underlying this tool, certain states and public entities have incorporated the Opioid Risk

Tool into their own guidelines, indicating, also, their reliance on the Manufacturer Defendants

and those under their influence and control.

       101. In 2011, Dr. Webster presented via webinar a program sponsored by Purdue

entitled “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster

recommended use of risk screening tools, urine testing and patient agreements as a way to

prevent “overuse of prescriptions” and “overdose deaths.” This webinar was available to and was

intended to reach doctors in the State and doctors treating members of Plaintiff’s Community.46

       102. Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

notion that doctors should see addictive behaviors not as warnings, but as indications of

undertreated pain. In Dr. Webster’s description, the only way to differentiate the two was to

increase a patient’s dose of opioids. As he and co-author Beth Dove wrote in their 2007 book

46
  See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the
Risk,                            http://www.emergingsolutionsinpain.com/ce-education/opioid
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited
Aug. 22, 2017).

                                                30
Avoiding Opioid Abuse While Managing Pain—a book that is still available online—when faced

with signs of aberrant behavior, increasing the dose “in most cases . . . should be the clinician’s

first response.”47 Upon information and belief, Endo distributed this book to doctors. Years later,

Dr. Webster reversed himself, acknowledging that “[pseudoaddiction] obviously became too

much of an excuse to give patients more medication.”48

         103. The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

“Front Groups” generated treatment guidelines, unbranded materials and programs that favored

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to

negative articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants.

         104. These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. The Manufacturer Defendants also exercised control over programs and

materials created by these groups by collaborating on, editing and approving their content and by

funding their dissemination. In doing so, the Manufacturer Defendants made sure that the Front

Groups would generate only the messages that the Manufacturer Defendants wanted to

distribute. Despite this, the Front Groups held themselves out as independent and serving the

needs of their members – whether patients suffering from pain or doctors treating those patients.



47
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
48
  John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18,
2012,        http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
networking-dp3p2rn-139609053.html.

                                                31
       105. Defendants Cephalon, Endo, Janssen and Purdue, in particular, utilized many Front

Groups, including many of the same ones. Several of the most prominent are described below,

but there are many others, including the American Pain Society (“APS”), American Geriatrics

Society (“AGS”), the Federation of State Medical Boards (“FSMB”), American Chronic Pain

Association (“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation

(“USPF”) and Pain & Policy Studies Group (“PPSG”).49

       106. The most prominent of the Manufacturer Defendants’ Front Groups was the

American Pain Foundation (“APF”), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

primarily from Endo and Purdue. APF issued education guides for patients, reporters and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed to high rates of addiction and other adverse outcomes –

including death – among returning soldiers. APF also engaged in a significant multimedia

campaign – through radio, television and the internet – to educate patients about their “right” to

pain treatment, namely opioids. All of the programs and materials were available nationally and

were intended to reach citizens of the State and Plaintiff’s Community.

       107. In 2009 and 2010, more than eighty percent (80%) of APF’s operating budget came

from pharmaceutical industry sources. Including industry grants for specific projects, APF

received about $2.3 million from industry sources out of total income of about $2.85 million in

2009; its budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of

49
   See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas
E. Price, U.S. Dep’t of Health and Human Servs., (May 5, 2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secret
ary%20Price%20re%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.

                                               32
a total income of about $3.5 million. By 2011, upon information and belief, APF was entirely

dependent on incoming grants from defendants Purdue, Cephalon, Endo and others to avoid

using its line of credit.

        108. APF held itself out as an independent patient advocacy organization. It often

engaged in grassroots lobbying against various legislative initiatives that might limit opioid

prescriptions and thus the profitability of its sponsors. Upon information and belief, the

Manufacturer Defendants often called upon it to provide “patient representatives” for the

promotional activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk

Pain. APF functioned largely as an advocate for the interests of the Manufacturer Defendants,

not patients. Indeed, upon information and belief, as early as 2001, Purdue told APF that the

basis of a grant was Purdue’s desire to “strategically align its investments in nonprofit

organizations that share [its] business interests.”

        109. Upon information and belief, on several occasions, representatives of the

Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these

activities and publications, knowing that drug companies would support projects conceived as a

result of these communications.

        110. The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within

days of being targeted by the Senate investigation, APF’s board voted to dissolve the




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organization “due to irreparable economic circumstances.” APF “cease[d] to exist, effective

immediately.”50

       111. Another front group for the Manufacturer Defendants was the American Academy

of Pain Medicine (“AAPM”). With the assistance, prompting, involvement and funding of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

hosted medical education programs essential to the Manufacturer Defendants’ deceptive

marketing of chronic opioid therapy.

       112. AAPM received substantial funding from opioid manufacturers. For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top

of other funding) to participate. The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff to meet

with AAPM executive committee members in small settings. Defendants Endo, Purdue and

Cephalon were members of the council and presented deceptive programs to doctors who

attended this annual event.

       113. Upon information and belief, Endo internally views AAPM as “industry friendly,”

with Endo advisors and speakers among its active members. Endo attended AAPM conferences,

funded its CMEs and distributed its publications. The conferences sponsored by AAPM heavily

emphasized sessions on opioids – thirty-seven (37) out of roughly forty (40) at one conference

50
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain
Groups, Wash. Post, May 8, 2012, https://www.washingtonpost.com/national/health-
science/senate-panel-investigates-drug-companies-ties-to-pain-
groups/2012/05/08/gIQA2X4qBU_story.html.

                                              34
alone. AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn

Webster. The AAPM even elected Dr. Webster president while he was under a DEA

investigation.

       114. The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.

       115. In 1996, AAPM and APS jointly issued a consensus statement, “The Use of

Opioids for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and

claimed that the risk of a patient’s addiction to opioids was low. Dr. Haddox, who co-authored

the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole

consultant. The consensus statement remained on AAPM’s website until 2011, and, upon

information and belief, the AAPM only removed it from the website after a doctor complained.51

       116. AAPM and APS issued their own treatment guidelines in 2009 (“AAPM/APS

Guidelines”) and continued to recommend the use of opioids to treat chronic pain. 52 Doctors,

especially the general practitioners and family doctors targeted by the Manufacturer Defendants,

have relied upon treatment guidelines. Treatment guidelines not only directly inform doctors’

prescribing practices, but are cited throughout the scientific literature and referenced by third-

party payors in determining whether they should cover treatments for specific indications.

Pharmaceutical sales representatives employed by Endo, Actavis and Purdue discussed treatment

guidelines with doctors during individual sales visits.




51
   The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the
American Academy of Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6
(1997).
52
  Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-
Cancer Pain, 10 J. Pain 113 (2009).

                                                 35
           117. At least fourteen (14) of the twenty-one (21) panel members who drafted the

AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine of the University of

Utah, received support from Janssen, Cephalon, Endo and Purdue. The 2009 Guidelines promote

opioids as “safe and effective” for treating chronic pain, despite acknowledging limited evidence,

and conclude that the risk of addiction is manageable for patients regardless of past abuse

histories.53 One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan State

University and founder of the Michigan Headache & Neurological Institute, resigned from the

panel because of his concerns that the 2009 Guidelines were influenced by contributions that

drug companies, including Manufacturer Defendants, made to the sponsoring organizations and

committee members. These AAPM/APS Guidelines have been a particularly effective channel of

deception and have influenced not only treating physicians, but also the body of scientific

evidence on opioids; the Guidelines have been cited hundreds of times in academic literature,

were disseminated in the State and/or Plaintiff’s Community during the relevant time period, are

still available online and were reprinted in the Journal of Pain. The Manufacturer Defendants

widely referenced and promoted the 2009 Guidelines without disclosing the lack of evidence to

support them or the Manufacturer Defendants’ financial support to members of the panel.

           118. The Manufacturer Defendants worked together through Front Groups to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in 2004

as an APF project. PCF comprises representatives from opioid manufacturers (including

Cephalon, Endo, Janssen and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to


53
     Id.

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ensure that an FDA-mandated education project on opioids was not unacceptably negative and

did not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.


                       2. The Manufacturer Defendants’ Marketing Scheme
                       Misrepresented the Risks and Benefits of Opioids.

                          i.    The Manufacturer Defendants embarked upon a campaign of
                          false, deceptive and unfair assurances grossly understating and
                          misstating the dangerous addiction risks of the opioid drugs.

       119. To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

particularly the risk of addiction, through a series of misrepresentations that the FDA and CDC

have conclusively debunked. These misrepresentations – described below – reinforced each other

and created the dangerously misleading impression that: (1) starting patients on opioids was low

risk because most patients would not become addicted and because doctors could identify and

manage those at greatest risk for addiction; (2) patients who displayed signs of addiction

probably were not addicted, and, in any event, doctors could easily wean them from the drugs;

(3) the use of higher opioid doses, which many patients need to sustain pain relief as they

develop tolerance to the drugs, do not pose special risks; and (4) abuse-deterrent opioids both

prevent abuse and overdose and are inherently less addictive. The Manufacturer Defendants have

not only failed to correct these misrepresentations; they continue to make them today.

       120. Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

them from making many of the misrepresentations identified in this Complaint. Yet even

afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of

long-term opioid use in the State and Plaintiff’s Community and each continues to fail to correct

                                               37
its past misrepresentations. They also continue to support, fund and control those

misrepresentations through the direct and indirect marketing methods identified above.

       121. Some illustrative examples of the Manufacturer Defendants’ false, deceptive and

unfair claims about the purportedly low risk of addiction include:

               a. Actavis’s predecessor caused a patient education brochure, Managing Chronic

                  Back Pain, to be distributed beginning in 2003 that admitted that opioid

                  addiction is possible, but falsely claimed that it is “less likely if you have

                  never had an addiction problem.” Based on Actavis’s acquisition of its

                  predecessor’s marketing materials along with the rights to Kadian, it appears

                  that Actavis continued to use this brochure in 2009 and beyond.

               b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for

                  People Living with Pain (2007), which suggested that addiction is rare and

                  limited to extreme cases of unauthorized dose escalations, obtaining

                  duplicative opioid prescriptions from multiple sources, or theft. This

                  publication is still available online.54

               c. Endo sponsored a website, “PainKnowledge,” which, upon information and

                  belief, claimed in 2009 that “[p]eople who take opioids as prescribed usually

                  do not become addicted.” Upon information and belief, another Endo website,

                  PainAction.com, stated “Did you know? Most chronic pain patients do not

                  become addicted to the opioid medications that are prescribed for them.” Endo

                  also distributed an “Informed Consent” document on PainAction.com that


54
   Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter
APF,      Treatment     Options],    https://assets.documentcloud.org/documents/277605/apf-
treatmentoptions.pdf.

                                                 38
                misleadingly suggested that only people who “have problems with substance

                abuse and addiction” are likely to become addicted to opioid medications.

             d. Upon information and belief, Endo distributed a pamphlet with the Endo logo

                entitled Living with Someone with Chronic Pain, which stated that: “Most

                health care providers who treat people with pain agree that most people do not

                develop an addiction problem.”

             e. Janssen reviewed, edited, approved and distributed a patient education guide

                entitled Finding Relief: Pain Management for Older Adults (2009), which

                described as “myth” the claim that opioids are addictive and asserted as fact

                that “[m]any studies show that opioids are rarely addictive when used

                properly for the management of chronic pain.”

             f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July

                2, 2015), which claims that concerns about opioid addiction are

                “overestimated.”

             g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

                Management, which claims that less than one percent (1%) of children

                prescribed opioids will become addicted and that pain is undertreated due to

                “[m]isconceptions about opioid addiction.”55

             h. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting

                Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and

                promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain


55
   Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6
(2011)             [hereinafter          APF,            Policymaker’s        Guide],
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.

                                            39
                    patients. The book, which is still available for sale in New Mexico and

                    elsewhere, and is promoted online at www.defeatchronicpainnow.com,

                    advises laypeople who are considering taking opioid drugs that “[o]nly rarely

                    does opioid medication cause a true addiction.”56 Further, the book advises

                    that even the issue of tolerance is “overblown,” because “[o]nly a minority of

                    chronic pain patients who are taking long-term opioids develop tolerance.” In

                    response to a hypothetical question from a chronic back pain patient who

                    expresses a fear of becoming addicted, the book advises that “[i]t is very

                    uncommon for a person with chronic pain to become ‘addicted’ to narcotics IF

                    (1) he doesn’t have a prior history of any addiction and (2) he only takes the

                    medication to treat pain.”

                 i. Upon information and belief, consistent with the Manufacturer Defendants’

                    published marketing materials, upon information and belief, detailers for

                    Purdue, Endo, Janssen, Cephalon, and Mallinckrodt in the State and Plaintiff’s

                    Community minimized or omitted any discussion with doctors of the risk of

                    addiction, misrepresented the potential for abuse of opioids with purportedly

                    abuse-deterrent   formulations    and   routinely   did   not    correct   the

                    misrepresentations noted above.

                 j. Seeking to overturn the criminal conviction of a doctor for illegally

                    prescribing opioids, the Manufacturer Defendants’ Front Groups APF and

                    NPF argued in an amicus brief to the United States Fourth Circuit Court of




56
     Charles E. Argoff & Bradley S. Galer, Defeat Chronic Pain Now! (2010).

                                                 40
                     Appeals that “patients rarely become addicted to prescribed opioids,” citing

                     research by their KOL, Dr. Portenoy.57

          122. These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

“[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction], [and] overdose . . .).”58 The 2016 CDC Guideline further

explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.”59

          123. The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for extended-release and long-acting

(“ER/LA”) opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its

announcements, the FDA found that “most opioid drugs have ‘high potential for abuse’” and that

opioids “are associated with a substantial risk of misuse, abuse, NOWS [neonatal opioid

withdrawal syndrome], addiction, overdose, and death.” According to the FDA, because of the

“known serious risks” associated with long-term opioid use, including “risks of addiction, abuse,

and misuse, even at recommended doses, and because of the greater risks of overdose and




57
  Brief of the American Pain Foundation, the National Pain Foundation, and the National
Foundation for the Treatment of Pain in Support of Appellant and Reversal of the Conviction,
United States v. Hurowitz, No. 05-4474 (4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
58
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United
States, 2016, Morbidity & Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC
Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
59
     Id. at 2, 25.

                                                 41
death,” opioids should be used only “in patients for whom alternative treatment options” like

non-opioid drugs have failed.60

       124. The State of New York, in a 2016 settlement agreement with Endo, found that

opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

meeting the clinical criteria for an opioid use disorder.”61 Endo had claimed on its

www.opana.com website that “[m]ost healthcare providers who treat patients with pain agree

that patients treated with prolonged opioid medicines usually do not become addicted,” but the

State of New York found that Endo had no evidence for that statement. Consistent with this,

Endo agreed not to “make statements that . . . opioids generally are non-addictive” or “that most

patients who take opioids do not become addicted” in New York. Endo remains free, however, to

make those statements in this State.

       125. In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented to doctors and patients

that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.,



60
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food
and Drug Admin., U.S. Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President,
Physicians      for     Responsible     Opioid      Prescribing    (Sept.     10,    2013),
https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr.
For Drug Evaluation and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and
Human Servs., to Peter R. Mathers & Jennifer A. Davidson, Kleinfeld, Kaplan and Becker, LLP
(Mar.                                       22,                                      2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.
61
  Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc.
(Assurance No. 15-228), at 16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.

                                               42
pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients

who were already in danger.

         126. To this end, one of Purdue’s employees, Dr. David Haddox, invented a

phenomenon called “pseudoaddiction.” Upon information and belief, KOL Dr. Portenoy

popularized the term. Examples of the false, misleading, deceptive and unfair statements

regarding pseudoaddiction include:

                 a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007),

                    which taught that behaviors such as “requesting drugs by name,” “demanding

                    or manipulative behavior,” seeing more than one doctor to obtain opioids and

                    hoarding are all signs of pseudoaddiction, rather than true addiction.62 The

                    2012 edition, which remains available for sale online, continues to teach that

                    pseudoaddiction is real.63

                 b. Janssen sponsored, funded and edited the Let’s Talk Pain website, which in

                    2009 stated: “pseudoaddiction . . . refers to patient behaviors that may occur

                    when pain is under-treated . . . . Pseudoaddiction is different from true

                    addiction because such behaviors can be resolved with effective pain

                    management.”

                 c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program

                    in 2009 entitled “Chronic Opioid Therapy: Understanding Risk While

                    Maximizing Analgesia,” which, upon information and belief, promoted

                    pseudoaddiction by teaching that a patient’s aberrant behavior was the result

62
     Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
63
  See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed.
2012).

                                                 43
     of untreated pain. Endo appears to have substantially controlled NIPC by

     funding NIPC projects; developing, specifying and reviewing content; and

     distributing NIPC materials.

d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing

     Abuse, which, upon information and belief, described pseudoaddiction as a

     concept that “emerged in the literature” to describe the inaccurate

     interpretation of [drug-seeking behaviors] in patients who have pain that has

     not been effectively treated.”

e. Upon information and belief, Purdue sponsored a CME program titled “Path

     of the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse.”

     In a roleplay, a chronic pain patient with a history of drug abuse tells his

     doctor that he is taking twice as many hydrocodone pills as directed. The

     narrator notes that because of pseudoaddiction, the doctor should not assume

     the patient is addicted even if he persistently asks for a specific drug, seems

     desperate, hoards medicine or “overindulges in unapproved escalating doses.”

     The doctor treats this patient by prescribing a high-dose, long-acting opioid.

f.   In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting

     Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and

     promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain

     patients. The book, which is still available for sale in New Mexico and

     elsewhere, and is promoted online at www.defeatchronicpainnow.com,

     teaches laypeople that “pseudoaddiction” is “caused by their doctor not

     appropriately   prescribing      the   opioid   medication.”   It   teaches   that



                                    44
                     “[p]seudoaddiction happens when a patient’s opioid medication is not being

                     prescribed in doses strong enough to provide good pain relief, or if the drug is

                     not being prescribed often enough throughout the day. . . When a

                     pseudoaddicted patient is prescribed the proper amount of opioid medication,

                     he or she doesn’t take any extra pills because his or her pain is relieved.”

       127. In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already-

addicted patients.

       128. In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive and unfair practice is the Manufacturer

Defendants’ false instructions that addiction risk screening tools, patient contracts, urine drug

screens and similar strategies allow them to reliably identify and safely prescribe opioids to

patients predisposed to addiction. These misrepresentations were especially insidious because the

Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

               a. Endo paid for a 2007 supplement in the Journal of Family Practice written by

                     a doctor who became a member of Endo’s speakers bureau in 2010. The

                     supplement, entitled Pain Management Dilemmas in Primary Care: Use of

                     Opioids, emphasized the effectiveness of screening tools, claiming that

                     patients at high risk of addiction could safely receive chronic opioid therapy



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                     using a “maximally structured approach” involving toxicology screens and

                     pill counts.

                  b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing

                     Patient’s Opioid Use: Balancing the Need and Risk, which claimed that

                     screening tools, urine tests and patient agreements prevent “overuse of

                     prescriptions” and “overdose deaths.”

                  c. As recently as 2015, upon information and belief, Purdue has represented in

                     scientific conferences that “bad apple” patients – and not opioids – are the

                     source of the addiction crisis and that once those “bad apples” are identified,

                     doctors can safely prescribe opioids without causing addiction.

          129. The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

improving outcomes related to overdose, addiction, abuse or misuse.”64

          130. A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that doctors can easily address opioid

dependence by tapering and that opioid withdrawal is not a problem, but they failed to disclose

the increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women.65



64
     Id. at 11.
65
     Id. at 26.

                                                 46
       131. The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by

tapering a patient’s opioid dose by ten percent (10%) to twenty percent (20%) for ten (10) days.

And Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its Management,

which claimed that “[s]ymptoms of physical dependence can often be ameliorated by gradually

decreasing the dose of medication during discontinuation” without mentioning any hardships that

might occur.66 Similarly, in the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain

Now!”, potential opioid users are advised that tolerance to opioids is “easily remedied,” and that

“[a]ll patients can be safely taken off opioid medication if the dose is slowly tapered down by

their doctor.”

       132. A fifth category of false, deceptive and unfair statements the Manufacturer

Defendants made to sell more drugs is that patients could increase opioid dosages indefinitely

without added risk. The ability to escalate dosages was critical to Defendants’ efforts to market

opioids for long-term use to treat chronic pain because, absent this misrepresentation, doctors

would have abandoned treatment when patients built up tolerance and lower dosages did not

provide pain relief. The Manufacturer Defendants’ deceptive claims include:

                 a. Upon information and belief, Actavis’s predecessor created a patient brochure

                    for Kadian in 2007 that stated, “Over time, your body may become tolerant of

                    your current dose. You may require a dose adjustment to get the right amount

                    of pain relief. This is not addiction.” Based on Actavis’s acquisition of its


66
   Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6
(2011)             [hereinafter          APF,            Policymaker’s           Guide],
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.

                                                47
                 predecessor’s marketing materials along with the rights to Kadian, Actavis

                 appears to have continued to use these materials in 2009 and beyond.

              b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for

                 People Living with Pain (2007), which claims that some patients “need” a

                 larger dose of an opioid, regardless of the dose currently prescribed. The guide

                 stated that opioids have “no ceiling dose” and insinuated that they are

                 therefore the most appropriate treatment for severe pain.67 This publication is

                 still available online.

              c. Endo sponsored a website, “PainKnowledge,” which, upon information and

                 belief, claimed in 2009 that opioid dosages may be increased until “you are on

                 the right dose of medication for your pain.”

              d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your

                 Pain: Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120).

                 In Q&A format, it asked “If I take the opioid now, will it work later when I

                 really need it?” The response is, “The dose can be increased. . . . You won’t

                 ‘run out’ of pain relief.”68

              e. Janssen sponsored a patient education guide entitled Finding Relief: Pain

                 Management for Older Adults (2009), which its sales force distributed. This

                 guide listed dosage limitations as “disadvantages” of other pain medicines, but

                 omitted any discussion of risks of increased opioid dosages.

67
   Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter
APF,      Treatment        Options], https://assets.documentcloud.org/documents/277605/apf-
treatmentoptions.pdf., at 12.
68
  Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral
Opioid Analgesics (Russell K Portenoy, M.D., ed., 2004).

                                                48
                f. Upon information and belief, Purdue’s In the Face of Pain website promoted

                    the notion that if a patient’s doctor does not prescribe what, in the patient’s

                    view, is a sufficient dosage of opioids, he or she should find another doctor

                    who will.

                g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

                    Management, which taught that dosage escalations are “sometimes necessary”

                    and that “the need for higher doses of medication is not necessarily indicative

                    of addiction,” but inaccurately downplayed the risks from high opioid

                    dosages.69

                h. In 2007, Purdue sponsored a CME entitled “Overview of Management

                    Options” that was available for CME credit and available until at least 2012.

                    The CME was edited by a KOL and taught that Non-Steroidal Anti-

                    Inflammatory Drugs (“NSAIDs”) and other drugs, but not opioids, are unsafe

                    at high dosages.

                i. Purdue presented a 2015 paper at the College on the Problems of Drug

                    Dependence, “the oldest and largest organization in the US dedicated to

                    advancing a scientific approach to substance use and addictive disorders,”

                    challenging the correlation between opioid dosage and overdose.70

                j. Seeking to overturn the criminal conviction of a doctor for illegally

                    prescribing opioids, the Manufacturer Defendants’ Front Groups APF and




69
     APF, Policymaker’s Guide, at 32.
70
 The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited
Aug. 21, 2017).

                                                49
                        NPF argued in an amicus brief to the United States Fourth Circuit Court of

                        Appeals that “there is no ‘ceiling dose’” for opioids.71

                     k. In the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain

                        Now!”, potential opioid users are warned about the risk of “[p]seudoaddiction

                        [b]ecause of a [l]ow [d]ose,” and advised that this condition may be corrected

                        through the prescription of a higher dose. Similarly, the book recommends

                        that for chronic pain patients, the opioid dose should be “gradually increased

                        to find the best daily dose, as is done with all the other oral drugs.” The book

                        discusses the risks of NSAIDs and other drugs at higher doses, but not explain

                        this risk for opioids.

          133. Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established,” while the

“risks for serious harms related to opioid therapy increase at higher opioid dosage.”72 More

specifically, the CDC explains that “there is now an established body of scientific evidence

showing that overdose risk is increased at higher opioid dosages.”73 The CDC also states that

there is an increased risk “for opioid use disorder, respiratory depression, and death at higher

dosages.”74 That is why the CDC advises doctors to “avoid increasing dosage” to above 90

morphine milligram equivalents per day.75


71
     Brief of APF, at 9.
72
     2016 CDC Guideline, at 22–23.
73
     Id. at 23–24.
74
     Id. at 21.
75
     Id. at 16.

                                                     50
           134. Defendants’ deceptive marketing of the so-called abuse-deterrent properties of

some of their opioids has created false impressions that these opioids can cure addiction and

abuse.

           135. The Manufacturer Defendants made misleading claims about the ability of their so-

called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements

for the 2012 reformulation of Opana ER claimed Endo had designed it to be crush-resistant, in a

way that suggested it was more difficult to abuse. This claim was false. The FDA warned in a

2013 letter that Opana ER Extended-Release Tablets’ “extended-release features can be

compromised, causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation

such as cutting, grinding, or chewing, followed by swallowing.”76 Also troubling, Opana ER can

be prepared for snorting using commonly available methods and “readily prepared for

injection.”77 The letter discussed “the troubling possibility that a higher (and rising) percentage

of [Opana ER Extended-Release Tablet] abuse is occurring via injection.”78 Endo’s own studies,

which it failed to disclose, showed that Opana ER could still be ground and chewed. In June

2017, the FDA requested that Endo remove Opana ER from the market.


                             ii. The Manufacturer Defendants embarked upon a campaign of
                             false, deceptive and unfair assurances grossly overstating the
                             benefits of the opioid drugs.

           136. To convince doctors and patients that they should use opioids to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to


76
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food
and Drug Admin., U.S. Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg.
Affairs, Endo Pharm. Inc. (May 10, 2013), at 5.
77
     Id. at 6.
78
     Id. at 6 n.21.

                                                  51
long-term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term

benefit of opioids in pain and function versus no opioids for chronic pain with outcomes

examined at least 1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in

duration)” and that other treatments were more or equally beneficial and less harmful than long-

term opioid use.79 The FDA, too, has recognized the lack of evidence to support long-term opioid

use. Despite this, Defendants falsely and misleadingly touted the benefits of long-term opioid use

and falsely and misleadingly suggested that these benefits were supported by scientific evidence.

          137. Some illustrative examples of the Manufacturer Defendants’ false claims are:

                  a. Upon information and belief, Actavis distributed an advertisement claiming

                     that the use of Kadian to treat chronic pain would allow patients to return to

                     work, relieve “stress on your body and your mental health” and help patients

                     enjoy their lives.

                  b. Endo distributed advertisements that claimed that the use of Opana ER for

                     chronic pain would allow patients to perform demanding tasks like

                     construction work or work as a chef and portrayed seemingly healthy,

                     unimpaired subjects.

                  c. Janssen sponsored and edited a patient education guide entitled Finding

                     Relief: Pain Management for Older Adults (2009), which states as “a fact”

                     that “opioids may make it easier for people to live normally.” The guide lists

                     expected functional improvements from opioid use, including sleeping

                     through the night, returning to work, recreation, sex, walking and climbing

                     stairs.


79
     Id. at 15.

                                                 52
                d. Janssen promoted Ultracet for everyday chronic pain and distributed posters

                   for display in doctors’ offices of presumed patients in active professions. The

                   caption read: “Pain doesn’t fit into their schedules.”

                e. Upon information and belief, Purdue ran a series of advertisements for

                   OxyContin in 2012 in medical journals entitled “Pain vignettes,” which were

                   case studies featuring patients with pain conditions persisting over several

                   months and recommending OxyContin for them. The ads implied that

                   OxyContin improves patients’ function.

                f. Responsible Opioid Prescribing (2007), which Cephalon, Endo and Purdue

                   sponsored and distributed, taught that relief of pain by opioids, by itself,

                   improved patients’ function.

                g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for

                   People Living with Pain (2007), which counseled patients that opioids “give

                   [pain patients] a quality of life we deserve.”80 This publication is still

                   available online.

                h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information

                   and belief, that with opioids, “your level of function should improve; you may

                   find you are now able to participate in activities of daily living, such as work

                   and hobbies, that you were not able to enjoy when your pain was worse.”

                   Elsewhere, the website touted improved quality of life (as well as “improved

                   function”) as benefits of opioid therapy. The grant request that Endo approved




80
     APF, Treatment Options.

                                                  53
                    for this project specifically indicated NIPC’s intent to make misleading claims

                    about function, and Endo closely tracked visits to the site.

                 i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled

                    “Persistent Pain in the Older Patient.”81 Upon information and belief, a CME

                    disseminated via webcast claimed that chronic opioid therapy has been

                    “shown to reduce pain and improve depressive symptoms and cognitive

                    functioning.”

                 j. Janssen sponsored and funded a multimedia patient education campaign called

                    “Let’s Talk Pain.” One feature of the campaign was to complain that patients

                    were under-treated. In 2009, upon information and belief, a Janssen-sponsored

                    website, part of the “Let’s Talk Pain” campaign, featured an interview edited

                    by Janssen claiming that opioids allowed a patient to “continue to function.”

                 k. Purdue sponsored the development and distribution of APF’s A Policymaker’s

                    Guide to Understanding Pain & Its Management, which claimed that

                    “[m]ultiple clinical studies” have shown that opioids are effective in

                    improving “[d]aily function,” “[p]sychological health” and “[o]verall health-

                    related quality of life for chronic pain.”82 The Policymaker’s Guide was

                    originally published in 2011.

                 l. Purdue’s, Cephalon’s, Endo’s and Janssen’s sales representatives have

                    conveyed and continue to convey the message that opioids will improve

                    patient function.

81
       E.g.,   NIPC,     Persistent  Pain     and     the    Older   Patient     (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.
82
     APF, Policymaker’s Guide, supra, at 29.

                                                 54
         138. As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

         139. In 2010, the FDA warned Actavis, in response to its advertising of Kadian

described above, that “we are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or

enjoyment of life.”83 And in 2008, upon information and belief, the FDA sent a warning letter to

an opioid manufacturer, making it clear “that [the claim that] patients who are treated with the

drug experience an improvement in their overall function, social function, and ability to perform

daily activities . . . has not been demonstrated by substantial evidence or substantial clinical

experience.”

         140. The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by

the Manufacturer Defendants contravene pronouncements by and guidance from the FDA and

CDC based on the scientific evidence. Indeed, the FDA changed the labels for extended-release

and long-acting (“ER/LA”) opioids in 2013 and immediate-release (“IR”) opioids in 2016 to

state that opioids should only be used as a last resort “in patients for which alternative treatment

options” like non-opioid drugs “are inadequate.” And the 2016 CDC Guideline states that

NSAIDs, not opioids, should be the first-line treatment for chronic pain, particularly arthritis and




83
     Letter from Thomas Abrams to Doug Boothe, at 2.

                                                55
lower back pain.84 Purdue misleadingly promoted OxyContin as being unique among opioids in

providing twelve (12) continuous hours of pain relief with one dose. In fact, OxyContin does not

last for twelve (12) hours – a fact that Purdue has known at all times relevant to this action. Upon

information and belief, Purdue’s own research shows that OxyContin wears off in under six

hours in one quarter of patients and in under ten (10) hours in more than half. This is because

OxyContin tablets release approximately forty percent (40%) of their active medicine

immediately, after which release tapers. This triggers a powerful initial response, but provides

little or no pain relief at the end of the dosing period, when the tablet releases less medicine. This

phenomenon is known as “end of dose” failure, and the FDA found in 2008 that a “substantial

proportion” of chronic pain patients taking OxyContin experience it. This not only renders

Purdue’s promise of twelve (12) hours of relief false and deceptive, it also makes OxyContin

more dangerous because the declining pain relief patients experience toward the end of each

dosing period drives them to take more OxyContin before the next dosing period begins, quickly

increasing the amount of drug they are taking and spurring growing dependence.

         141. Purdue’s competitors were aware of this problem. For example, upon information

and belief, Endo ran advertisements for Opana ER referring to “real” twelve (12) hour dosing.

Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full twelve (12)

hours. Upon information and belief, Purdue’s sales representatives continue to tell doctors that

OxyContin lasts a full twelve (12) hours.

         142. Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain




84
     2016 CDC Guideline, at 12.

                                                 56
Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

       OxyContin is particularly useful for sustained long-term pain because it comes in
       higher, compact pills with a slow release coating. OxyContin pills can work for
       12 hours. This makes it easier for patients to comply with dosing requirements
       without experiencing a roller-coaster of pain relief followed quickly by pain
       renewal that can occur with shorter acting medications. It also helps the patient
       sleep through the night, which is often impossible with short-acting medications.
       For many of those serviced by Pain Care Amici, OxyContin has been a miracle
       medication.85

       143. Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain, even

though the FDA has expressly limited their use to the treatment of cancer pain in opioid-tolerant

individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

approved for nor has been shown to be safe or effective for chronic pain. Indeed, the FDA

expressly prohibited Cephalon from marketing Actiq for anything but cancer pain and refused to

approve Fentora for the treatment of chronic pain because of the potential harm, including the

high risk of “serious and life-threatening adverse events” and abuse – which are greatest in non-

cancer patients. The FDA also issued a Public Health Advisory in 2007, emphasizing that

Fentora should only be used for cancer patients who are opioid-tolerant and should not be used

for any other conditions, such as migraines, post-operative pain or pain due to injury.86

Specifically, the FDA advised that Fentora “is only approved for breakthrough cancer pain in




85
   Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for
the Treatment of Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue
Pharma L.P., No. 2003-1538 (Ohio Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).
86
   See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe
Use      of     Fentora     (fentanyl    buccal     tablets)    (Sept.     26,      2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProvide
rs/ucm051273.htm.

                                               57
patients who are opioid-tolerant, meaning those patients who take a regular, daily, around-the-

clock narcotic pain medication.”87

           144. Despite this, Cephalon conducted and continues to conduct a well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

not approved and is not appropriate or safe. As part of this campaign, Cephalon used CMEs,

speaker programs, KOLs, journal supplements and detailing by its sales representatives to give

doctors the false impression that Actiq and Fentora are safe and effective for treating non-cancer

pain. For example:

                  a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of

                     Persistent and Breakthrough Pain, published in a supplement of Pain

                     Medicine News in 2009. The CME instructed doctors that “[c]linically, broad

                     classification of pain syndromes as either cancer- or non-cancer-related has

                     limited utility” and recommended Actiq and Fentora for patients with chronic

                     pain.

                  b. Upon information and belief, Cephalon’s sales representatives set up hundreds

                     of speaker programs for doctors, including many non-oncologists, which

                     promoted Actiq and Fentora for the treatment of non-cancer pain.

                  c. In December 2011, Cephalon widely disseminated a journal supplement

                     entitled “Special Report: An Integrated Risk Evaluation and Mitigation

                     Strategy for Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal

                     Fentanyl Citrate (ACTIQ)” to Anesthesiology News, Clinical Oncology News

                     and Pain Medicine News – three publications that are sent to thousands of


87
     Id.

                                                 58
                   anesthesiologists and other medical professionals. The Special Report openly

                   promotes Fentora for “multiple causes of pain” – and not just cancer pain.

       145. Cephalon’s deceptive marketing gave doctors and patients the false impression that

Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

approved by the FDA for such uses.

       146. Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors to state medical boards or law enforcement authorities (as

Purdue is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate

the high rate of diversion of OxyContin – the same OxyContin that Purdue had promoted as less

addictive – in order to persuade the FDA to bar the manufacture and sale of generic copies of the

drug because the drug was too likely to be abused. In an interview with the Los Angeles Times,

Purdue’s senior compliance officer acknowledged that in five (5) years of investigating

suspicious pharmacies, Purdue failed to take action – even where Purdue employees personally

witnessed the diversion of its drugs. The same was true of prescribers; despite its knowledge of

illegal prescribing, Purdue did not report that a Los Angeles clinic prescribed more than 1.1

million OxyContin tablets and that Purdue’s district manager described it internally as “an

organized drug ring” until years after law enforcement shut it down. In doing so, Purdue

protected its own profits at the expense of public health and safety.88




88
   Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals
and Addicts. What the Drugmaker Knew, L.A. Times, July 10, 2016,
http://www.latimes.com/projects/la-me-oxycontin-part2/.

                                                 59
       147. Like Purdue, Endo has been cited for its failure to set up an effective system for

identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State

of New York found that Endo failed to require sales representatives to report signs of abuse,

diversion and inappropriate prescribing; paid bonuses to sales representatives for detailing

prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct had caused

them to be placed on a no-call list.


                        3. The Manufacturer Defendants Targeted Susceptible
                        Prescribers and Vulnerable Patient Populations.

       148. As a part of their deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

including this State and Plaintiff’s Community. For example, the Manufacturer Defendants

focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

pain patients and prescribe them drugs, but were less likely to be educated about treating pain

and the risks and benefits of opioids and therefore more likely to accept the Manufacturer

Defendants’ misrepresentations.

       149. The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants

targeted these vulnerable patients, even though the risks of long-term opioid use were

significantly greater for them. For example, the 2016 CDC Guideline observes that existing

evidence confirms that elderly patients taking opioids suffer from elevated fall and fracture risks,

reduced renal function and medication clearance and a smaller window between safe and unsafe




                                                60
dosages.89 The 2016 CDC Guideline concludes that there must be “additional caution and

increased monitoring” to minimize the risks of opioid use in elderly patients. Id. at 27. The same

is true for veterans, who are more likely to use anti-anxiety drugs (benzodiazepines) for post-

traumatic stress disorder, which interact dangerously with opioids.


                        4. The Manufacturer Defendants Made Materially Deceptive
                        Statements and Concealed Material Facts.

         150. As alleged herein, the Manufacturer Defendants made and/or disseminated

 deceptive statements regarding material facts and further concealed material facts in the course

 of manufacturing, marketing and selling prescription opioids. The Manufacturer Defendants’

 actions were intentional and/or unlawful. Such statements include, but are not limited to, those

 set out below and alleged throughout this Complaint.

         151. Defendant Purdue made and/or disseminated deceptive statements and concealed

 material facts in such a way to make their statements deceptive, including, but not limited to,

 the following:

                a. Creating, sponsoring and assisting in the distribution of patient education

                    materials distributed to consumers that contained deceptive statements;

                b. Creating and disseminating advertisements that contained deceptive

                    statements concerning the ability of opioids to improve function long-term

                    and concerning the evidence supporting the efficacy of opioids long-term for

                    the treatment of chronic non-cancer pain;

                c. Disseminating misleading statements concealing the true risk of addiction and

                    promoting the deceptive concept of pseudoaddiction through Purdue’s own


89
     2016 CDC Guideline, at 13.

                                                61
   unbranded publications and on internet sites Purdue operated that were

   marketed to and accessible by consumers;

d. Distributing brochures to doctors, patients and law enforcement officials that

   included deceptive statements concerning the indicators of possible opioid

   abuse;

e. Sponsoring, directly distributing and assisting in the distribution of

   publications that promoted the deceptive concept of pseudoaddiction, even for

   high-risk patients;

f. Endorsing, directly distributing and assisting in the distribution of publications

   that presented an unbalanced treatment of the long-term and dose-dependent

   risks of opioids versus NSAIDs;

g. Providing significant financial support to pro-opioid KOL doctors who made

   deceptive statements concerning the use of opioids to treat chronic non-cancer

   pain;

h. Providing needed financial support to pro-opioid pain organizations that made

   deceptive statements, including in patient education materials, concerning the

   use of opioids to treat chronic non-cancer pain;

i. Assisting in the distribution of guidelines that contained deceptive statements

   concerning the use of opioids to treat chronic non-cancer pain and

   misrepresented the risks of opioid addiction;

j. Endorsing and assisting in the distribution of CMEs containing deceptive

   statements concerning the use of opioids to treat chronic non-cancer pain;




                                 62
k. Developing and disseminating scientific studies that misleadingly concluded

   opioids are safe and effective for the long-term treatment of chronic non-

   cancer pain and that opioids improve quality of life, while concealing contrary

   data;

l. Assisting in the dissemination of literature written by pro-opioid KOLs that

   contained deceptive statements concerning the use of opioids to treat chronic

   non-cancer pain;

m. Creating, endorsing and supporting the distribution of patient and prescriber

   education materials that misrepresented the data regarding the safety and

   efficacy of opioids for the long-term treatment of chronic non-cancer pain,

   including known rates of abuse and addiction and the lack of validation for

   long-term efficacy;

n. Targeting veterans by sponsoring and disseminating patient education

   marketing materials that contained deceptive statements concerning the use of

   opioids to treat chronic non-cancer pain;

o. Targeting the elderly by assisting in the distribution of guidelines that

   contained deceptive statements concerning the use of opioids to treat chronic

   non-cancer pain and misrepresented the risks of opioid addiction in this

   population;

p. Exclusively disseminating misleading statements in education materials to

   hospital doctors and staff, while purportedly educating them on new pain

   standards;




                                63
             q. Making deceptive statements concerning the use of opioids to treat chronic

                  non-cancer pain to prescribers through in-person detailing; and

             r. Withholding from law enforcement the names of prescribers Purdue believed

                  to be facilitating the diversion of its opioids, while simultaneously marketing

                  opioids to these doctors by disseminating patient and prescriber education

                  materials, advertisements and CMEs they knew would reach these same

                  prescribers.

      152. Defendant Endo made and/or disseminated deceptive statements and concealed

material facts in such a way to make their statements deceptive, including, but not limited to,

the following:

             a.   Creating, sponsoring and assisting in the distribution of patient education

                  materials that contained deceptive statements;

             b.   Creating and disseminating advertisements that contained deceptive

                  statements concerning the ability of opioids to improve function long-term

                  and concerning the evidence supporting the efficacy of opioids long-term for

                  the treatment of chronic non-cancer pain;

             c.   Creating and disseminating paid advertisement supplements in academic

                  journals promoting chronic opioid therapy as safe and effective for long term

                  use for high risk patients;

             d.   Creating and disseminating advertisements that falsely and inaccurately

                  conveyed the impression that Endo’s opioids would provide a reduction in

                  oral, intranasal or intravenous abuse;




                                                64
e.   Disseminating misleading statements concealing the true risk of addiction

     and promoting the misleading concept of pseudoaddiction through Endo’s

     own unbranded publications and on internet sites Endo sponsored or

     operated;

f.   Endorsing, directly distributing and assisting in the distribution of

     publications that presented an unbalanced treatment of the long-term and

     dose-dependent risks of opioids versus NSAIDs;

g.   Providing significant financial support to pro-opioid KOLs, who made

     deceptive statements concerning the use of opioids to treat chronic non-

     cancer pain;

h.   Providing needed financial support to pro-opioid pain organizations –

     including over $5 million to the organization responsible for many of the

     most egregious misrepresentations – that made deceptive statements,

     including in patient education materials, concerning the use of opioids to

     treat chronic non-cancer pain;

i.   Targeting the elderly by assisting in the distribution of guidelines that

     contained deceptive statements concerning the use of opioids to treat chronic

     non-cancer pain and misrepresented the risks of opioid addiction in this

     population;

j.   Endorsing and assisting in the distribution of CMEs containing deceptive

     statements concerning the use of opioids to treat chronic non-cancer pain;

k.   Developing and disseminating scientific studies that deceptively concluded

     opioids are safe and effective for the long-term treatment of chronic non-



                                65
                  cancer pain and that opioids improve quality of life, while concealing

                  contrary data;

             l.   Directly distributing and assisting in the dissemination of literature written by

                  pro-opioid KOLs that contained deceptive statements concerning the use of

                  opioids to treat chronic non-cancer pain, including the concept of

                  pseudoaddiction;

             m. Creating, endorsing and supporting the distribution of patient and prescriber

                  education materials that misrepresented the data regarding the safety and

                  efficacy of opioids for the long-term treatment of chronic non-cancer pain,

                  including known rates of abuse and addiction and the lack of validation for

                  long-term efficacy; and

             n.   Making deceptive statements concerning the use of opioids to treat chronic

                  non-cancer pain to prescribers through in-person detailing.

      153. Defendant Janssen made and/or disseminated deceptive statements and concealed

material facts in such a way to make their statements deceptive, including, but not limited to,

the following:

             a. Creating, sponsoring and assisting in the distribution of patient education

                  materials that contained deceptive statements;

             b. Directly disseminating deceptive statements through internet sites, over which

                  Janssen exercised final editorial control and approval, stating that opioids are

                  safe and effective for the long-term treatment of chronic non-cancer pain and

                  that opioids improve quality of life, while concealing contrary data;




                                               66
c. Disseminating deceptive statements concealing the true risk of addiction and

   promoting the deceptive concept of pseudoaddiction through internet sites,

   over which Janssen exercised final editorial control and approval;

d. Promoting opioids for the treatment of conditions for which Janssen knew,

   due to the scientific studies it conducted, that opioids were not efficacious and

   concealing this information;

e. Sponsoring, directly distributing and assisting in the dissemination of patient

   education publications over which Janssen exercised final editorial control

   and approval, which presented an unbalanced treatment of the long-term and

   dose dependent risks of opioids versus NSAIDs;

f. Providing significant financial support to pro-opioid KOLs, who made

   deceptive statements concerning the use of opioids to treat chronic non-cancer

   pain;

g. Providing necessary financial support to pro-opioid pain organizations that

   made deceptive statements, including in patient education materials,

   concerning the use of opioids to treat chronic non-cancer pain;

h. Targeting the elderly by assisting in the distribution of guidelines that

   contained deceptive statements concerning the use of opioids to treat chronic

   non-cancer pain and misrepresented the risks of opioid addiction in this

   population;

i. Targeting the elderly by sponsoring, directly distributing and assisting in the

   dissemination of patient education publications targeting this population that

   contained deceptive statements about the risks of addiction and the adverse



                                  67
                  effects of opioids and made false statements that opioids are safe and effective

                  for the long-term treatment of chronic non-cancer pain and improve quality of

                  life, while concealing contrary data;

              j. Endorsing and assisting in the distribution of CMEs containing deceptive

                  statements concerning the use of opioids to treat chronic non-cancer pain;

              k. Directly distributing and assisting in the dissemination of literature written by

                  pro-opioid KOLs that contained deceptive statements concerning the use of

                  opioids to treat chronic non-cancer pain, including the concept of

                  pseudoaddiction;

              l. Creating, endorsing and supporting the distribution of patient and prescriber

                  education materials that misrepresented the data regarding the safety and

                  efficacy of opioids for the long-term treatment of chronic non-cancer pain,

                  including known rates of abuse and addiction and the lack of validation for

                  long-term efficacy;

              m. Targeting veterans by sponsoring and disseminating patient education

                  marketing materials that contained deceptive statements concerning the use of

                  opioids to treat chronic non-cancer pain; and

              n. Making deceptive statements concerning the use of opioids to treat chronic

                  non-cancer pain to prescribers through in-person detailing.

      154. Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:




                                                68
a. Creating, sponsoring and assisting in the distribution of patient education

   materials that contained deceptive statements;

b. Sponsoring and assisting in the distribution of publications that promoted the

   deceptive concept of pseudoaddiction, even for high-risk patients;

c. Providing significant financial support to pro-opioid KOL doctors who made

   deceptive statements concerning the use of opioids to treat chronic non-cancer

   pain and breakthrough chronic non-cancer pain;

d. Developing and disseminating scientific studies that deceptively concluded

   opioids are safe and effective for the long-term treatment of chronic non-

   cancer pain in conjunction with Cephalon’s potent rapid-onset opioids;

e. Providing needed financial support to pro-opioid pain organizations that made

   deceptive statements, including in patient education materials, concerning the

   use of opioids to treat chronic non-cancer pain;

f. Endorsing and assisting in the distribution of CMEs containing deceptive

   statements concerning the use of opioids to treat chronic non-cancer pain;

g. Endorsing and assisting in the distribution of CMEs containing deceptive

   statements concerning the use of Cephalon’s rapid-onset opioids;

h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of

   doctors, including general practitioners, neurologists, sports medicine

   specialists and workers’ compensation programs, serving chronic pain

   patients;




                                69
              i. Making deceptive statements concerning the use of Cephalon’s opioids to

                  treat chronic non-cancer pain to prescribers through in-person detailing and

                  speakers’ bureau events, when such uses are unapproved and unsafe; and

              j. Making deceptive statements concerning the use of opioids to treat chronic

                  non-cancer pain to prescribers through in-person detailing and speakers’

                  bureau events.

      155. Defendant Actavis made and/or disseminated deceptive statements and concealed

material facts in such a way to make their statements deceptive, including, but not limited to,

the following:

              a. Making deceptive statements concerning the use of opioids to treat chronic

                  non-cancer pain to prescribers through in-person detailing;

              b. Creating and disseminating advertisements that contained deceptive

                  statements that opioids are safe and effective for the long-term treatment of

                  chronic non-cancer pain and that opioids improve quality of life;

              c. Creating and disseminating advertisements that concealed the risk of addiction

                  in the long-term treatment of chronic, non-cancer pain; and

              d. Developing and disseminating scientific studies that deceptively concluded

                  opioids are safe and effective for the long-term treatment of chronic non-

                  cancer pain and that opioids improve quality of life while concealing contrary

                  data.

      156. Defendant Mallinckrodt made and/or disseminated deceptive statements, including,

but not limited to, the following:




                                              70
           a. Creating, sponsoring, and assisting in the distribution of patient education

               materials that contained deceptive statements;

           b. Sponsoring and assisting in the distribution of publications that promoted the

               deceptive concept of pseudoaddiction, even for high-risk patients;

           c. Providing significant financial support to pro-opioid KOL doctors who made

               deceptive statements concerning the use of opioids to treat chronic non-cancer

               pain and breakthrough chronic non-cancer pain; and

           d. Providing needed financial support to pro-opioid pain organizations that made

               deceptive statements, including in patient education materials, concerning the use

               of opioids to treat chronic non-cancer pain.


                       5. The Manufacturer Defendants Fraudulently Concealed
                       Their Misconduct.

       157. The Manufacturer Defendants, both individually and collectively, made, promoted

and profited from their misrepresentations about the risks and benefits of opioids for chronic

pain, even though they knew that their misrepresentations were false and deceptive. The history

of opioids, as well as research and clinical experience, establish that opioids are highly addictive

and are responsible for a long list of very serious adverse outcomes. The FDA warned

Defendants of this, and Defendants had access to scientific studies, detailed prescription data and

reports of adverse events, including reports of addiction, hospitalization and death – all of which

clearly described the harm from long-term opioid use and that patients were suffering from

addiction, overdose and death in alarming numbers. More recently, the FDA and CDC have

issued pronouncements, based on medical evidence, that conclusively expose the falsity of

Defendants’ misrepresentations, and Endo and Purdue have recently entered agreements in New



                                                71
York prohibiting them from making some of the same misrepresentations described in this

Complaint.

       158. At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair and

fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy

and integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and

benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in

shaping, editing and approving the content of information and materials disseminated by these

third parties. The Manufacturer Defendants exerted considerable influence on these promotional

and “educational” materials in emails, correspondence and meetings with KOLs, Front Groups

and public relations companies that were not, and have not yet become, public. For example,

PainKnowledge.org, which the NIPC runs, did not disclose Endo’s involvement. Other

Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their

own role.

       159. Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make it appear that these documents were accurate, truthful and

supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

did not support. The Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

unsuspecting medical community. The Manufacturer Defendants provided the medical



                                               72
community with false and misleading information about ineffectual strategies to avoid or control

opioid addiction. The Manufacturer Defendants recommended to the medical community that

dosages be increased, without disclosing the risks. The Manufacturer Defendants spent millions

of dollars over a period of years on a misinformation campaign aimed at highlighting opioids’

alleged benefits, disguising the risks and promoting sales. The lack of support for the

Manufacturer Defendants’ deceptive messages was not apparent to medical professionals who

relied upon them in making treatment decisions, nor could the Plaintiff or Plaintiff’s Community

have detected it. The Plaintiff did not know of the existence or scope of the Manufacturer

Defendants’ industry-wide fraud and could not have acquired such knowledge earlier through the

exercise of reasonable diligence.

       160.   The lack of support for the Manufacturer Defendants’ deceptive messages was not

apparent to medical professionals who relied upon them in making treatment decisions, nor could

Plaintiff or Plaintiff’s Community have detected it. Thus, the Manufacturer Defendants

successfully concealed from the medical community, patients and health care payors facts

sufficient to arouse suspicion of the claims that the Plaintiff now asserts. Plaintiff did not know

of the existence or scope of the Manufacturer Defendants’ industry-wide fraud and could not

have acquired such knowledge earlier through the exercise of reasonable diligence.


                   C. THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL
                   DISTRIBUTION OF OPIOIDS.

       161. The Distributor Defendants owe a duty under both federal law and State law to

monitor, detect, investigate, refuse to fill, and report suspicious orders of prescription opioids

originating from Plaintiff’s Community, as well as those orders which the Distributor Defendants

knew or should have known were likely to be diverted into Plaintiff’s Community.



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       162. The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       163. Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law. Such breaches are direct and proximate causes of the widespread diversion

of prescription opioids for nonmedical purposes into Plaintiff’s Community.

       164. The unlawful diversion of prescription opioids is a direct and proximate cause

and/or substantial contributing factor to the opioid epidemic, prescription opioid abuse,

addiction, morbidity and mortality in the State and in Plaintiff’s Community. This diversion and

the epidemic are direct causes of harms for which Plaintiff seeks to recover here.

       165. The opioid epidemic in the State, including, inter alia, in Plaintiff’s Community,

remains an immediate hazard to public health and safety.

       166. The opioid epidemic in Plaintiff’s Community is a temporary and continuous

public nuisance and remains unabated.

       167. The Distributor Defendants intentionally continued their conduct, as alleged herein,

with knowledge that such conduct was creating the opioid nuisance and causing the harms and

damages alleged herein.


                       1. Wholesale Drug Distributors Have a Duty Under State
                       and Federal Law to Guard Against and Report Unlawful
                       Diversion and to Report and Prevent Suspicious Orders.

      168.    Opioids are a controlled substance, and Utah law categorizes them as having “an

addition-forming or addiction-sustaining liability similar to morphine.” Utah Code Ann. § 58-37-

2(cc); 21 U.S.C.A. §§ 812(b), 812(2)(A)-(C).

      169.   Utah law required each manufacturer and distributor of prescription opioids,

including Defendants, to first be registered with and/or permitted by the State. Utah law


                                                74
predicates such registration for both manufacturers and distributors upon compliance with

applicable law. See Utah Code Ann. §§ 58-37-6(2), (3), and (6).

      170.   Furthermore, Utah law incorporates federal requirements set out under the

Controlled Substance Act and related controlled substance laws and regulations. See e.g. Utah

Code Ann. § 58-37-6(5).

      171.   The federal Controlled Substance Act further required each Distributor Defendant

to register with the DEA. See 21 U.S.C. § 823(b), (e) and 28 C.F.R. § 0.100. Each Distributor

Defendant is a “registrant” as a wholesale distributor in the chain of distribution of Schedule II

controlled substances with a duty to comply with all security requirements imposed under that

statutory scheme. Utah law adopts and incorporates those requirements.

      172.   Each Distributor Defendant has an affirmative duty under federal and Utah law to

act as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid

drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must

maintain “effective control against diversion of particular controlled substances into other than

legitimate medical, scientific, and industrial channels.” 21 U.S.C. § 823(b)(1).

      173.   Federal regulations, incorporated by Utah law, impose a non-delegable duty upon

wholesale drug distributors to “design and operate a system to disclose to the registrant

suspicious orders of controlled substances. The registrant [distributor] shall inform the Field

Division Office of the Administration in his area of suspicious orders when discovered by the

registrant. Suspicious orders include orders of unusual size, orders deviating substantially from a

normal pattern, and orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

      174.    “Suspicious orders” include orders of an unusual size, orders of unusual frequency

or orders deviating substantially from a normal pattern. See 21 CFR § 1301.74(b). These criteria



                                                75
are disjunctive and are not all inclusive. For example, if an order deviates substantially from a

normal pattern, the size of the order does not matter and the distributor should report the order as

suspicious. Likewise, a wholesale distributor need not wait for a normal pattern to develop over

time before determining whether a particular order is suspicious. The size of an order alone,

regardless of whether it deviates from a normal pattern, is enough to trigger the wholesale

distributor’s responsibility to report the order as suspicious. The determination of whether an

order is suspicious depends not only on the ordering patterns of the particular customer, but also

on the patterns of the entirety of the wholesale distributor’s customer base and the patterns

throughout the relevant segment of the wholesale distributor industry.

        175.   In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders that were flagged as potentially

suspicious if, after conducting due diligence, the distributor can determine that the order is not

likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enforcement

Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, distributors must report all

flagged orders. Id.

        176.   The law regulates these prescription drugs for the purpose of providing a “closed”

system intended to reduce the widespread diversion of these drugs out of legitimate

channels into the illicit market, while at the same time providing the legitimate drug industry

with a unified approach to narcotic and dangerous drug control.90




90
     See 1970 U.S.C.C.A.N. 4566, 4571-72.

                                                 76
       177.   Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations define each participant’s role and

responsibilities.91

       178.   As the DEA advised the Distributor Defendants in a letter to them dated September

27, 2006, wholesale distributors are “one of the key components of the distribution chain. If the

closed system is to function properly … distributors must be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes.

This responsibility is critical, as … the illegal distribution of controlled substances has a

substantial and detrimental effect on the health and general welfare of the American people.”92




91
   Brief for Healthcare Distribution Management Association and National Association of Chain
Drug Stores as Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug
Enf’t Admin. (No. 15-1335) (D.C. Cir. Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter
Brief for HDMA and NACDS]. The Healthcare Distribution Management Association (HDMA
or HMA)—now known as the Healthcare Distribution Alliance (HDA)—is a national, not-for-
profit trade association that represents the nation’s primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal
Health,      Inc.,   and    McKesson       Corporation.     See     generally     HDA,       About,
https://www.healthcaredistribution.org/about (last visited Aug. 21, 2017). The National
Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association that
represents traditional drug stores and supermarkets and mass merchants with pharmacies whose
membership includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation
and Walmart. See generally NACDS, Mission, https://www.nacds.org/ about/mission/ (last
visited Aug. 21, 2017).
92
   See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control,
Drug. Enf’t Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter
Rannazzisi Letter] (“This letter is being sent to every commercial entity in the United States
registered with the Drug Enforcement Agency (DEA) to distribute controlled substances. The
purpose of this letter is to reiterate the responsibilities of controlled substance distributors in
view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal
Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.

                                                77
           179.   The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders.93

           180.   The DEA sent a letter to each of the Distributor Defendants on September 27,

2006, warning that it would use its authority to revoke and suspend registrations when

appropriate. The letter expressly states that a distributor, in addition to reporting suspicious

orders, has a “statutory responsibility to exercise due diligence to avoid filling suspicious orders

that might be diverted into other than legitimate medical, scientific, and industrial channels.”94

The letter also instructs that “distributors must be vigilant in deciding whether a prospective

customer can be trusted to deliver controlled substances only for lawful purposes.”95 The DEA

warns that “even just one distributor that uses its DEA registration to facilitate diversion can

cause enormous harm.”96

           181.   The DEA sent a second letter to each of the Distributor Defendants on December

27, 2007.97 This letter reminds the Defendants of their statutory and regulatory duties to

“maintain effective controls against diversion” and “design and operate a system to disclose to

the registrant suspicious orders of controlled substances.”98 The letter further explains:




93
   See Brief for HDMA and NACDS, supra, 2016 WL 1321983, at *4 (“[R]egulations . . . in
place for more than 40 years require distributors to report suspicious orders of controlled
substances to DEA based on information readily available to them (e.g., a pharmacy’s placement
of unusually frequent or large orders).”).
94
     Rannazzisi Letter, at 2.
95
     Id. at 1.
96
     Id. at 2.
97
  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control,
Drug. Enf’t Admin., U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal
Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
98
     Id.

                                                  78
The regulation also requires that the registrant inform the local DEA Division
Office of suspicious orders when discovered by the registrant. Filing a monthly
report of completed transactions (e.g., “excessive purchase report” or “high unity
purchases”) does not meet the regulatory requirement to report suspicious orders.
Registrants are reminded that their responsibility does not end merely with the
filing of a suspicious order report. Registrants must conduct an independent
analysis of suspicious orders prior to completing a sale to determine whether the
controlled substances are likely to be diverted from legitimate channels.
Reporting an order as suspicious will not absolve the registrant of responsibility if
the registrant knew, or should have known, that the controlled substances were
being diverted.

The regulation specifically states that suspicious orders include orders of unusual
size, orders deviating substantially from a normal pattern, and orders of an
unusual frequency. These criteria are disjunctive and are not all inclusive. For
example, if an order deviates substantially from a normal pattern, the size of the
order does not matter and the order should be reported as suspicious. Likewise, a
registrant need not wait for a “normal pattern” to develop over time before
determining whether a particular order is suspicious. The size of an order alone,
whether or not it deviates from a normal pattern, is enough to trigger the
registrant’s responsibility to report the order as suspicious. The determination of
whether an order is suspicious depends not only on the ordering patterns of the
particular customer, but also on the patterns of the registrant’s customer base and
the patterns throughout the segment of the regulated industry.

Registrants that rely on rigid formulas to define whether an order is suspicious
may be failing to detect suspicious orders. For example, a system that identifies
orders as suspicious only if the total amount of a controlled substance ordered
during one month exceeds the amount ordered the previous month by a certain
percentage or more is insufficient. This system fails to identify orders placed by a
pharmacy if the pharmacy placed unusually large orders from the beginning of its
relationship with the distributor. Also, this system would not identify orders as
suspicious if the order were solely for one highly abused controlled substance if
the orders never grew substantially. Nevertheless, ordering one highly abused
controlled substance and little or nothing else deviates from the normal pattern of
what pharmacies generally order.

When reporting an order as suspicious, registrants must be clear in their
communication with DEA that the registrant is actually characterizing an order as
suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
“excessive purchases” do not comply with the requirement to report suspicious
orders, even if the registrant calls such reports “suspicious order reports.”
Lastly, registrants that routinely report suspicious orders, yet fill these orders
without first determining that order is not being diverted into other than legitimate
medical, scientific, and industrial channels, may be failing to maintain effective
controls against diversion. Failure to maintain effective controls against diversion

                                         79
            is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
            and may result in the revocation of the registrant’s DEA Certificate of
            Registration.99

            Finally, the DEA letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.”100

            182.   The Distributor Defendants admit that they “have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake

such efforts as responsible members of society.”101

            183.   The Distributor Defendants knew they were required to monitor, detect and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that

distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely

situated to perform due diligence in order to help support the security of the controlled

substances they deliver to their customers.” The guidelines set forth recommended steps in the

“due diligence” process and note in particular: If an order meets or exceeds a distributor’s

threshold, as defined in the distributor’s monitoring system, or the distributor otherwise

characterizes it as an order of interest, the distributor should not ship to the customer, in

fulfillment of that order, any units of the specific drug code product as to which the order met or




99
      Id.
100
      Id.
101
      See Brief of HDMA, 2012 WL 1637016, at *2.

                                                    80
exceeded a threshold or as to which the order was otherwise characterized as an order of

interest.102

       184.    Each of the Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in Plaintiff’s Community and/or to retailers from

which Defendants knew prescription opioids were likely to be diverted to Plaintiff’s Community.

       185.    Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

prescription opioids.

       186.    Each Distributor Defendant owes a duty under federal and state law to investigate

and refuse suspicious orders of prescription opioids.

       187.    Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids.

       188.    Each Distributor Defendant owes a duty under federal and state law to prevent the

diversion of prescription opioids into illicit markets in the State and Plaintiff’s Community.

       189.    The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

       190.    The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in Plaintiff’s Community and

the damages caused thereby.




102
   Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines:
Reporting Suspicious Orders and Preventing Diversion of Controlled Substances, filed in
Cardinal Health, Inc. v. Holder, No. 12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415
(App’x B).

                                                81
                       2. The Distributor Defendants Breached Their Duties.

       191. Because distributors handle such large volumes of controlled substances and are the

first major line of defense in the movement of legal pharmaceutical controlled substances from

legitimate channels into the illicit market, it is incumbent on distributors to maintain effective

controls to prevent diversion of controlled substances. Should a distributor deviate from these

checks and balances, the closed system collapses.103

       192. The sheer volume of prescription opioids distributed to pharmacies in the Plaintiff’s

Community and/or to pharmacies from which the Distributor Defendants knew the opioids were

likely to be diverted into Plaintiff’s Community is excessive for the medical need of the

community and facially suspicious. Some red flags are so obvious that no one who engages in

the legitimate distribution of controlled substances can reasonably claim ignorance of them. 104

       193. The Distributor Defendants failed to report “suspicious orders” originating from

Plaintiff’s Community or that the Distributor Defendants knew were likely to be diverted to

Plaintiff’s Community to the federal and state authorities, including the DEA and/or the state

Board of Pharmacy.

       194. The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern and/or orders of unusual frequency in

Plaintiff’s Community and/or in areas from which the Distributor Defendants knew opioids were

likely to be diverted to Plaintiff’s Community.




103
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW
(D.D.C. Feb. 10, 2012), ECF No. 14-2.
104
   Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing
Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322
(2012)).

                                                  82
          195. The Distributor Defendants breached their duty to monitor, detect, investigate,

refuse and report suspicious orders of prescription opiates originating from Plaintiff’s

Community and/or in areas from which the Distributor Defendants knew opioids were likely to

be diverted to Plaintiff’s Community.

          196. The Distributor Defendants breached their duty to maintain effective controls

against diversion of prescription opiates into other than legitimate medical, scientific and

industrial channels.

          197. The Distributor Defendants breached their duty to “design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law.

          198. The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels.105

          199. The federal and state laws at issue here are public safety laws.

          200. The Distributor Defendants’ violations of public safety statutes constitute prima

facie evidence of negligence under State law.

          201. The Distributor Defendants supplied prescription opioids to obviously suspicious

physicians and pharmacies, enabled the illegal diversion of opioids, aided criminal activity and

disseminated massive quantities of prescription opioids into the black market.

          202. The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal and state law, which


105
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

                                                  83
require Distributor Defendants to legally acquire and maintain a license to distribute prescription

opiates.

       203. The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

       204. The Distributor Defendants’ repeated shipments of suspicious orders over an

extended period of time, in violation of public safety statutes and without reporting the

suspicious orders to the relevant authorities demonstrate wanton, willful or reckless conduct or

criminal indifference to civil obligations affecting the rights of others and justifies an award of

punitive damages.


                        3. The Distributor Defendants Have Sought to Avoid and
                        Have Misrepresented Their Compliance with Their Legal
                        Duties.

       205. The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under state and federal law and have wrongfully and repeatedly disavowed

those duties in an effort to mislead regulators and the public regarding the Distributor

Defendants’ compliance with their legal duties.

       206. The Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association the Distributor

Defendants run, and the NACDS submitted amicus briefs regarding the legal duty of wholesale

distributors. Inaccurately denying the legal duties that the wholesale drug industry has been

tragically recalcitrant in performing, they argued as follows:

               a. The Associations complained that the “DEA has required distributors not only

                    to report suspicious orders, but to investigate orders (e.g., by interrogating


                                                  84
                       pharmacies and physicians) and take action to halt suspicious orders before

                       they are filled.”106

                    b. The Associations argued that, “DEA now appears to have changed its position

                       to require that distributors not only report suspicious orders, but investigate

                       and halt suspicious orders. Such a change in agency position must be

                       accompanied by an acknowledgment of the change and a reasoned

                       explanation for it. In other words, an agency must display awareness that it is

                       changing position and show that there are good reasons for the new policy.

                       This is especially important here, because imposing intrusive obligation on

                       distributors threatens to disrupt patient access to needed prescription

                       medications.”107

                    c. The Associations alleged (inaccurately) that nothing “requires distributors to

                       investigate the legitimacy of orders, or to halt shipment of any orders deemed

                       to be suspicious.”108

                    d. The Association complained that the purported “practical infeasibility of

                       requiring distributors to investigate and halt suspicious orders (as well as

                       report them) underscores the importance of ensuring that DEA has complied

                       with the APA before attempting to impose such duties.”109




106
      Brief for HDMA and NACDS, 2016 WL 1321983, at *4–5.
107
      Id. at *8 (citations and quotation marks omitted).
108
      Id. at *14.
109
      Id. at *22.

                                                   85
                   e. The Associations alleged (inaccurately) that “DEA’s regulations [] sensibly

                       impose[] a duty on distributors simply to report suspicious orders, but left it to

                       DEA and its agents to investigate and halt suspicious orders.”110

          207. Also inaccurately, the Associations argued that, “[i]mposing a duty on distributors

– which lack the patient information and the necessary medical expertise – to investigate and halt

orders may force distributors to take a shot-in-the-dark approach to complying with DEA’s

demands.”111

          208. The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.112

          209. The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court

upheld the revocation of Master Pharmaceutical’s license and determined that DEA regulations

require that, in addition to reporting suspicious orders, distributors must “decline to ship the

order, or conduct some ‘due diligence’ and—if it is able to determine that the order is not likely

to be diverted into illegal channels—ship the order.” Id. at 212. Masters Pharmaceutical was in

violation of legal requirements because it failed to conduct necessary investigations and filled

suspicious orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags

giving rise to suspicious circumstance prior to shipping a suspicious order. Id. at 226. The Circuit

110
      Id. at *24–25.
111
      Id. at 26.
112
     See Brief of HDMA, supra, 2012 WL 1637016, at *3 (arguing the wholesale distributor
industry “does not know the rules of the road because” they claim (inaccurately) that the “DEA
has not adequately explained them”).

                                                    86
Court also rejected the argument made by the HDMA and NACDS (quoted above) that,

allegedly, the DEA had created or imposed new duties. Id. at 220.

           210. Wholesale Distributor McKesson recently has been forced to specifically admit to

breaches of its duties to monitor, report and prevent suspicious orders. Pursuant to an

Administrative Memorandum of Agreement (“2017 Agreement”) between McKesson and the

DEA in January 2017, McKesson admitted that, at various times during the period from January

1, 2009 through the effective date of the Agreement (January 17, 2017), it “did not identify or

report to [the] DEA certain orders placed by certain pharmacies which should have been detected

by McKesson as suspicious based on the guidance contained in the DEA Letters.”113 Further, the

2017 Agreement specifically finds that McKesson “distributed controlled substances to

pharmacies even though those McKesson Distribution Centers should have known that the

pharmacists practicing within those pharmacies had failed to fulfill their corresponding

responsibility to ensure that controlled substances were dispensed pursuant to prescriptions

issued for legitimate medical purposes by practitioners acting in the usual course of their

professional practice, as required by 21 C.F.R § 1306.04(a).”114 McKesson admitted that, during

this time period, it “failed to maintain effective controls against diversion of particular controlled

substances into other than legitimate medical, scientific and industrial channels by sales to

certain of its customers in violation of the CSA and the CSA’s implementing regulations, 21

C.F.R. Part 1300 et seq., at the McKesson Distribution Centers,” including the McKesson




113
    See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug
Enf’t Admin., and the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-
release/file/928476/download.
114
      Id. at 4.

                                                 87
Distribution Center located in “Washington Courthouse, Ohio.”115 Due to these violations,

McKesson agreed that its authority to distribute controlled substances from the Washington

Courthouse, Ohio facility (among other facilities) would be partially suspended.116

            211. The 2017 Agreement followed a 2008 Settlement Agreement in which McKesson

also admitted failure to report suspicious orders of controlled substances to the DEA.117 In the

2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor its sales of all

controlled substances and report suspicious orders to DEA,” but had failed to do so.118 The 2017

Agreement documents that McKesson continued to breach its admitted duties by “fail[ing] to

properly monitor its sales of controlled substances and/or report suspicious orders to DEA, in

accordance with McKesson’s obligations.”119 As a result of these violations, McKesson was

fined and required to pay to the United States $150,000,000.120

            212. Even though McKesson had been sanctioned in 2008 for failure to comply with its

legal obligations regarding controlling diversion and reporting suspicious orders, and even

though McKesson had specifically agreed in 2008 that it would no longer violate those

obligations, McKesson continued to violate the laws in contrast to its written agreement not to do

so.

115
      Id.
116
      Id. at 6.
117
      Id. at 4.
118
      Id.
119
   Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5
(Jan. 17, 2017) [hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges
that, at various times during the Covered Time Period [2009-2017], it did not identify or report to
DEA certain orders placed by certain pharmacies, which should have been detected by
McKesson as suspicious, in a manner fully consistent with the requirements set forth in the 2008
MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
120
      See 2017 Settlement Agreement and Release, supra, at 6.

                                                 88
            213. Because of the Distributor Defendants’ refusal to abide by their legal obligations,

the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

in May 2014, the United States Department of Justice, Office of the Inspector General,

Evaluation and Inspections Divisions reported that the DEA issued final decisions in 178

registrant actions between 2008 and 2012.121 The Office of Administrative Law Judges issued a

recommended decision in a total of 117 registrant actions before the DEA issued its final

decision, including 76 actions involving orders to show cause and 41 actions involving

immediate suspension orders.122 These actions include the following:

                   a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate

                       Suspension   Order      against    the   AmerisourceBergen   Orlando,   Florida

                       distribution center (“Orlando Facility”) alleging failure to maintain effective

                       controls against diversion of controlled substances. On June 22, 2007,

                       AmerisourceBergen entered into a settlement that resulted in the suspension of

                       its DEA registration;

                   b. On November 28, 2007, the DEA issued an Order to Show Cause and

                       Immediate Suspension Order against the Cardinal Health Auburn, Washington

                       Distribution Center (“Auburn Facility”) for failure to maintain effective

                       controls against diversion of hydrocodone;

                   c. On December 5, 2007, the DEA issued an Order to Show Cause and

                       Immediate Suspension Order against the Cardinal Health Lakeland, Florida



121
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The
Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.
122
      Id.

                                                     89
   Distribution Center (“Lakeland Facility”) for failure to maintain effective

   controls against diversion of hydrocodone;

d. On December 7, 2007, the DEA issued an Order to Show Cause and

   Immediate Suspension Order against the Cardinal Health Swedesboro, New

   Jersey Distribution Center (“Swedesboro Facility”) for failure to maintain

   effective controls against diversion of hydrocodone;

e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate

   Suspension Order against the Cardinal Health Stafford, Texas Distribution

   Center (“Stafford Facility”) for failure to maintain effective controls against

   diversion of hydrocodone;

f. On May 2, 2008, McKesson Corporation entered into an Administrative

   Memorandum of Agreement (“2008 MOA”) with the DEA, which provided

   that McKesson would “maintain a compliance program designed to detect and

   prevent the diversion of controlled substances, inform DEA of suspicious

   orders required by 21 C.F.R. § 1301.74(b), and follow the procedures

   established by its Controlled Substance Monitoring Program;”

g. On September 30, 2008, Cardinal Health entered into a Settlement and

   Release Agreement and Administrative Memorandum of Agreement with the

   DEA related to its Auburn Facility, Lakeland Facility, Swedesboro Facility

   and Stafford Facility. The document also referenced allegations by the DEA

   that Cardinal failed to maintain effective controls against the diversion of

   controlled substances at its distribution facilities located in McDonough,




                               90
                  Georgia (“McDonough Facility”); Valencia, California (“Valencia Facility”);

                  and Denver, Colorado (“Denver Facility”);

              h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate

                  Suspension Order against the Lakeland Facility for failure to maintain

                  effective controls against diversion of oxycodone;

              i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to

                  the DEA to resolve the civil penalty portion of the administrative action taken

                  against the Lakeland Facility; and

              j. On January 5, 2017, McKesson Corporation entered into an Administrative

                  Memorandum Agreement with the DEA wherein it agreed to pay a $150

                  million civil penalty for violation of the 2008 MOA as well as failure to

                  identify and report suspicious orders at its facilities in Aurora, Colorado;

                  Aurora, Illinois; Delran, New Jersey; LaCrosse, Wisconsin; Lakeland, Florida;

                  Landover, Maryland; La Vista, Nebraska; Livonia, Michigan; Livonia,

                  Michigan; Methuan, Massachusetts; Santa Fe Springs, California; Washington

                  Courthouse, Ohio; and West Sacramento, California.

       214. Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act,” which, ironically, raised the burden for the DEA to revoke a distributor’s




                                               91
license from “imminent harm” to “immediate harm” and provided the industry the right to “cure”

any violations of law before the DEA can issue a suspension order.123

       215. In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

       216. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain and represented that it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”124

Given the sales volumes and the company’s history of violations, this executive was either not

telling the truth or, if Cardinal Health had such a system, it ignored the results.

       217. Similarly, Defendant McKesson publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders” and claimed it is

123
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the
Opioid Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016,
https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-while-the-opioid-
epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html;
Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA
Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had No Leadership” in WV Amid Flood of Pain Pills, Charleston
Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-
flood-of-pain-pills-.
124
    Lenny Bernstein, et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal
Users: “No One Was Doing Their Job,” Wash. Post, Oct. 22, 2016,
https://www.washingtonpost.com/investigations/how-drugs-intended-for-patients-ended-up-in-
the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-8ff7-
7b6c1998b7a0_story.html.

                                                  92
“deeply passionate about curbing the opioid epidemic in our country.”125 Again, given

McKesson’s historical conduct, this statement is either false, or the company ignored outputs of

the monitoring program.

       218. By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that the Plaintiff now asserts. The Plaintiff did not know of the

existence or scope of Distributor Defendants’ industry-wide fraud and could not have acquired

such knowledge earlier through the exercise of reasonable diligence.

       219. Meanwhile, the opioid epidemic rages unabated in the Nation, the State and

Plaintiff’s Community.

       220. The epidemic still rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants,

pay fines as a cost of doing business in an industry that generates billions of dollars in annual

revenue. They hold multiple DEA registration numbers, and when the DEA suspends one

facility, they simply ship from another facility.

       221. Plaintiff’s racketeering allegations below allege in greater detail the wrongful

actions and omissions of the Distributor Defendants, which have caused the diversion of opioids

and have been a substantial contributing factor to and/or proximate cause of the opioid crisis.

       222. The Distributor Defendants have abandoned their duties imposed under federal and

state law, taken advantage of a lack of DEA law enforcement and abused the privilege of

distributing controlled substances in the State and Plaintiff’s Community.

125
    Scott Higham, et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency
Tried      to    Curb       Opioid     Abuse,    Wash.       Post,     Dec.     22,    2016,
https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-dea-to-
pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.

                                                    93
                    D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE
                    TO PREVENT DIVERSION AND MONITOR, REPORT AND
                    PREVENT SUSPICIOUS ORDERS.

         223. The same legal duties to prevent diversion and to monitor, report and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Manufacturer Defendants under federal and State law.

         224. Under State and federal law, the Manufacturer Defendants were required to comply

with substantially the same licensing and permitting requirements as the Distributor Defendants

and the same rules regarding prevention of diversion and reporting suspicious orders, as set out

above.

         225.   Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances like prescription opioids.

See 21 U.S.C. § 823(a). A requirement of such registration is the:

         maintenance of effective controls against diversion of particular controlled
         substances and any controlled substance in schedule I or II compounded
         therefrom into other than legitimate medical, scientific, research, or industrial
         channels, by limiting the importation and bulk manufacture of such controlled
         substances to a number of establishments which can produce an adequate and
         uninterrupted supply of these substances under adequately competitive conditions
         for legitimate medical, scientific, research, and industrial purposes...

         21 U.S.C. § 823(a)(1).

         226. Additionally, as “registrants” under Section 823, the Manufacturer Defendants

were also required to monitor, report and prevent suspicious orders of controlled substances:

         The registrant shall design and operate a system to disclose to the registrant
         suspicious orders of controlled substances. The registrant shall inform the Field
         Division Office of the Administration in his area of suspicious orders when
         discovered by the registrant. Suspicious orders include orders of unusual size,
         orders deviating substantially from a normal pattern, and orders of unusual
         frequency.




                                                94
       21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part shall

have the definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this

chapter.”); 21 C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant to

either section 303 or section 1008 of the Act (21 U.S.C. 823 or 958).”) Like the Distributor

Defendants, the Manufacturer Defendants breached these duties.

       227. The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report and prevent suspicious orders and to prevent diversion. The

Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.

A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer’s product at a price below a specified rate. After a distributor sells a

manufacturer’s product to a pharmacy, for example, the distributor requests a chargeback from

the manufacturer and, in exchange for the payment, the distributor identifies to the manufacturer

the product, volume and the pharmacy to which it sold the product. Thus, the Manufacturer

Defendants knew – just as the Distributor Defendants knew – the volume, frequency and pattern

of opioid orders being placed and filled. The Manufacturer Defendants built receipt of this

information into the payment structure for the opioids provided to the opioid distributors.

       228. Federal statutes and regulations – and State law incorporating those requirements –

are clear: just like opioid distributors, the law requires opioid manufacturers to “design and

operate a system to disclose . . . suspicious orders of controlled substances” and to maintain

“effective controls against diversion.” 21 C.F.R. § 1301.74; 21 U.S.C. § 823(a)(1).

       229. The Department of Justice recently has confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for




                                                95
failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements.126

            230. In the press release accompanying the settlement, the Department of Justice stated:

Mallinckrodt “did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid

epidemic. These suspicious order monitoring requirements exist to prevent excessive sales of

controlled substances, like oxycodone . . . Mallinckrodt’s actions and omissions formed a link in

the chain of supply that resulted in millions of oxycodone pills being sold on the street. . . .

Manufacturers and distributors have a crucial responsibility to ensure that controlled substances

do not get into the wrong hands[.]”127

            231. The settlement resolved, inter alia, government’s allegations that “Mallinckrodt

failed to design and implement an effective system to detect and report ‘suspicious orders’ for

controlled substances – orders that are unusual in their frequency, size, or other patterns . . . [and]

Mallinckrodt supplied distributors, and the distributors then supplied various U.S. pharmacies

and pain clinics, an increasingly excessive quantity of oxycodone pills without notifying DEA of

these suspicious orders.”128

            232. The Memorandum of Agreement Mallinckrodt entered into (“2017 Mallinckrodt

MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain




126
    See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million
Settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs and for
Recordkeeping Violations (July 11, 2017), https://www.justice.gov/opa/pr/mallinckrodt-agrees-
pay-record-35-million-settlement-failure-report-suspicious-orders.
127
      Id.
128
      Id.

                                                   96
effective controls against diversion, including a requirement that it review and monitor these

sales and report suspicious orders to DEA.”129

       233. The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

               With respect to its distribution of oxycodone and hydrocodone products,
               Mallinckrodt’s alleged failure to distribute these controlled substances in a
               manner authorized by its registration and Mallinckrodt’s alleged failure to
               operate an effective suspicious order monitoring system and to report
               suspicious orders to the DEA when discovered as required by and in
               violation of 21 C.F.R. § 1301.74(b). The above includes, but is not limited
               to Mallinckrodt’s alleged failure to:

                 i.conduct adequate due diligence of its customers;

                ii. detect and report to the DEA orders of unusual size and frequency;

               iii. detect and report to the DEA orders deviating substantially from normal
                    patterns including, but not limited to, those identified in letters from the
                    DEA Deputy Assistant Administrator, Office of Diversion Control, to
                    registrants dated September 27, 2006 and December 27, 2007:

                       1. orders that resulted in a disproportionate amount of a
                       substance which is most often abused going to a particular
                       geographic region where there was known diversion,

                       2. orders that purchased a disproportionate amount of a
                       substance which is most often abused compared to other products,
                       and

                       3. orders from downstream customers to distributors who were
                       purchasing from multiple different distributors, of which
                       Mallinckrodt was aware;

                iv.use “chargeback” information from its distributors to evaluate
                   suspicious orders. Chargebacks include downstream purchasing
                   information tied to certain discounts, providing Mallinckrodt with data
                   on buying patterns for Mallinckrodt products; and

129
   Administrative Memorandum of Agreement between the United States Department of Justice,
the Drug Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC
(July 10, 2017), https://www.justice.gov/usao-edmi/press-release/file/986026/download. (“2017
Mallinckrodt MOA”).

                                                  97
                    v.take sufficient action to prevent recurrence of diversion by downstream
                      customers after receiving concrete information of diversion of
                      Mallinckrodt product by those downstream customers.130

           234. Mallinckrodt agreed that its “system to monitor and detect suspicious orders did not

 meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

 Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt further

 agreed that it “recognizes the importance of the prevention of diversion of the controlled

 substances they manufacture” and would “design and operate a system that meets the

 requirements of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction

 information to identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt

 agrees to notify DEA of any diversion and/or suspicious circumstances involving any

 Mallinckrodt controlled substances that Mallinckrodt discovers.”131

           235. Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

 collects transaction information, referred to as chargeback data, from their direct customers

 (distributors). The transaction information contains data relating to the direct customer sales of

 controlled substances to ‘downstream’ registrants.” Mallinckrodt agreed that, from this data, it

 would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

 information indicates that a downstream registrant poses a risk of diversion.”132

           236. The same duties federal law imposed on Mallinckrodt were imposed upon all

 Manufacturer Defendants.




130
      2017 Mallinckrodt MOA at p. 2-3.
131
      Id. at 3-4.
132
      Id. at p.5.

                                                   98
          237. The same business practices Mallinckrodt utilized regarding “charge backs” and

receipt and review of data from opioid distributors as to orders of opioids were utilized

industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Manufacturer Defendants.

          238. Through, inter alia, the chargeback data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

          239. The Manufacturer Defendants failed to monitor, report and halt suspicious orders

of opioids as required by federal law.

          240. The Manufacturer Defendants’ failures to monitor, report and halt suspicious orders

of opioids were intentional and unlawful.

          241. The Manufacturer Defendants have misrepresented their compliance with federal

and state law.

          242. The Manufacturer Defendants enabled the supply of prescription opioids to

obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided

criminal activity and disseminated massive quantities of prescription opioids into the black

market.

          243. Plaintiff’s racketeering allegations below allege in greater detail the wrongful

actions and omissions of the Manufacturer Defendants, which have caused the diversion of

opioids and have been a substantial contributing factor to and/or proximate cause of the opioid

crisis.

          244. The Manufacturer Defendants’ actions and omissions in failing to effectively

prevent diversion and failing to monitor, report and prevent suspicious orders have enabled the

unlawful diversion of opioids into Plaintiff’s Community.



                                                 99
                  E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF
                  LEGAL DUTIES CAUSED THE HARM ALLEGED HEREIN AND
                  SUBSTANTIAL DAMAGES.

       245. As the Manufacturer Defendants’ efforts to expand the market for opioids have

increased, so have the rates of prescription and sale of their products — and the rates of opioid-

related substance abuse, hospitalization and death among the people of the State and the

Plaintiff’s Community. The Distributor Defendants have continued to unlawfully ship these

massive quantities of opioids into communities like the Plaintiff’s Community, fueling the

epidemic.

       246. There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.”133

       247. Opioid analgesics are widely diverted and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.134

       248. The epidemic is “directly related to the increasingly widespread misuse of powerful

opioid pain medications.”135

       249. The increased abuse of prescription painkillers, along with growing sales, has

contributed to a large number of overdoses and deaths.136




133
   See Richard C. Dart et al., Trends in Opioid Analgesic Abuse and Mortality in the United
States, 372 N. Eng. J. Med. 241 (2015).
134
    See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—
Misconceptions and Mitigation Strategies, 374 N. Eng. J. Med. 1253 (2016).
135
   See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng.
J. Med. 1480 (2016).
136
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human
Servs., supra.

                                               100
       250. As shown above, the opioid epidemic has escalated in Plaintiff’s Community with

devastating effects: substantial opiate-related substance abuse, hospitalization and death that

mirrors Defendants’ increased distribution of opiates.

       251. Because of the well-established relationship between the use of prescription opiates

and the use of non-prescription opioids, like heroin, the massive distribution of opioids to

Plaintiff’s Community and areas from which such opioids are being diverted into Plaintiff’s

Community has resulted in the Defendant-caused opioid epidemic including heroin addiction,

abuse and death.

       252. Prescription opioid abuse, addiction, morbidity and mortality are hazards to public

health and safety in the State and in Plaintiff’s Community.

       253. Heroin abuse, addiction, morbidity and mortality are hazards to public health and

safety in the State and in Plaintiff’s Community.

       254. Defendants repeatedly and purposefully breached their duties under state and

federal law, and such breaches are direct and proximate causes of and/or substantial factors

leading to the widespread diversion of prescription opioids for nonmedical purposes into the

Plaintiff’s Community.

       255. The unlawful diversion of prescription opioids is a direct and proximate cause of

and/or substantial factor leading to the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the State and Plaintiff’s Community. This diversion and the epidemic

are direct causes of foreseeable harms the Plaintiff and Plaintiff’s Community have incurred.

       256. Defendants’ intentional and/or unlawful conduct resulted in direct and foreseeable,

past and continuing economic damages for which Plaintiff seeks relief, as alleged herein.




                                               101
Plaintiff also seeks the means to abate the epidemic created by Defendants’ wrongful and/or

unlawful conduct.

       257. Plaintiff seeks economic damages from the Defendants as reimbursement for the

costs associated with past efforts to eliminate the hazards to public health and safety.

       258. Plaintiff seeks economic damages from the Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.

       259. A comprehensive response to this crisis must focus on preventing new cases of

opioid addiction, identifying opioid-addicted individuals early and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain. 137

       260. These community-based problems require community-based solutions that

“budgetary constraints at the state and Federal levels” have limited.138

       261. Having profited enormously through the aggressive sale, misleading promotion and

irresponsible distribution of opiates, Defendants should be required to take responsibility for the

financial burdens their conduct has inflicted upon the Plaintiff and Plaintiff’s Community.


                    F. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS
                    ARE ESTOPPED FROM ASSERTING STATUTES OF LIMITATIONS
                    AS DEFENSES.

                        1. Continuing Conduct.

       262. Plaintiff contends it continues to suffer harm from Defendants’ unlawful actions.

137
    See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic:
An Evidence-Based         Approach      (G.   Caleb Alexander         et    al. eds., 2015),
http://www.jhsph.edu/research/centers-and-institutes/center-for-drug-safety-and-
effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.
138
   See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding
to        America’s         Prescription       Drug           Abuse         Crisis       (2011),
https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.

                                                102
          263. Defendants’ continued tortious and unlawful conduct causes a repeated or

continuous injury. The damages have not occurred all at once, but have continued to occur and

increase as time progresses. The tort is not completed nor have all the damages been incurred

until the wrongdoing ceases. Defendants’ wrongdoing and unlawful activity have not ceased.

The public nuisance remains unabated. The conduct causing the damages remains unabated.


                           2. Equitable Estoppel.

          264. Defendants are equitably estopped from relying upon a statute of limitations

defense because they undertook active efforts to deceive Plaintiff and to purposefully conceal

their unlawful conduct and fraudulently assure the public, including the State, the Plaintiff and

Plaintiff’s Community, that they were undertaking efforts to comply with their obligations under

the state and federal controlled substances laws, all with the goal of protecting their registered

manufacturer or distributor status in the State and continuing to generate profits.

Notwithstanding the allegations set forth above, the Defendants affirmatively assured the public,

including the State, the Plaintiff and Plaintiff’s Community, that they are working to curb the

opioid epidemic.

          265. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

 to monitor its supply chain and assured the public it was being “as effective and efficient as

 possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”139

          266. Similarly, McKesson publicly stated that it has a “best-in-class controlled substance

 monitoring program to help identify suspicious orders,” and claimed it is “deeply passionate

 about curbing the opioid epidemic in our country.”140




139
      Bernstein et al., supra.

                                                 103
         267. Moreover, in furtherance of their effort to affirmatively conceal their conduct and

 avoid detection, the Distributor Defendants, through their trade associations, HDMA and

 NACDS, filed an amicus brief in Masters Pharmaceuticals, which made the following

 statements:141

                  a. “HDMA and NACDS members not only have statutory and regulatory

                     responsibilities to guard against diversion of controlled prescription drugs, but

                     undertake such efforts as responsible members of society.”

                  b. “DEA regulations that have been in place for more than 40 years require

                     distributors to report suspicious orders of controlled substances to DEA based

                     on information readily available to them (e.g., a pharmacy’s placement of

                     unusually frequent or large orders).”

                  c. “Distributors take seriously their duty to report suspicious orders, utilizing

                     both computer algorithms and human review to detect suspicious orders based

                     on the generalized information that is available to them in the ordering

                     process.”

                  d. “A particular order or series of orders can raise red flags because of its

                     unusual size, frequency, or departure from typical patterns with a given

                     pharmacy.”




140
    Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency
Tried      to    Curb      Opioid      Abuse,    Wash.       Post,     Dec.     22,   2016,
https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-dea-to-
pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.
141
      Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, *25.

                                                 104
               e. “Distributors also monitor for and report abnormal behavior by pharmacies

                   placing orders, such as refusing to provide business contact information or

                   insisting on paying in cash.”

       Through the above statements made on their behalf by their trade associations and other

similar statements assuring their continued compliance with their legal obligations, the

Distributor Defendants not only acknowledged that they understood their obligations under the

law, but they further affirmed that their conduct was in compliance with those obligations.

       268. The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database, that will confirm their identities and the

extent of their wrongful and illegal activities.

       269. The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The Manufacturer

Defendants invented “pseudoaddiction” and promoted it to an unsuspecting medical community.

The Manufacturer Defendants provided the medical community with false and misleading

information about ineffectual strategies to avoid or control opioid addiction. The Manufacturer

Defendants recommended to the medical community that dosages be increased, without

disclosing the risks. The Manufacturer Defendants spent millions of dollars over a period of

years on a misinformation campaign aimed at highlighting opioids’ alleged benefits, disguising

the risks and promoting sales. The Manufacturer Defendants’ campaign to misrepresent and

conceal the truth about the opioid drugs that they were aggressively pushing in the State and in

Plaintiff’s Community deceived the medical community, consumers, the State and Plaintiff’s

Community.




                                                   105
       270. Defendants intended that their actions and omissions would be relied upon,

including by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s Community did not

know and did not have the means to know the truth, due to Defendants’ actions and omissions.

       271. The Plaintiff and Plaintiff’s Community reasonably relied on Defendants’

affirmative statements regarding their purported compliance with their obligations under the law

and consent orders.


                       3. Fraudulent Concealment.

       272. The Plaintiff’s claims are further subject to equitable tolling, stemming from

Defendants’ knowing and fraudulent concealment of the facts alleged herein. As alleged herein,

Defendants knew of the wrongful acts set forth above, had material information pertinent to their

discovery, and concealed them from the Plaintiff and Plaintiff’s Community. The Plaintiff did

not know, or could not have known through the exercise of reasonable diligence, of its causes of

action, as a result of Defendants’ conduct.

       273. The purposes of the statutes of limitations periods are satisfied because Defendants

cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly upon

discovering the facts essential to its claims, described herein, which Defendants knowingly

concealed.

       274. In light of their statements to the media, in legal filings and in settlements, it is

clear that Defendants had actual or constructive knowledge that their conduct was deceptive, in

that they consciously concealed the schemes set forth herein.

       275. Defendants continually and secretly engaged in their scheme to avoid compliance

with their legal obligations. Only Defendants and their agents knew or could have known about

Defendants’ unlawful actions because Defendants made deliberate efforts to conceal their


                                              106
conduct. As a result of the above, the Plaintiff was unable to obtain vital information bearing on

its claims absent any fault or lack of diligence on its part.



                              VI. LEGAL CAUSES OF ACTION

                                  FIRST CLAIM FOR RELIEF
                                     PUBLIC NUISANCE
                                    (Against All Defendants)


        276. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

        277. Defendants, individually and in concert with each other, have contributed to and/or

created and maintained a condition that is harmful to the health of Utah County residents and

which interferes with the comfortable enjoyment of life and constitutes a public nuisance causing

injury to Plaintiff.

        278. Each Defendant is liable for public nuisance because its conduct at issue has caused

an unreasonable and substantial interference with a right common to the general public, which is

the proximate cause of and/or a substantial factor leading to Plaintiff’s injury. See Restatement

Second, Torts § 821B.

        279. Defendants have created a public nuisance under State law.

        280. Plaintiff has a common law right and a statutory right pursuant to Utah Code Ann.

§ 76-10-806 (1993) to seek the abatement of the public nuisance.

        281. By causing dangerously addictive drugs to flood the community and be diverted for

illicit purposes, in contravention of federal and State law, each Defendant has injuriously

affected rights common to the general public, specifically including the rights of the people of

the Plaintiff’s Community to public health, public safety, public peace, public comfort and public

                                                    107
convenience. The public nuisance caused by the diversion of dangerous drugs has caused

substantial annoyance, inconvenience and injury to the public.

       282. Each Manufacturing Defendant unreasonably and substantially interfered with the

public health, safety, peace, comfort and convenience of the Plaintiff’s Community by, inter alia,

promoting and marketing the use of opioids in a misleading and fraudulent manner, and

circulating false and misleading information concerning their safety and efficacy and/or

minimizing or omitting the risk of addiction from their use.

       283. By distributing and selling dangerously addictive opioid drugs diverted from a

legitimate medical, scientific or industrial purpose, Defendants have committed a course of

conduct that injuriously affects the safety, health and morals of the people of the Plaintiff’s

Community.

       284. By failing to maintain a closed system that guards against diversion of dangerously

addictive drugs for illicit purposes, Defendants injuriously affected public rights, including the

right to public health, public safety, public peace and public comfort of the people of the

Plaintiff’s Community.

       285. Plaintiff alleges that Defendants’ wrongful and illegal actions have created a public

nuisance. Each Defendant is liable for public nuisance because its conduct at issue has caused an

unreasonable interference with a right common to the general public.

       286. The residents of Plaintiff’s Community have a common right to be free from

conduct that creates an unreasonable jeopardy to the public health, welfare and safety and to be

free from conduct that creates a disturbance and reasonable apprehension of danger to person and

property.




                                               108
       287. Defendants intentionally, unlawfully and recklessly manufacture, market, distribute

and sell prescription opioids that Defendants know or reasonably should know will be diverted,

causing widespread distribution of prescription opioids in and/or to Plaintiff’s Community,

resulting in addiction and abuse; an elevated level of crime, death and injuries to the residents of

Plaintiff’s Community; a higher level of fear, discomfort and inconvenience to the residents of

Plaintiff’s Community; and direct costs to Plaintiff’s Community.

       288. Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be diverted such as to injure the Plaintiff’s Community and its

residents.

       289. Defendants have unlawfully and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct

is illegal. Defendants’ failures to maintain effective controls against diversion include

Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders and/or

stop shipment of suspicious orders.

       290. Defendants have caused a significant and unreasonable interference with the public

health, safety, welfare, peace, comfort, convenience, and ability to be free from disturbance and

reasonable apprehension of danger to person or property.

       291. Defendants’ conduct in illegally distributing and selling prescription opioids or

causing such opioids to be distributed and sold where Defendants know or reasonably should

know such opioids will be diverted, possessed, and/or used illegally in Plaintiff’s Community is

of a continuing nature.

       292. Defendants’ actions have been of a continuing nature and have produced a

significant effect upon the public’s rights, including the public’s right to health and safety.



                                                 109
       293. A violation of any rule or law controlling the distribution of a drug of abuse in

Plaintiff’s Community and the State is a public nuisance.

       294. Statutes and regulations proscribe Defendants’ distribution of opioids while failing

to maintain effective controls against diversion.

       295. Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow and/or cause to be illegally distributed and possessed in Plaintiff’s

Community will be diverted, leading to abuse, addiction, crime, and public health costs.

       296. Because of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

       297. Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       298. Defendants know, or reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       299. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants are

in the business of manufacturing, marketing, selling and distributing prescription drugs,

including opioids, which Defendants specifically know to be dangerous under federal and state

law. See e.g., 21 U.S.C. § 812 (b)(2).

       300. Defendants’ conduct in marketing, distributing and selling prescription opioids

which the Defendants know, or reasonably should know, likely will be diverted for non-



                                                110
legitimate, non-medical use creates a strong likelihood that these illegal distributions of opioids

will cause death and injuries to residents in Plaintiff’s Community and otherwise significantly

and unreasonably interfere with public health, safety and welfare and with the public’s right to be

free from disturbance and reasonable apprehension of danger to person and property.

       301. It is, or should be, reasonably foreseeable to Defendants that their conduct will

cause deaths and injuries to residents in Plaintiff’s Community and will otherwise significantly

and unreasonably interfere with public health, safety and welfare and with the public’s right to be

free from disturbance.

       302. The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Plaintiff’s Community causes deaths

and injuries, abuse, and addiction.

       303. Defendants’ conduct makes it easier for persons to divert prescription opioids,

constituting a dangerous threat to the public.

       304. Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ special

positions within the closed system of opioid distribution, but for Defendants’ actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse and addiction that now exists would have been averted.

       305. The presence of diverted prescription opioids in Plaintiff’s Community and the

consequence of prescription opioids having been diverted in Plaintiff’s Community proximately

results in and/or substantially contributes to the creation of significant costs to the Plaintiff and to

Plaintiff’s Community.




                                                  111
       306. Stemming the flow of illegally distributed prescription opioids and abating the

nuisance caused by the illegal flow of opioids will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff’s Community a safer place to live.

       307. Defendants’ conduct is a direct and proximate cause of and/or a substantial

contributing factor to opioid addiction and abuse in Plaintiff’s Community and costs borne by

Plaintiff’s Community and the Plaintiff, as well as a significant and unreasonable interference

with public health, safety and welfare.

       308. Defendants’ conduct constitutes a public nuisance and, if unabated, will continue to

threaten the health, safety and welfare of the residents of Plaintiff’s Community. Plaintiff has a

clearly ascertainable right to abate conduct that perpetuates this nuisance.

       309. Defendants created an absolute and/or intentional nuisance. Defendants’ actions

created and expanded the abuse of opioids, which are dangerously addictive, and the ensuing

associated plague of prescription opioid and heroin addiction. Defendants knew the dangers to

public health and safety that diversion of opioids would create in Plaintiff’s Community;

however, Defendants intentionally and/or unlawfully failed to maintain effective controls against

diversion through proper monitoring, reporting and refusal to fill suspicious orders of opioids.

Defendants intentionally and/or unlawfully distributed opioids or caused opioids to be distributed

without reporting or refusing to fill suspicious orders or taking other measures to maintain

effective controls against diversion. Defendants intentionally and/or unlawfully continued to ship

and failed to halt suspicious orders of opioids or caused such orders to be shipped. Defendants

intentionally and/or unlawfully marketed opioids in manners they knew to be false and

misleading. Such actions were inherently dangerous.




                                                112
       310. Defendants knew the prescription opioids have a high likelihood of being diverted.

It was foreseeable to Defendants that where Defendants distributed prescription opioids or

caused such opioids to be distributed without maintaining effective controls against diversion,

including monitoring, reporting and refusing shipment of suspicious orders, that the opioids

would be diverted and create an opioid abuse nuisance in Plaintiff’s Community.

       311. Defendants’ actions also created a qualified nuisance. Defendants acted recklessly,

negligently and/or carelessly, in breach of their duties to maintain effective controls against

diversion, thereby creating an unreasonable risk of harm.

       312. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

       313. The damages available to the Plaintiff include, inter alia, recoupment of

governmental costs, flowing from an ongoing and persistent public nuisance that the government

seeks to abate. Defendants’ conduct is ongoing and persistent, and the Plaintiff seeks all damages

flowing from Defendants’ conduct. Plaintiff further seeks to abate the nuisance and harm created

by Defendants’ conduct.

       314. As a direct result of Defendants’ conduct, the Plaintiff and Plaintiff’s Community

have suffered actual injury and damages including, but not limited to, significant expenses, such

as expenses for police, emergency, health, prosecution, corrections and other services. The

Plaintiff here seeks recovery for its own harm.

       315. The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because their damages include, inter alia, health services, public safety expenditures, and costs

related to opioid addiction treatment and overdose prevention.



                                                  113
       316. The Plaintiff further seeks to abate the nuisance created by the Defendants’

unreasonable, unlawful, intentional, ongoing, continuing and persistent actions and omissions

and interference with a right common to the public.

       317. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

abatement, compensatory damages and punitive damages from the Defendants for the creation of

a public nuisance, attorneys’ fees and costs, and pre- and post-judgment interest.

       318. Defendants’ intentional and unlawful actions and omissions, as well as their

unreasonable interference with a right common to the public are of a continuing nature.

       319. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the Plaintiff’s Community. Defendants

are in the business of manufacturing or distributing prescription drugs, including opioids, which

are specifically known to Defendants to be dangerous because, inter alia, federal and state law

define these drugs as substances posing a high potential for abuse and severe addiction.

Defendants created an absolute and/or intentional nuisance. Defendants’ actions created and

expanded the abuse of opioids, drugs specifically codified as constituting severely harmful

substances.

       320. The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to the community, and the harm inflicted

outweighs any offsetting benefit. The staggering rates of opioid and heroin use resulting from the

Defendants’ abdication of their gate-keeping and diversion prevention duties and the

Manufacturer Defendants’ fraudulent marketing activities have caused harm to the entire

community that includes, but is not limited to, the following:




                                               114
a. The high rates of use have led and continue to lead to unnecessary opioid

   abuse, addiction, overdose, injuries and deaths.

b. Even children have fallen victim to the opioid epidemic. Easy access to

   prescription opioids made opioids a recreational drug of choice among

   teenagers. Even infants have been born addicted to opioids due to prenatal

   exposure, causing severe withdrawal symptoms and lasting developmental

   impacts.

c. Even those residents of Plaintiff’s Community who have never taken opioids

   have suffered from the public nuisance arising from Defendants’ abdication of

   their gate-keeper duties and fraudulent promotions. Many residents have

   endured both the emotional and financial costs of caring for loved ones

   addicted to or injured by opioids and the loss of companionship, wages or

   other support from family members who have used, abused, become addicted

   to, overdosed on or been killed by opioids.

d. The opioid epidemic has increased health care costs.

e. Employers have lost the value of productive and healthy employees.

f. Defendants’ conduct created an abundance of drugs available for criminal use

   and fueled a new wave of addiction, abuse and injury.

g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign

   pushing dangerous drugs resulted in a diverted supply of narcotics to sell and

   the ensuing demand of addicts to buy them. More prescription opioids sold by

   Defendants led to more addiction, with many addicts turning from




                               115
                  prescription opioids to heroin. People addicted to opioids frequently require

                  increasing levels of opioids, and many turned to heroin as a foreseeable result.

               h. The diversion of opioids into the secondary, criminal market and the increased

                  number of individuals who abuse or are addicted to opioids increased the

                  demands on health care services and public safety.

               i. The significant and unreasonable interference with the public rights caused by

                  Defendants’ conduct taxed the human, medical, public health, public safety

                  and financial resources of the Plaintiff’s Community.

               j. Defendants’ interference with the comfortable enjoyment of life in the

                  Plaintiff’s Community is unreasonable because there is little social utility to

                  opioid diversion and abuse, and any potential value is outweighed by the

                  gravity of the harm Defendants’ actions inflicted.

       321. The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because their damages include, inter alia, health services and public safety expenditures, as

described in this Complaint.

       322. Plaintiff seeks economic losses (direct, incidental or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity and fraudulent misrepresentations.

       323. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.




                                               116
                        SECOND CLAIM FOR RELIEF
   RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT 18 U.S.C.
                                § 1961, et seq.
           (Against Defendants Purdue, Cephalon, Janssen, and Endo)
                     (The “Opioid Marketing Enterprise”)

       324. Plaintiff, The County, incorporates by reference all other paragraphs of this

Complaint as if fully set forth herein, and further alleges as follows.

       325. Plaintiff, The County, brings this Count on behalf of itself against the following

Defendants, as defined above: Purdue, Cephalon, Janssen, and Endo (referred to collectively for

this Claim as the “RICO Marketing Defendants”).

       326. At all relevant times, the RICO Marketing Defendants were and are “persons”

under 18 U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or

beneficial interest in property.”

       327. Section 1962(c) of RICO makes it unlawful “for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity.” 18 U.S.C. § 1962(c).

       328. The term “enterprise” is defined as including “any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated

in fact although not a legal entity.” 18 U.S.C. § 1961(4). The definition of “enterprise” in

Section 1961(4) includes legitimate and illegitimate enterprises within its scope. Specifically,

the section “describes two separate categories of associations that come within the purview of

an ‘enterprise’ -- the first encompassing organizations such as corporations, partnerships, and

other ‘legal entities,’ and the second covering ‘any union or group of individuals associated in

fact although not a legal entity.’” United States v. Turkette, 452 U.S. 576, 577 (1981).

       329. Beginning in the early 1990s, the RICO Marketing Defendants aggressively

sought to bolster their revenue, increase profit, and grow their share of the prescription
painkiller market by unlawfully increasing the volume of opioids they sold.            The RICO


                                                 117
Marketing Defendants knew that they could not increase their profits without misrepresenting

that opioids were non-addictive and safe for the long-term treatment of chronic pain.

       330. The generally accepted standards of medical practice prior to the 1990s dictated

that opioids should only be used in short durations to treat acute pain, pain relating to recovery

from surgery, or for cancer or palliative (end-of-life) care. Due to the evidence of addiction and

lack of evidence indicating that opioids improved patients’ ability to overcome pain and

function, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

       331. Knowing that their products were highly addictive, ineffective and unsafe for the

treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO Marketing

Defendants formed an association-in-fact enterprise and engaged in a scheme to unlawfully

increase their profits and sales, and grow their share of the prescription painkiller market,

through repeated and systematic misrepresentations about the safety and efficacy of opioids for

treating long-term chronic pain.

       332. The RICO Marketing Defendants formed an association-in-fact enterprise

consisting of “advocacy groups and professional societies” (“Front Groups”) and paid

“physicians affiliated with these groups” (KOLs”) in order to unlawfully increase the demand

for opioids.   Through their personal relationships, the RICO Marketing Defendants and
members of the Opioid Marketing Enterprise had the opportunity to form and take actions in

furtherance of the Opioid Marketing Enterprise’s common purpose. The RICO Marketing

Defendants’ substantial financial contribution to the Opioid Marketing Enterprise, and the

advancement of opioids-friendly messaging, fueled the U.S. opioids epidemic.142

       333. The RICO Marketing Defendants, through the Opioid Marketing Enterprise, made

misleading statements and misrepresentations about opioids that downplayed the risk of

142
   Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third
Party Advocacy Groups, U.S. Senate Homeland Security & Governmental Affairs Committee,
Ranking Members’ Office, February 12, 2018 https://www.hsdl.org/?abstract&did=808171
(“Fueling an Epidemic”), at 1.

                                               118
addiction and exaggerated the benefits of opioid use, including: (1) downplaying the serious risk

of addiction; (2) creating and promoting the concept of “pseudoaddiction” when signs of actual

addiction began appearing and advocated that the signs of addiction should be treated with more

opioids; (3) exaggerating the effectiveness of screening tools to prevent addiction; (4) claiming

that opioid dependence and withdrawal are easily managed; (5) denying the risks of higher

opioid dosages; and (6) exaggerating the effectiveness of “abuse-deterrent” opioid formulations

to prevent abuse and addiction.

       334. The RICO Marketing Defendants also falsely touted the benefits of long-term

opioid use, including the supposed ability of opioids to improve function and quality of life,

even though there was no scientifically reliable evidence to support the RICO Marketing

Defendants’ claims.

       335. The RICO Marketing Defendants’ scheme, and the common purpose of the Opioid

Marketing Enterprise, has been wildly successful. Opioids are now the most prescribed class of

drugs. Globally, opioid sales generated $11 billion in revenue for drug companies in 2010

alone; sales in the United States have exceeded $8 billion in revenue annually since 2009. 143 In

an open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon General

expressly connected this “urgent health crisis” to “heavy marketing of opioids to doctors . . .

[m]any of [whom] were even taught – incorrectly – that opioids are not addictive when
prescribed for legitimate pain.”144

       336. The scheme devised and implemented by the RICO Marketing Defendants

amounted to a common course of conduct designed to ensure that the RICO Marketing

Defendants unlawfully increased their sales and profits through misrepresentations about the


143
    See Katherine Eban, OxyContin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow,
Drugmakers Hooked on $10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www.
ft.com/content/f6e989a8-5dac-11e6-bb77-a121aa8abd95.
144
    Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/;
Fueling An Epidemic, supra n.3, at 1.

                                               119
addictive nature and effective use of the RICO Marketing Defendants’ drugs. As Senator

McCaskill aptly recognized:
     The opioid epidemic is the direct result of a calculated marketing and sales
     strategy developed in the 90’s, which delivered three simple messages to
     physicians. First, that chronic pain was severely undertreated in the United
     States. Second, that opioids were the best tool to address that pain. And third,
     that opioids could treat pain without risk of serious addiction. As it turns out,
     these messages were exaggerations at best and outright lies at worst.145

                     A. THE OPIOID MARKETING ENTERPRISE

          337. The Opioid Marketing Enterprise consists of the RICO Marketing Defendants, the
Front Groups, and the KOLs – each of whom is identified below:

         The RICO Defendants

             o Purdue

             o Cephalon

             o Janssen

             o Endo

         The Front Groups

             o American Pain Foundation (“APF”)

             o American Academy of Pain Medicine (“AAPM”)

             o American Pain Society (“APS”)

             o Federation of State Medical Boards (“FSMB”)

             o U.S. Pain Foundation (“USPF”)

             o American Geriatrics Society (“AGS”)

         The KOLs

             o Dr. Russell Portenoy (“Dr. Portenoy”)

             o Dr. Lynn Webster (“Dr. Webster”)


145
   See, LIVESTREAM: Insys Opioid Sales and Marketing Practices Roundtable, September 12,
2017, at 31:03-31:37, https://www.youtube.com/watch?v=k9mrQa8_vAo (accessed on March 1,
2018).

                                              120
           o Dr. Perry Fine (“Dr. Fine”)

           o Dr. Scott M. Fishman (“Dr. Fishman”))

       338. The Opioid Marketing Enterprise is an ongoing and continuing business

organization that created and maintained systematic links, interpersonal relationships and

engaged in a pattern of predicate acts (i.e. racketeering activity) in order to further the common

purpose of the enterprise: unlawfully increasing profits and revenues from the continued

prescription and use of opioids for long-term chronic pain. Each of the individuals and entities

who formed the Opioid Marketing Enterprise is an entity or person within the meaning of 18
U.S.C. § 1961(3) and acted to enable the common purpose and fraudulent scheme of the Opioid

Marketing Enterprise.

       339. In order to accomplish the common purpose, members of the Opioid Marketing

Enterprise repeatedly and systematically misrepresented – affirmatively, and through half-truths

and omissions – that opioids are non-addictive and safe for the effective treatment of long-term,

chronic, non-acute and non-cancer pain, and for other off-label uses not approved by the FDA.

The Opioid Marketing Enterprise misrepresented and concealed the serious risks and lack of

corresponding benefits of using opioids for long-term chronic pain.            By making these

misrepresentations, the Opioid Marketing Enterprise ensured that a large number of opioid

prescriptions would be written and filled for chronic pain.

       340. At all relevant times, the Opioid Marketing Enterprise: (a) had an existence

separate and distinct from each RICO Marketing Defendant and its members; (b) was separate

and distinct from the pattern of racketeering in which the RICO Defendants engaged; (c) was an

ongoing and continuing organization consisting of individuals, persons, and legal entities,

including each of the RICO Marketing Defendants; (d) was characterized by interpersonal

relationships between and among each member of the Opioid Marketing Enterprise, including

between the RICO Marketing Defendants and each of the Front Groups and KOLs; (e) had




                                               121
sufficient longevity for the enterprise to pursue its purpose; and (f) functioned as a continuing

unit.

        341. The persons and entities engaged in the Opioid Marketing Enterprise are

systematically linked through contractual relationships, financial ties, personal relationships,

and continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

        342. Each of the RICO Marketing Defendants, and each member of the Opioid

Marketing Enterprise had systematic links to and personal relationships with each other through

joint participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. Each of the RICO Marketing Defendants coordinated

their marketing efforts through the same KOLs and Front Groups, based on their agreement and

understanding that the Front Groups and KOLs were industry friendly and would work together

with the RICO Marketing Defendants to advance the common purpose of the Opioid Marketing

Enterprise.

                        1. The RICO Defendants

        343. In addition to their systematic links to and personal relationships with the Front

Groups and KOLS, described below, the RICO Marketing Defendants had systematic links to

and personal relationships with each other through their participation in lobbying groups, trade

industry organizations, contractual relationships and continuing coordination of activities,
including but not limited to, the Pain Care Forum (“PCF”) and the Healthcare Distribution

Alliance (“HDA”).

        344. The PCF has been described as a coalition of drug makers, trade groups and

dozens of non-profit organizations supported by industry funding. Plaintiffs are informed and

believe that the PCF was created with the stated goal of offering a “setting where multiple

organizations can share information” and “promote and support taking collaborative action

regarding federal pain policy issues.”     Plaintiffs are informed and believe that past APF



                                                122
President Will Rowe described the PCF as “a deliberate effort to positively merge the capacities

of industry, professional associations, and patient organizations.”

       345. The PCF recently became a national news story when it was discovered that

lobbyists for members of the PCF, including the RICO Marketing Defendants, quietly shaped

federal and state policies regarding the use of prescription opioids for more than a decade.

       346. The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national

response to the ongoing wave of prescription opioid abuse.”146 Specifically, PCF members

spent over $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of

issues, including opioid-related measures.147

       347. Not surprisingly, each of the RICO Marketing Defendants who stood to profit

from lobbying in favor of prescription opioid use is a member of and/or participant in the

PCF.148 In 2012, membership and participating organizations in the PCF included the HDA (of

which all the RICO Defendants are members), Endo, Purdue, Johnson & Johnson (the parent

company for Janssen Pharmaceuticals), and Teva (the parent company of Cephalon). 149 Each of

the RICO Marketing Defendants worked together through the PCF to advance the interests of

the Opioid Marketing Enterprise. But, the RICO Marketing Defendants were not alone, many

of the RICO Marketing Defendants’ Front Groups were also members of the PCF, including the
American Academy of Pain Management, the American Pain Foundation, and the American



146
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
Center for Public Integrity (September 19, 2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-shaped-policy-
amid-drug-epidemic (emphasis added).
147
    Id.
148
    PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-
Schedule-amp.pdf (last visited March 8, 2018).
149
    Id. Upon information and belief, Mallinckrodt became an active member of the PCF
sometime after 2012.

                                                123
Pain Society. Upon information and belief, the RICO Marketing Defendants’ KOLs were also

members of and participated in the PCF.

       348. Through the Pain Care Forum, the RICO Marketing Defendants met regularly and

in person to form and take action to further the common purpose of the Opioid Marketing

Enterprise and shape the national response to the ongoing prescription opioid epidemic.

       349. Through the HDA – or Healthcare Distribution Alliance – the RICO Marketing

Defendants “strengthen[ed] . . . alliances”150 and took actions to further the common purpose of

the Opioid Marketing Enterprise.

       350. Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “participate on HDA committees, task

forces and working groups with peers and trading partners,” and “make connections.”151

Clearly, membership in the HDA was an opportunity to create interpersonal and ongoing

organizational relationships and “alliances” between the RICO Marketing Defendants.

       351. The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the RICO Marketing Defendants with the opportunity to work closely together,

confidentially, to develop and further the common purpose and interests of the Opioid

Marketing Enterprise.
       352. The HDA also offered multiple conferences, including annual business and

leadership conferences through which the RICO Marketing Defendants had an opportunity to

“bring together high-level executives, thought leaders and influential managers . . . to hold




150
    Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on
September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
benefits.ashx?la=en (emphasis added).
151
    Id.

                                              124
strategic business discussions on the most pressing industry issues.”152 The HDA and its

conferences were significant opportunities for the RICO Marketing Defendants to interact at the

executive level and form and take actions in furtherance of the common purpose of the Opioid

Marketing Enterprise.     It is clear that the RICO Marketing Defendants embraced this

opportunity by attending and sponsoring these events.153

       353. The systematic contacts and personal relationships developed by the RICO

Marketing Defendants through the PCF and the HDA furthered the common purpose of the

Opioid Marketing Enterprise because it allowed the RICO Marketing Defendants to coordinate

the conduct of the Opioid Marketing Enterprise by, including but not limited to, coordinating

their interaction and development of relationships with the Front Groups and KOLs.

                        2. The Front Groups

       354. Each of the RICO Marketing Defendants had systematic links to and personal

relationships with Front Groups that operated as part of the Opioid Marketing Enterprise to

further the common purpose of unlawfully increasing sales by misrepresenting the non-

addictive and effective use of opioids for the treatment of long-term chronic pain. As recently

reported by the U.S. Senate in “Fueling an Epidemic”:


       The fact that these same manufacturers provided millions of dollars to the groups
       described below suggests, at the very least, a direct link between corporate
       donations and the advancement of opioids-friendly messaging. By aligning
       medical culture with industry goals in this way, many of the groups described in
       this report may have played a significant role in creating the necessary conditions
       for the U.S. opioids epidemic.154


152
    Business and Leadership Conference – Information for Manufacturers, Healthcare
Distribution Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-
leadership-conference/blc-for-manufacturers (last accessed on September 14, 2017).
153
    2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last
accessed on September 14, 2017).
154
    Fueling an Epidemic, at p. 1.

                                              125
         355. “Patient advocacy organizations and professional societies like the Front Groups

'play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.”155 “Even small organizations—

with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’”156

Indeed, as reflected below, the U.S. Senate’s report found that the RICO Marketing Defendants

made nearly $9 million worth of contributions to various Front Groups, including members of

the Opioid Marketing Enterprise.157




155
    Id. at p. 2
156
    Id.
157
    Id. at p. 3.

                                                126
       356. The Front Groups included in the Opioid Marketing Enterprise “have promoted

messages and policies favorable to opioid use while receiving millions of dollars in payments

from opioid manufacturers. Through criticism of government prescribing guidelines,

minimization of opioid addiction risk, and other efforts, ostensibly neutral advocacy



                                             127
organizations have often supported industry interests at the expense of their own

constituencies.158 And, as reflected below, many of the RICO Marketing Defendants’ Front




Groups received the largest contributions:

        357. But, the RICO Marketing Defendants connection with and control over the Front

Groups did not end with financial contributions. Rather, the RICO Marketing Defendants made

substantial contributions to physicians affiliated with the Front Groups totaling more than $1.6

million.159    Moreover, the RICO Marketing Defendants “made substantial payments to
individual group executives, staff members, board members, and advisory board members”

affiliated with the Front Groups subject to the Senate Committee’s study.160




158
    Id. at p. 3.
159
    Id. at p. 3.
160
    Id. at p. 10.

                                              128
       358. As described in more detail below161, the RICO Marketing Defendants “amplified

or issued messages that reinforce industry efforts to promote opioid prescription and use,

including guidelines and policies minimizing the risk of addiction and promoting opioids for

chronic pain.”162 They also “lobbied to change laws directed at curbing opioid use, strongly

criticized landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold

physicians and industry executives responsible for overprescription and misbranding.”163

       359. The systematic contacts and interpersonal relationships of the RICO Marketing




Defendants, and the Front Groups are further described below:

161
    The activities that the Front Groups engaged in, and the misrepresentations that they made, in
furtherance of the common purpose of the Opioid Marketing Enterprise are alleged more fully
below, under the heading “Conduct of the Opioid Marketing Enterprise.”
162
    Id. at 12-15.
163
    Id. at 12.

                                               129
        360. The American Pain Foundation (“APF”) – The American Pain Foundation was the

most prominent member of the RICO Defendants’ Front Groups and was funded almost

exclusively by the RICO Marketing Defendants. Plaintiffs are informed and believe that APF

received more than $10 million in funding from the RICO Marketing Defendants between 2007

and the close of its business in May 2012. The APF had multiple contacts and personal

relationships with the RICO Marketing Defendants through its many publishing and educational

programs, funded and supported by the RICO Marketing Defendants. Plaintiffs are further

informed and believe that between 2009 and 2010, APF received more than eighty percent

(80%) of it operating budget from pharmaceutical industry sources. Including industry grants

for specific projects, APF received about $2.3 million from industry sources out of total income

of about $2.85 million in 2009; its budget for 2010 projected receipts of roughly $2.9 million

from drug companies, out of total income of about $3.5 million. By 2011, upon information and

belief, APF was entirely dependent on incoming grants from Defendants Purdue, Cephalon,

Endo, and others.

        361. On information and belief, APF was often called upon to provide “patient

representatives” for the RICO Marketing Defendants’ promotional activities, including for

Purdue’s “Partners Against Pain” and Janssen’s “Let’s Talk Pain.” APF functioned largely as an

advocate for the interests of the RICO Marketing Defendants, not patients. Indeed, upon
information and belief, as early as 2001, Purdue told APF that the basis of a grant was Purdue’s

desire to “strategically align its investments in nonprofit organizations that share [its] business

interests.”

        362. APF is also credited with creating the PCF in 2004. Plaintiffs are informed and

believe that the PCF was created with the stated goal of offering a “setting where multiple

organizations can share information” and “promote and support taking collaborative action

regarding federal pain policy issues.”     Plaintiffs are informed and believe that past APF

President Will Rowe described the PCF as “a deliberate effort to positively merge the capacities
of industry, professional associations, and patient organizations.”

                                                130
       363. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APF to

pursue. APF then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as a result of these

communications.

       364. Furthermore, APF’s Board of Directors was largely comprised of doctors who

were on Defendants’ payrolls, either as consultants or speakers at medical events.     164
                                                                                             As

described below, many of the KOLs involved in the Opioid Marketing Enterprise also served in

leadership positions within the APF.

       365. In December 2011, a ProPublica investigation found that in 2010, nearly 90% of

APF’s funding came from the drug and medical device community, including RICO Marketing

Defendants.165 More specifically, APF received approximately $2.3 million from industry

sources out of total income of $2.85 million in 2009. Its budget for 2010 projected receipt of

approximately $2.9 million from drug companies, out of total income of approximately $3.5

million.   In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. Within days of being targeted by the Senate investigation, APF’s Board

voted to dissolve the organization “due to irreparable economic circumstances.” APF “cease[d]
to exist, effective immediately.”166


164
    Charles Ornstein and Tracy Weber, The Champion of Painkillers, ProPublica (Dec. 23, 2011),
https://www.propublica.org/article/the-champion-of-painkillers.
165
    Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of painkiller
drugs, probe finds, Wash. Post (Dec. 23, 2011),
https://www.washingtonpost.com/national/healthscience/patient-advocacy-group-funded-by-
success-of-painkiller-drugs-probefinds/2011/12/20/gIQAgvczDP_story. html?utm_term=.
22049984c606.
166
    Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain
Groups, Wash. Post, May 8, 2012, https://www.washingtonpost.com/national/health-
science/senate-panel-investigates-drug-companies-ties-to-pain-
groups/2012/05/08/gIQA2X4qBU_story.html.

                                              131
       366. The American Academy of Pain Medicine (“AAPM”) – The AAPM was another

Front Group that had systematic ties and personal relationships with the RICO Defendants.

AAPM received over $2.2 million in funding since 2009 from opioid manufacturers. AAPM

maintained a corporate relations council, whose members paid $25,000 per year (on top of other

funding) to participate.   The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allowed drug company executives and marketing staff to meet

with AAPM executive committee members in small settings. The RICO Marketing Defendants

were all members of the council and presented deceptive programs to doctors who attended this

annual event.167

       367. The RICO Marketing Defendants internally viewed AAPM as “industry friendly,”

with RICO Defendants’ advisors and speakers among its active members. The RICO Marketing

Defendants attended AAPM conferences, funded its CMEs and satellite symposia, and

distributed its publications.   AAPM conferences heavily emphasized sessions on opioids.

AAPM presidents have included top industry-supported KOLs like Perry Fine and Lynn

Webster.
       368. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for AAPM to

pursue. AAPM then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as a result of these

communications.




167
   The American Academy of Pain Medicine, Pain Medicine DC The Governing Voices of Pain:
Medicine, Science, and Government, March 24-27, 2011, http://www.painmed.org/files/2011-
annual-meeting-program-book.pdf.

                                             132
       369. Plaintiffs are informed and believe that members of AAPM’s Board of Directors

were doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or

speakers at medical events. As described below, many of the KOLs involved in the Opioid

Marketing Enterprise also served in leadership positions within the AAPM.

       370. The American Pain Society (“APS”) – The APS was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants.

APS was one of the Front Groups investigated by Senators Grassley and Baucus, as evidenced

by their May 8, 2012 letter arising out of their investigation of “extensive ties between

companies that manufacture and market opioids and non-profit organizations” that “helped

created a body of dubious information favoring opioids.”168

       371. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APS to

pursue. APS then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as a result of these

communications.

       372. Plaintiffs are informed and believe that members of APS’s Board of Directors

were doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or

speakers at medical events. As described below, many of the KOLs involved in the Opioid
Marketing Enterprise also served in leadership positions within the APS.

       373. The Federation of State Medical Boards (“FSMB”) – FSMB was another Front

Group with systematic connections and interpersonal relationships with the RICO Marketing

Defendants. In addition to the contributions reported in Fueling an Epidemic, a June 8, 2012

letter submitted by FSMB to the Senate Finance Committee disclosed substantial payments



168
   Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood,
Executive Director (May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%
20Opioid%20Investigation%20Letter%20to%20American %20Pain%20Society.pdf.

                                              133
from the RICO Marketing Defendants beginning in 1997 and continuing through 2012. 169 Not

surprisingly, the FSMB was another one of the Front Groups investigated by Senators Grassley

and Baucus, as evidenced by their May 8, 2012 letter arising out of their investigation of

“extensive ties between companies that manufacture and market opioids and non-profit

organizations” that “helped created a body of dubious information favoring opioids.”170

       374. The U.S. Pain Foundation (“USPF”) – The USPF was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants.

The USPF was one of the largest recipients of contributions from the RICO Marketing

Defendants, collection nearly $3 million in payments between 2012 and 2015 alone. 171 The

USPF was also a critical component of the Opioid Marketing Enterprise’s lobbying efforts to

reduce the limits on over-prescription. The U.S. Pain Foundation advertises its ties to the RICO

Marketing Defendants, listing opioid manufacturers like Pfizer, Teva, Depomed, Endo, Purdue,

McNeil (i.e. Janssen), and Mallinckrodt as “Platinum,” “Gold,” and “Basic” corporate

members.172 Industry Front Groups like the American Academy of Pain Management, the

American Academy of Pain Medicine, the American Pain Society, and PhRMA are also

members of varying levels in the USPF.

       375. American Geriatrics Society (“AGS”) – The AGS was another Front Group with

systematic connections and interpersonal relationships with the RICO Defendants. The AGS
was a large recipient of contributions from the RICO Marketing Defendants, including Endo,

Purdue and Janssen. AGS contracted with the RICO Marketing Defendants to disseminate


169
    June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators Max Baucus
and Charles Grassley.
170
    Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood,
Executive Director (May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%
20Opioid%20Investigation%20Letter%20to%20American %20Pain%20Society.pdf.
171
    Fueling an Epidemic, at p. 4.
172
    Id. at 12; Transparency, U.S. Pain Foundation, https://uspainfoundation.org/transparency/
(last accessed on March 9, 2018).

                                              134
guidelines regarding the use of opioids for chronic pain in 2002 (The Management of Persistent

Pain in Older Persons, hereinafter “2002 AGS Guidelines”) and 2009 (Pharmacological

Management of Persistent Pain in Older Persons,173 hereinafter “2009 AGS Guidelines”).

According to news reports, AGS has received at least $344,000 in funding from opioid

manufacturers since 2009.174      AGS’s complicity in the common purpose of the Opioid

Marketing Enterprise is evidenced by the fact that AGS internal discussions in August 2009

reveal that it did not want to receive-up front funding from drug companies, which would

suggest drug company influence, but would instead accept commercial support to disseminate

pro-opioid publications.

       376. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities, lobbying efforts and

publications for AGS to pursue. AGS then submitted grant proposals seeking to fund these

activities and publications, knowing that drug companies would support projects conceived as a

result of these communications.

       377. Plaintiffs are informed and believe that members of AGS Board of Directors were

doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or

speakers at medical events. As described below, many of the KOLs involved in the Opioid

Marketing Enterprise also served in leadership positions within the AGS.
       378. There was regular communication between each of the RICO Marketing

Defendants, Front Groups and KOLs, in which information was shared, misrepresentations were

coordinated, and payments were exchanged. Typically, the coordination, communication and

payment occurred, and continues to occur, through the use of the wires and mail in which the


173
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics
Soc’y 1331, 1339, 1342 (2009), available at
https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).
174
    John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, Milwaukee J.
Sentinel, May 30, 2012.

                                              135
RICO Markets Defendants, Front Groups, and KOLs share information necessary to overcome

objections and resistance to the use of opioids for chronic pain.             The RICO Marketing

Defendants, Front Groups and KOLs functioned as a continuing unit for the purpose of

implementing the Opioid Marketing Enterprise’s scheme and common purpose, and each agreed

to take actions to hide the scheme and continue its existence.

       379. At all relevant times, the Front Groups were aware of the RICO Marketing

Defendants’ conduct, were knowing and willing participants in that conduct, and reaped

benefits from that conduct. Each Front Group also knew, but did not disclose, that the other

Front Groups were engaged in the same scheme, to the detriment of consumers, prescribers, and

The County. But for the Opioid Marketing Enterprise’s unlawful fraud, the Front Groups would

have had incentive to disclose the deceit by the RICO Marketing Defendants and the Opioid

Marketing Enterprise to their members and constituents. By failing to disclose this information,

Front Groups perpetuated the Opioid Marketing Enterprise’s scheme and common purpose, and

reaped substantial benefits.

                        3. The KOLs

       380. Similarly, each of the RICO Marketing Defendants financed, supported, utilized

and relied on the same KOLs by paying, financing, supporting, managing, directing, or

overseeing, and/or relying on their work. On Information and belief, the RICO Marketing
Defendants cultivated this small circle of doctors solely because they favored the aggressive

treatment of chronic pain with opioids.

       381. The RICO Marketing Defendants and the Opioid Marketing Enterprise relied on

their KOLs to serve as part of their speakers bureaus and to attend programs with speakers

bureaus. The RICO Marketing Defendants graded their KOLs on performance, post-program

sales, and product usage. Furthermore, the RICO Marketing Defendants expected their KOLs

to stay “on message,” and obtained agreements from them, in writing, that “all slides must be
presented in their entirety and without alterations . . . and in sequence.”

                                                 136
       382. The RICO Marketing Defendants’ KOLs have been at the center of the Opioid

Marketing Enterprise’s marketing efforts, presenting the false appearance of unbiased and

reliable medical research supporting the broad use of opioid therapy for chronic pain. As

described in more detail below, the KOLs have written, consulted, edited, and lent their names

to books and articles, and given speeches, and CMEs supporting chronic opioid therapy. They

have served on committees that developed treatment guidelines that strongly encourage the use

of opioids to treat chronic pain (even while acknowledging the lack of evidence in support of

that position) and on the boards of the pro-opioid Front Groups identified above.

       383. The RICO Marketing Defendants and KOLS all had systematic connections and

interpersonal relationships, as described below, through the KOLs receipt of payments from the

RICO Marketing Defendants and Front Groups, the KOLs’ authoring, publishing, speaking, and

educating on behalf of the RICO Marketing Defendants, and their leadership roles and

participation in the activities of the Front Groups, which were in turn financed by the RICO

Marketing Defendants.

       384. The systematic contacts and interpersonal relationships of the KOLs with the

RICO Marketing Defendants and Front Groups are described below:

       385. Dr. Russell Portenoy – Dr. Portenoy was one of the main KOLs that the RICO

Marketing Defendants identified and promoted to further the common purpose of the Opioid
Marketing Enterprise. Dr. Portenoy received research support, consulting fees, and honoraria

from the RICO Defendants, and was a paid consultant to various RICO Marketing Defendants.

Dr. Portenoy was instrumental in opening the door for the regular use of opioids to treat chronic

pain. Dr. Portenoy is credited as one of the authors on a primary pillar of the RICO Marketing

Defendants’ misrepresentation regarding the risks and benefits of opioid use.175 Dr. Portenoy


175
   In 1986, the medical journal Pain, which would eventually become the official journal of the
American Pain Society (“APS”), published an article by Portenoy and Foley summarizing the
results of a “study” of 38 chronic non-cancer pain patients who had been treated with opioid
painkillers. Portenoy and Foley concluded that, for non-cancer pain, opioids “can be safely and
effectively prescribed to selected patients with relatively little risk of producing the maladaptive
                                                137
had financial relationships with at least a dozen pharmaceutical companies, most of which

produced prescription opioids.176

       386. In exchange for the payments he received from the RICO Marketing Defendants,

Dr. Portenoy is credited as one of the authors on a primary pillar of the RICO Marketing

Defendants’ misrepresentation regarding the risks and benefits of opioids.177 Dr. Portenoy,

published, spoke, consulted, appeared in advertisements and on television broadcasts, and

traveled the country to travel the country to promote more liberal prescribing for many types of

pain and conduct continuing medical education (“CME”) seminars sponsored by the RICO

Marketing Defendants and Front Groups.

       387. Dr. Portenoy was also a critical component of the RICO Marketing Defendants’

control over their Front Groups, and the Front Groups support of the Opioid Marketing

behaviors which define opioid abuse.” However, their study was neither scientific nor did it meet
the rigorous standards commonly used to evaluate the validity and strength of such studies in the
medical community. For instance, there was no placebo control group, and the results were
retroactive (asking patients to describe prior experiences with opioid treatment rather than less
biased, in-the-moment reports). The authors themselves advised caution, stating that the drugs
should be used as an “alternative therapy” and recognizing that longer term studies of patients on
opioids would have to be performed. None were. See Russell K. Portenoy & Kathleen M. Foley,
Chronic use of opioid analgesics in non-malignant pain: report of 38 cases, 25(2) Pain 171-86
(May 1986).
176
    Anna Lembke, Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why
It’s So Hard to Stop, (Johns Hopkins University Press 2016), at 59 (citing Barry Meier, Pain
Killer: A “Wonder” Drug’s Trail of Addiction and Death (St. Martin’s Press, 1st Ed 2003).
177
    In 1986, the medical journal Pain, which would eventually become the official journal of the
American Pain Society (“APS”), published an article by Portenoy and Foley summarizing the
results of a “study” of 38 chronic non-cancer pain patients who had been treated with opioid
painkillers. Portenoy and Foley concluded that, for non-cancer pain, opioids “can be safely and
effectively prescribed to selected patients with relatively little risk of producing the maladaptive
behaviors which define opioid abuse.” However, their study was neither scientific nor did it meet
the rigorous standards commonly used to evaluate the validity and strength of such studies in the
medical community. For instance, there was no placebo control group, and the results were
retroactive (asking patients to describe prior experiences with opioid treatment rather than less
biased, in-the-moment reports). The authors themselves advised caution, stating that the drugs
should be used as an “alternative therapy” and recognizing that longer term studies of patients on
opioids would have to be performed. None were. See Russell K. Portenoy & Kathleen M. Foley,
Chronic use of opioid analgesics in non-malignant pain: report of 38 cases, 25(2) Pain 171-86
(May 1986).

                                                138
Enterprise’s common purpose. Specifically, Dr. Portenoy sat as a Director on the board of the

APF. He was also the President of the APS.

       388. In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

Dr. Portenoy admitted that his earlier work relied on evidence that was not “real” and left real

evidence behind, all in furtherance of the Opioid Marketing Enterprise’s common purpose:
       I gave so many lectures to primary care audiences in which the Porter and Jick
       article was just one piece of data that I would then cite, and I would cite six,
       seven, maybe ten different avenues of thought or avenues of evidence, none of
       which represented real evidence, and yet what I was trying to do was to create a
       narrative so that the primary care audience would look at this information in
       [total] and feel more comfortable about opioids in a way they hadn’t before. In
       essence this was education to destigmatize [opioids], and because the primary
       goal was to destigmatize, we often left evidence behind.178

       389. Dr. Lynn Webster – Dr. Webster was a critical component of the Opioid

Marketing Enterprise, including advocating the RICO Marketing Defendants’ fraudulent

messages regarding prescription opioids and had systematic contacts and personal relationships

with the RICO Marketing Defendants and the Front Groups.

       390. Dr. Webster was the co-founder and Chief Medical Director of an otherwise

unknown pain clinic in Salt Lake City, Utah (Lifetree Pain Clinic), who went on to become one

of the RICO Marketing Defendants’ main KOLs. Dr. Webster was the President of American

Academy of Pain Medicine (“AAPM”) in 2013. He is a Senior Editor of Pain Medicine, the

same journal that published Endo special advertising supplements touting Opana ER. Dr.
Webster was the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the

same time, Dr. Webster was receiving significant funding from the RICO Marketing Defendants

(including nearly $2 million from Cephalon alone).

       391. During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided

his clinic in 2010. Although the investigation was closed without charges in 2014, more than

178
   Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct. 30,
2011), https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.

                                              139
twenty (20) of Dr. Webster’s former patients at the Lifetree Clinic have died of opioid

overdoses.

       392. Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

minute screening tool relying on patient self-reports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-

sort patients likely to become addicted is an important tool in giving doctors confidence to

prescribe opioids long-term, and, for this reason, references to screening appear in various

industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are

linked to, websites run by Endo, Janssen, and Purdue.

       393. Dr. Webster is also credited as one of the leading proponents of “pseudoaddiction”

that the RICO Marketing Defendants, Front Groups and KOLs disseminated as part of the

common purpose of the Opioid Marketing Enterprise.

       394. Plaintiff The County is informed and believes that in exchange for the payments

he received from the RICO Marketing Defendants, Dr. Webster published, spoke, consulted,

appeared in advertisements and on television broadcasts, and traveled the country to promote

more liberal prescribing of opioids for many types of pain and conduct CME seminars

sponsored by the RICO Marketing Defendants and Front Groups.

       395. Like Dr. Portenoy, Dr. Webster later reversed his opinion and disavowed his
previous work on and opinions regarding pseudoaddiction.             Specifically, Dr. Webster

acknowledged that “[pseudoaddiction] obviously became too much of an excuse to give patients

more medication.”179

       396. Dr. Perry Fine – Dr. Webster was a critical component of the Opioid Marketing

Enterprise, including advocating the RICO Marketing Defendants’ fraudulent messages




179
   John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18,
2012, http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
networking-dp3p2rn-139609053.html.

                                               140
regarding prescription opioids and had systematic contacts and personal relationships with the

RICO Marketing Defendants and the Front Groups.

       397. Dr. Fine was originally a doctor practicing in Utah, who received support from the

RICO Marketing Defendants, including Janssen, Cephalon, Endo, and Purdue. Dr. Fine’s ties

to the RICO Marketing Defendants have been well documented.180 He has authored articles and

testified in court cases and before state and federal committees, and he served as president of the

AAPM, and argued against legislation restricting high-dose opioid prescription for non-cancer

patients. Multiple videos featured Fine delivering educational talks about prescription opioids.

He even testified in a trial that the 1,500 pills a month prescribed to celebrity Anna Nicole

Smith for pain did not make her an addict before her death.181 He has also acknowledged having

failed to disclose numerous conflicts of interest.

       398. Dr. Fine was also a critical component of the RICO Marketing Defendants’

control over their Front Groups, and the Front Groups support of the Opioid Marketing

Enterprise’s common purpose. Specifically, Dr. Fine served on the Board of Directors of APF

and served as the President of the AAPM in 2011.

       399. Plaintiff The County is informed and believes that in exchange for the payments

he received from the RICO Marketing Defendants, Dr. Fine published, spoke, consulted,

appeared in advertisements and on television broadcasts, and traveled the country to promote
more liberal prescribing of opioids for many types of pain and conduct CME seminars

sponsored by the RICO Marketing Defendants and Front Groups.

       400. Dr. Scott M. Fishman – Dr. Fishman was a critical component of the Opioid

Marketing Enterprise, including advocating the RICO Marketing Defendants’ fraudulent


180
    Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug
Industry, ProPublica (Dec. 23, 2011, 2:14 PM), https://www.propublica.org/article/two-leaders-
in-pain-treatment-have-long-ties-to-drug-industry
181
    Linda Deutsch, Doctor: 1,500 pills don’t prove Smith was addicted, Seattle Times (Sept. 22,
2010, 5:16 PM), http://www.seattletimes.com/entertainment/doctor-1500-pills-dont-prove-
smithwas-addicted/.

                                                141
messages regarding prescription opioids and had systematic contacts and personal relationships

with the RICO Marketing Defendants and the Front Groups.

       401. Although Dr. Fishman did not receive direct financial payments from the RICO

Marketing Defendants, his ties to the opioid drug industry are legion.182

       402. As Dr. Fishman’s personal biography indicates, he is critical component of the

RICO Marketing Defendants’ control over their Front Groups, and the Front Groups support of

the Opioid Marketing Enterprise’s common purpose.             Specifically, Dr. Fishman is an

“internationally recognized expert on pain and pain management” who has served in “numerous

leadership roles with the goal to alleviate pain.”183 Dr. Fishman’s roles in the pain industry

include “past president of the American Academy of Pain Medicine [AAPM], past chairman of

the board of directors of the American Pain Foundation [APF], and past board member of the

American Pain Society [APS].”184 Dr. Fishman is also “the immediate past chair and current

member of the Pain Care Coalition of the American Society of Anesthesiologists, American

Pain Society, and Academy of Pain Medicine.”185 Dr. Fishman’s leadership positions within the

central core of the RICO Marketing Defendants’ Front Groups was a direct result of his

participation in the Opioid Marketing Enterprise and agreement to cooperate with the RICO

Marketing Defendants’ pattern of racketeering activity.

       403. Plaintiff The County is informed and believes that in exchange for the payments
he received from the RICO Marketing Defendants, Dr. Fishman published, spoke, consulted,

appeared in advertisements and on television broadcasts, and traveled the country to promote

more liberal prescribing of opioids for many types of pain and conduct CME seminars

sponsored by the RICO Marketing Defendants and Front Groups.


182
    Scott M. Fishman, M.D., Professor, U.C. Davis Health, Center for Advancing Pain Relief,
https://www.ucdmc.ucdavis.edu/advancingpainrelief/our_team/Scott_Fishman.html (accessed on
February 28, 2018).
183
    Id.
184
    Id.
185
    Id.

                                               142
       404. There was regular communication between each of the RICO Marketing

Defendants, Front Groups and KOLs, in which information was shared, misrepresentations are

coordinated, and payments were exchanged. Typically, the coordination, communication and

payment occurred, and continues to occur, through the use of the wires and mail in which the

RICO Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

objections and resistance to the use of opioids for chronic pain.         The RICO Marketing

Defendants, Front Groups and KOLs functioned as a continuing unit for the purpose of

implementing the Opioid Marketing Enterprise’s scheme and common purpose, and each agreed

to take actions to hide the scheme and continue its existence.

       405. At all relevant times, the KOLs were aware of the RICO Marketing Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct. The RICO Marketing Defendants selected KOLs solely because they favored the

aggressive treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

helped the KOLs become respected industry experts. And, as they rose to prominence, the

KOLs falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO

Marketing Defendants by advancing their marketing goals. The KOLs also knew, but did not

disclose, that the other KOLS and Front Groups were engaged in the same scheme, to the

detriment of consumers, prescribers, and The County.             But for the Opioid Marketing
Enterprise’s unlawful conduct, the KOLs would have had incentive to disclose the deceit by the

RICO Marketing Defendants and the Opioid Marketing Enterprise, and to protect their patients

and the patients of other physicians. By failing to disclose this information, KOLs furthered the

Opioid Marketing Enterprise’s scheme and common purpose, and reaped substantial benefits.

       406. As public scrutiny and media coverage focused on how opioids ravaged

communities throughout the United States, the Front Groups and KOLS did not challenge the

RICO    Marketing     Defendants’    misrepresentations,    seek   to   correct   their   previous

misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose



                                               143
publicly that the risks of using opioids for chronic pain outweighed their benefits and were not

supported by medically acceptable evidence.

          407. The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

discrete categories of activities in furtherance of the common purpose of the Opioid Marketing

Enterprise. As reported in Fueling an Epidemic, the Opioid Marketing Enterprise’s conduct in

furtherance of the common purpose of the Opioid Marketing Enterprise involved: (1)

misrepresentations regarding the risk of addiction and safe use of prescription opioids for long-

term chronic pain; (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to

criticize or undermine CDC guidelines; and (4) efforts to limit prescriber accountability. The

misrepresentations made in these publications are described in the following section.

          408. Efforts to Minimize the Risk of Addiction and Promote Opioid Use As Safe for

Long-Term Treatment of Chronic Pain – Members of the Opioid Marketing Enterprise furthered

the common purpose of the enterprise by publishing and disseminating statements that

minimized the risk of addiction and misrepresented the safety of using prescription opioids for

long-term treatment of chronic, non-acute, and non-cancer pain.              The categories of

misrepresentations made by the Opioid Marketing Enterprise and the RICO Defendants

included the following:186

         The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the
          American Academy of Pain Medicine and the American Pain Society, 13 Clinical J. Pain

          6 (1997). The “landmark consensus” was published by the AAPM and APS. Dr.

          Portenoy was the sole consultant. A member of Purdue’s speaker bureau authored the

          consensus.




186
  As noted below, the earliest misrepresentations disseminated by the RICO Defendants and the
Opioid Marketing Enterprise began in 1997 and has continued unabated since that time.
Therefore, this list is alleged as fully and completely as possible.

                                               144
         Model Guidelines for the Use of Controlled Substances for the Treatment of Pain (1998,

          2004, 2007).187 These guidelines, originally published by the FSMB in collaboration

          with   RICO Defendants,       advocated that opioids     were “essential” and that

          “misunderstanding of addiction” contributed to undertreated pain.

         Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health,

          Education, Labor and Pensions, Testimony by John D. Giglio, M.A., J.D., Executive

          Direction of the APF (2002.)188

         The Management of Persistent Pain in Older Persons (2002). These guidelines were

          published by AGS with substantial funding from Endo, Purdue and Janssen.

         Overview of Management Options (2003, 2007, 2010, and 2013).189 This CME was

          edited by Dr. Portenoy, sponsored by Purdue, and published by the American Medical

          Association. It taught that opioids, unlike non-prescription pain medication are safe at

          high doses.

         Understanding Your Pain: Taking Oral Opioid Analgesics (2004).190          This article,

          published by Endo Pharmaceuticals advocated that withdrawal and needing to take

          higher dosages are not signs of addiction.




187
    Model Policy for the Use of Controlled Substances for the Treatment of Pain, Federation of
State Medical Boards of the United States, May 2004,
https://www.ihs.gov/painmanagement/includes/themes/newihstheme/display_objects/documents/
modelpolicytreatmentpain.pdf (last accessed on March 9, 2018).
188
    Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education,
Labor and Pensions, Testimony by John D. Giglio, M.A., J.D., Executive Direction of the APF
(2002.)
189
    Portenoy, et al., Overview of Management Options, https://cme.ama-
assn.org/activity/1296783/detail.aspx. On information and belief, this CME was published by
the American Medical Association in 2003, 2007, 2010, and 2013.
190
    Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid
Analgesics, Endo Pharmaceuticals (2004),
https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-taking-oral-
opioid-analgesics (last accessed March 8, 2018).

                                                 145
         Interview by Paula Moyer with Scott M. Fishman, M.D. (2005). Dr. Fishman advocated

          that “the risks of addiction are . . . small and can be managed.”191

         Open-label study of fentanyl effervescent buccal tablets in patients with chronic pain

          and breakthrough pain: interim safety and tolerability results (2006).192 Dr. Webster

          gave this CME, sponsored by Cephalon, that misrepresented that opioids were safe for

          the treatment of non-cancer pain.

         Treatment Options: A Guide for People Living With Pain (2007). This document was

          published by the APF and sponsored by Cephalon and Purdue.193

         Responsible Opioid Prescribing: A Physician’s Guide (2007).194 This book, authored by

          Dr. Fishman was financed by the FSMB with funding from Cephalon, Endo and Purdue.

         Avoiding Opioid Abuse While Managing Pain (2007).195 This book, co-authored by Dr.

          Webster, misrepresented that for prescribers facing signs of aberrant behavior,

          increasing the dose in “most cases . . . should be a clinician’s first response.”

         Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF

          (2008).196 This screening tool was published by the National Institutes of Health with

191
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and
Pain Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.org/viewarticle/500829.
192
    Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl effervescent
buccal tablets in patients with chronic pain and breakthrough pain: interim safety and tolerability
results. Program and abstracts of the annual meeting of the American Academy of Pain
Medicine; February 22-25, 2006; San Diego, California. Abstract 120. Published with
permission of Lynn R. Webster, MD, https://www.medscape.org/viewarticle/524538_2 (accessed
on March 6, 2018).
193
    Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter
APF, Treatment Options], https://assets.documentcloud.org/documents/277605/apf-
treatmentoptions.pdf (last accessed on March 8, 2018).
194
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life
Sciences 2007).
195
    Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
196
    Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF,
PainEdu.org, 2008, https://www.nhms.org/sites/default/files/Pdfs/SOAPP-5.pdf (last accessed on
March 8, 2018).

                                                   146
          support from Endo through an educational grant, and advocated that most patients are

          able to successfully remain on long-term opioid therapy without significant problems.

         Case Challenges in Pain Management: Opioid Therapy for Chronic Pain (2007).197

          This article, sponsored by Endo, misrepresented that opioids are a highly effective class

          of analgesic drugs.

         Opioid-Based Management of Persistent and Breakthrough Pain (2008).198              This

          document was written by Dr. Fine and sponsored by an educational grant from

          Cephalon. Dr. Fine advocated for the prescription of rapid onset opioids “in patients

          with non-cancer pain.”

         Optimizing Opioid Treatment for Breakthrough Pain (2008).199 Dr. Webster presented

          an online seminar (webinar) sponsored by Cephalon, that misrepresented that non-opioid

          analgesics and combination opioids containing non-opioids are less effective because of

          dose limitations.

         Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain

          (2009).200 These guidelines were published by AAPM and APS. Fourteen of the

          twenty-one panel members, including Dr. Portenoy and Dr. Fine, received support from

          the RICO Defendants.

         Pharmacological Management of Persistent Pain in Older Persons (2009).201 These
          guidelines were published by AGS, with substantial funding from Endo, Purdue, and

197
    Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain,
Pain Med. News, https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf (last
visited on March 8, 2018).
198
    Perry G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain,
Pain Medicine News, https://www.yumpu.com/en/document/view/11409251/opioid-based-
management-of-persistent-and-breakthrough-pain (accessed on February 27, 2018).
199
    Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).
200
    Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic
Non-Cancer Pain, 10 J. Pain 113 (2009).
201
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics
Soc’y 1331, 1339, 1342 (2009), available at
                                                 147
       Janssen, updated the 2002 guidelines and misrepresented that the risks of addiction are

       exceedingly low.

      Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A

       Survival Guide to Pain Management for Returning Veterans and Their Families,202

       American Pain Foundation, 2009. This article was published in 2009 and sponsored by

       Purdue.

      Finding Relief: Pain Management for Older Adults, (2009).203         This article was a

       collaboration between the American Geriatrics Society, AAPM and Janssen.

      Good Morning America (2010). Dr. Portenoy appeared on Good Morning America and

       stated that “Addiction, when treating pain, is distinctly uncommon.”204

      A Policymaker’s Guide to Understanding Pain & Its Management, American Pain

       Foundation (2011).205 APF published this document, that was sponsored by Purdue,

       which argued that the notion of strong pain leading to addiction is a common

       misconception.

      Managing Patient’s Opioid Use: Balancing the Need and the Risk (2011).206           Dr.

       Webster presented a webinar, sponsored by Purdue, that misrepresented the ability to


https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).
202
    Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A
Survival Guide to Pain Management for Returning Veterans and Their Families, Coalition for
Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/2009/10/iraq-
war-veteran-amputee-pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-
pain-management-for-returning-veterans-and-their-families (last visited March 1, 2018)
203
    Finding Relief, Pain Management for Older Adults, (2009).
204
    Good Morning America (ABC television broadcast Aug. 30, 2010).
205
    A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation
(2011) at
5, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited
March 6, 2018).
206
    See, Managing Patient’s Opioid Use: Balancing the Need and the Risk, Emerging Solutions
in Pain http://www.emergingsolutionsinpain.com/ce-education/opioid-
                                              148
       use risk screen tools, urine samples and patient agreements to prevent overuse and

       overdose death.

      Safe and Effective Opioid Rotation (2012).207 This CME, delivered by Dr. Fine, that is

       also available online, advocated for the safe and non-addictive use of opioids to treat

       cancer and non-cancer patients over a person’s “lifetime.”

      Pain: Opioid Facts (2012).208 This document was published online on Endo’s website

       painknowledge.org and advocated for the use of opioids and downplayed the risk of

       addiction, even for people with a history of addiction and opioid use, and supported the

       concept of pseudoaddiction.

       409. Efforts to Criticize or Undermine CDC Guidelines – Members of the Opioid

Marketing Enterprise criticized or undermined the CDC Guidelines which represented “an

important step – and perhaps the first major step from the federal government – toward limiting

opioid prescriptions for chronic pain.” The following are examples of the actions taken by

Opioid Marketing Enterprise members to prevent restriction on over-prescription:

      Several Front Groups, including the U.S. Pain Foundation, and the AAPM criticized the

       draft guidelines in 2015, arguing that the “CDC slides presented on Wednesday were not

       transparent relative to process and failed to disclose the names, affiliation, and conflicts

       of interest of the individuals who participated in the construction of these guidelines.”209
      The AAPM criticized the prescribing guidelines in 2016, through its immediate past

       president, stating “that the CDC guideline makes disproportionately strong

management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited
Aug. 22, 2017).
207
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
208
    Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patie
nt%20Education%20b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
209
    Pat Anson, Chronic Pain Group Blasts CDC for Opioid Guidelines, Pain News Networks,
https://www.painnewsnetwork.org/stories/2015/9/22/chronic-pain-groups-blast-cdc-for-opioid-
guidelines (last accessed on March 8, 2018).

                                               149
          recommendations based upon a narrowly selected portion of the available clinical

          evidence.”210

          410. In each of the actions performed by members of the Opioid Marketing Enterprise,

described above, the members of the Opioid Marketing Enterprise made branded and unbranded

marketing claims about prescription opioids that misrepresented prescription opioids as non-

addictive and safe for use as identified in following section.

                          4. Members of the Opioid Marketing Enterprise Furthered
                          the Common Purpose by Making Misrepresentations.

          411. The RICO Marketing Defendants, Front Groups and KOLs participated in the

conduct of the Opioid Marketing Enterprise and shared in the common purpose of marketing

opioids for chronic pain through a pattern of racketeering activity (including multiple instances

of mail and wire fraud) by knowingly making material misrepresentations or omissions to Utah

prescribers, consumers, the general public, regulators and The County.              All of the

misrepresentations made by members of the Opioid Marketing Enterprise furthered the common

purpose of the Enterprise.

          412. Members of the Opioid Marketing Enterprise, including the RICO Marketing

Defendants, Front Groups and KOLs made multiple unbranded marketing misrepresentations

about the benefits and risks of opioid use, in furtherance of the Opioid Marketing Enterprise’s

common purpose, as follows:

          413. Members of the Opioid Marketing Enterprise minimized the risks of addiction

and/or construed opioids as non-addictive:

         AAMP and APS endorsed the use of opioids to treat chronic pain and claimed that the

          risk of a patients’ addiction to opioids was low.211



210
    Practical Pain Management, Responses and Criticisms Over New CDC Opioid Prescribing
Guidelines (https://www.practicalpainmanagement.com/resources/news-and-research/responses-
criticisms-over-new-cdc-opioid-prescribing-guidelines) (accessed Sept. 28, 2017).

                                                  150
         “[O]pioids are safe and effective, and only in rare cases lead to addiction.”212

         “[T]he risks of addiction are . . . small and can be managed.”213




         Represented that calling opioids “‘narcotics’ reinforces myths and misunderstandings as

          it places emphasis on their potential abuse rather than on the importance of their use as

          pain medicines.”214




         “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

          history, a personal history, of substance abuse, and does not have a history in the family



211
    The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the
American Academy of Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6
(1997).
212
    Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education,
Labor and Pensions, 107th Cong. 2 (Feb. 12, 2002) (testimony of John D. Giglio, M.A., J.D.,
Executive Director, American Pain Foundation),
https://www.help.senate.gov/imo/media/doc/Giglio.pdf.
213
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and
Pain Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.org/viewarticle/500829.
214
    APF, Treatment Options, https://assets.documentcloud.org/documents/277605/apf-
treatmentoptions.pdf (last accessed on March 8, 2018).

                                                  151
          of substance abuse, and does not have a very major psychiatric disorder, most doctors

          can feel very assured that that person is not going to become addicted.”215

         The risk of addiction is manageable for patients regardless of past abuse histories.216

         “[T]he likelihood that the treatment of pain using an opioid drug which is prescribed by

          a doctor will lead to addiction is extremely low.”217

         Patients might experience withdrawal symptoms associated with physical dependence as

          the decrease their dose, “[b]ut unlike actual addicts, such individuals, if they resume

          their opioid use, will only take enough medication to alleviate their pain.”218

         The notion that “strong pain medication leads to addiction” is a “common

          misconception.”219




215
    Good Morning America (ABC television broadcast Aug. 30, 2010).
216
    Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic
Non-Cancer Pain, 10 J. Pain 113 (2009).
217
    Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall
Street Journal (Dec. 17, 2012),
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
218
    Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of
Pain, and The Ohio Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue
Pharma, L.P., et al., Appeal No. CA 2002 09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec.
23, 2002), https://ia801005.us.archive.org/23/items/279014-howland-apf-amicus/279014-
howland-apf-amicus.pdf.
219
    A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation
(2011) at 5, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last
visited March 6, 2018).

                                                  152
         “Addiction to an opioid would mean that your pain has gone away but you still take the

          medicine regularly when you don’t need it for pain, maybe just to escape your

          problems.”220




         Even for patients assessed to have a risk of abuse, “it does not mean that opioid use will

          become problematic or that opioids are contraindicated.” 221

         [P]eople who have no history of drug abuse, including tobacco, and use their opioid

          medication as directed will probably not become addicted.”222

         “A history of addiction would not rule out the use of opioid pain relievers.”223




220
    Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid
Analgesics, Endo Pharmaceuticals (2004),
https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-taking-oral-
opioid-analgesics (last accessed March 8, 2018).
221
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life
Sciences 2007).
222
    Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patie
nt%20Education%20b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
223
    Id.

                                                  153
         APF published exit wounds, wherein it represented that “[l]ong experience with opioids

          shows that people who are not predisposed to addiction are very unlikely to become

          addicted to opioid pain medications.”224




         Patients rarely become addicted to prescribed opioids.225




224
    Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A
Survival Guide to Pain Management for Returning Veterans and Their Families, Coalition for
Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/2009/10/iraq-
war-veteran-amputee-pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-
pain-management-for-returning-veterans-and-their-families (last visited March 1, 2018).
225
    Brief of Amici the American Pain Foundation, the National Pain Foundation, and the National
Foundation for the Treatment of Pain, 2005 WL 2405247, *9 (citing Portenoy, Russell, et al.,
Acute and Chronic Pain, in COMPREHENSIVE TEXTBOOK OF SUBSTANCE ABUSE, 863-
903 (Lowinson et al. eds., 4th ed. 2005), United States v. Hurowitz, 459 F.3d 463 (2006) (citing
Portenoy et. al, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of 38 Cases,
PAIN, Vol. 25, 171-186, (1986)).

                                                 154
         Concern about patients becoming addicted reflects widespread failure to appreciate the

          distinction between “(1) tolerance – the body’s tendency to become accustomed to a

          substance so that, over time, a larger amount is needed to produce the same physical

          effect (pain relief) and physical dependence – the state defined by the experience of

          adverse symptoms if a drug is abruptly withdrawn . . . each of which is common with

          pain patients” . . . “and, on the other hand, (2) the psychological and behavioral patterns

          – an unhealthy craving for, compulsive use of, and unhealthy fixation – that characterize

          addiction.”226




         Evidence establishes that the risk of drug addiction (historically the principal medical

          justification for withholding or limiting opioids) is far less substantial than long and

          widely assumed.227




226
    Brief of Amici Russel K. Portenoy, et al., 2005 WL 2405249, United States v. Hurwitz, 459
F.3d 463 (2006) (emphasis in original).
227
    Id. and sources cited at note 9.

                                                  155
         The “risks [of addiction] are exceedingly low in older patients with no current or past

          history of substance abuse.”228




          414. Members of the Opioid Marketing Enterprise advocated that opioids were safe and

effective for long-term treatment of chronic, non-acute and non-cancer pain:

         “Opioids are an essential option for treating moderate to severe pain associated with

          surgery or trauma. They may also be an important part of the management of persistent

          pain unrelated to cancer.”229




         Opioids were a safe and effective treatment for of pain as part of a physicians’ treatment

          guidelines.230

         The “small risk of abuse does not justify the withholding of these highly effective

          analgesics from chronic pain patients.”231


228
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics
Soc’y 1331, 1339, 1342 (2009), available at
https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).
229
    APF, Treatment Options, https://assets.documentcloud.org/documents/277605/apf-
treatmentoptions.pdf.
230
    Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic
Non-Cancer Pain, 10 J. Pain 113 (2009).
231
    Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of
Pain, and The Ohio Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue
Pharma, L.P., et al., Appeal No. CA 2002 09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec.
23, 2002), https://ia801005.us.archive.org/23/items/279014-howland-apf-amicus/279014-
howland-apf-amicus.pdf.

                                                 156
         Opioids, unlike some non-prescription pain medications, are safe at high doses.232

         Falsely representing “recent findings suggesting that most patients are able to

          successfully remain on long-term opioid therapy without significant problems.”233

         Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to

          good medical practice.234

         Even for patients assessed to have a risk of abuse, “it does not mean that opioid use will

          become problematic or that opioids are contraindicated.”235

         Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to

          good medical practice.236

         Broadly classifying pain syndromes as “either cancer- or non-cancer-related has limited

          utility,” and recommended dispensing rapid onset opioids “in patients with non-cancer

          pain.”237




232
    Portenoy, et al., Overview of Management Options, https://cme.ama-
assn.org/activity/1296783/detail.aspx. On information and belief, this CME was published in
2003, 2007, 2010, and 2013.
233
    Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF,
PainEdu.org, 2008, https://www.nhms.org/sites/default/files/Pdfs/SOAPP-5.pdf (last accessed on
March 8, 2018).
234
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life
Sciences 2007).
235
    Id.
236
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life
Sciences 2007).
237
   Perry G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain,
Pain Medicine News, https://www.yumpu.com/en/document/view/11409251/opioid-based-
management-of-persistent-and-breakthrough-pain (accessed on February 27, 2018).

                                                 157
         Opioids are safe and well-tolerated in patients with chronic pain and break through

          pain.238

         Non-opioid analgesics and combination opioids containing non-opioids such as aspirin

          and acetaminophen are less effective than opioids because of dose limitations on non-

          opioids.239




         Opioids can safely alleviate chronic pain unresponsive to other medication.240

         Medical organization and government-sponsored clinical guidelines support and

          encourage opioid treatment for chronic pain.241



238
    Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl effervescent
buccal tablets in patients with chronic pain and breakthrough pain: interim safety and tolerability
results. Program and abstracts of the annual meeting of the American Academy of Pain
Medicine; February 22-25, 2006; San Diego, California. Abstract 120. Published with
permission of Lynn R. Webster, MD, https://www.medscape.org/viewarticle/524538_2 (accessed
on March 6, 2018).
239
    Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).
240
    Brief of Amici the American Pain Foundation, the National Pain Foundation, and the National
Foundation for the Treatment of Pain, 2005 WL 2405247, *8, United States v. Hurowitz, 459
F.3d 463 (2006) (citing Portenoy et. al, Chronic Use of Opioid Analgesics in Non-Malignant
Pain: Report of 38 Cases, PAIN, Vol. 25, 171-186, (1986)).
241
    Id. at *8, and sources cited in note 11.

                                                 158
         Respiratory depression, even at extremely high levels, does not occur in the context of

          appropriate clinical treatment.242

         There is no “ceiling dose” for opioids.243

         Opioid analgesics are the most effective way to treat pain of moderate to severe intensity

          and often the only treatment that provides significant relief.244

         “Opioid rotations” (switching from one opioid to another) not only for cancer patients,

          but also for non-cancer patients, may need to occur four or five times over a person’s

          “lifetime” to manage pain.245

         Opioids represent a highly effective . . . class of analgesic medications for controlling

          both chronic and acute pain. The phenomenon of tolerance to opioids – the gradual

          waning of relief at a given dose – and fears of abuse, diversion, and misuse of these

          medications by patients have led many clinicians to be wary of prescribing these drugs,

          and/or to restrict dosages to levels that may be insufficient to provide meaningful

          relief.246




242
    Id.
243
    Id.
244
    Brief of Amici Russel K. Portenoy, et al., 2005 WL 2405249, United States v. Hurwitz, 459
F.3d 463.
245
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
246
    Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain,
Pain Med. News, 2007, https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf
(last visited on March 8, 2018).

                                                   159
          415. Members of the Opioid Marketing Enterprise created and championed the concept

of “pseudoaddiction,” advocating that signs of addiction were actually pseudoaddiction that

required prescribing additional opioids:

         Patients might experience withdrawal symptoms associated with physical dependence as

          the decrease their dose, “[b]ut unlike actual addicts, such individuals, if they resume

          their opioid use, will only take enough medication to alleviate their pain.”247




247
   Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of
Pain, and The Ohio Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue
Pharma, L.P., et al., Appeal No. CA 2002 09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec.
23, 2002), https://ia801005.us.archive.org/23/items/279014-howland-apf-amicus/279014-
howland-apf-amicus.pdf.

                                                  160
         “Addiction IS NOT when a person develops ‘withdrawal’ (such as abdominal cramping

          or sweating) after the medicine is stopped or the dose is reduced by a large amount. . . .

          Addiction also IS NOT what happens when some people taking opioids need to take a

          higher dose after a period of time in order for it to continue to relieve their pain. This




          normal ‘tolerance’ to opioid medications doesn’t affect everyone who takes them and

          does not, by itself, imply addiction.”248

248
   Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid
Analgesics, Endo Pharmaceuticals (2004),
http://www.thblack.com/links/RSD/Understand_Pain_Opioid_Analgesics.pdf (emphasis in
original) (last accessed on March 9, 2018).

                                                      161
         “Addiction to an opioid would mean that your pain has gone away but you still take the

          medicine regularly when you don’t need it for pain, maybe just to escape your

          problems.”249




         Behaviors such as “[r]equesting [drugs] by name,” “[d]emanding or manipulative

          behavior,” “[o]btaining drugs from more than one physician,” and “[h]oarding opioids,”

          are all really signs of pseudoaddiction, rather than genuine addiction.” 250

         “Sometimes people behave as if they are addicted, when they are really in need of more

          medication.”251




249
    Id.
250
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life
Sciences 2007).
251
    Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patie
nt%20Education%20b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).

                                                  162
         For prescribers facing signs of aberrant behavior, increasing the does “in most cases . . .

          should be the clinician’s first response.”252

          416. Members of the Opioid Marketing Enterprise advocated that long-term use of

prescription opioids would improve function, including but not limited to, psychological health,

and health-related quality of life:




252
      Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).

                                                   163
         When opioids are managed, properly prescribed and taken as directed, they are effective

          in improving daily function, psychological health and health-related quality of life. 253

         Opioid therapy to relieve pain and improve function is a legitimate medical practice for

          acute and chronic pain of both cancer and non-cancer origins.254

         “[Y]our level of function should improve, you may find you are now able to participate

          in activities of daily living, such as work and hobbies, that you were not able to enjoy

          when your pain was worse.”255

         “The goal of opioid therapy is to . . . improve your function.”256




253
    A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation
(2011) at
5, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited
March 6, 2018).
254
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life
Sciences 2007); Scott M. Fishman, Responsible Opioid Prescribing: A Clinician’s Guide, 10-11
(2d ed. 2012).
255
    Plaintiffs are informed and believe that this misrepresentation was made on the website
painknowledge.org.
256
    Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patie
nt%20Education%20b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).

                                                  164
         The “goal” for chronic pain patients is to “improve effectiveness which is different from

          efficacy and safety.”257




          417. Members of the Opioid Marketing Enterprise represented that screening questions

and professional guidelines would help curb addiction and potential abuse:

         Screening questions and professional guidelines will “easily and efficiently” allow

          physicians to manage risk and “minimize the potential for abuse.”258

         Risk screening tools, urine testing, and patient agreements are a way to prevent “overuse

          of prescriptions” and “overdose deaths.”259




257
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
258
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life
Sciences 2007).
259
    See, Managing Patient’s Opioid Use: Balancing the Need and the Risk, Emerging Solutions
in Pain http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited
Aug. 22, 2017).

                                                 165
         The risks of addiction and abuse can be managed by doctors and evaluated with

          “tools.”260
          418. In addition to the unbranded marketing misrepresentations made by members of

the Opioid Marketing Enterprise, the RICO Marketing Defendants made misrepresentations in

their branded marketing activities.      The RICO Marketing Defendants’ branded marketing

misrepresentations furthered the common purpose of the Opioid Marketing Enterprise because

they advanced the common messages of the Opioid Marketing Enterprise. For example:

          419. The RICO Marketing Defendants misrepresented that opioids were non-addictive

or posed less risk of addiction or abuse:

         Purdue:

              o “Fear of addiction is exaggerated.”261




260
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
261
    Harriet Ryan, et al., “You Want A Description of Hell?” OxyContin’s 12-Hour Problem, L.A.
Times (May 5, 2016), http://documents.latimes.com/oxycontin-press-release-1996/ (hereinafter
“Ryan, Description of Hell”).

                                                166
          o “[W]e’ve discovered that the simplicity and convenience of twice-daily dosing

             also enhances patient compliance with their doctor’s instructions.”262

          o Long-acting, extended release formulations are safe and “less prone” to abuse by




             patients and addiction.263

          o OxyContin is safe and non-addictive when using extended release formulations,

             and appropriate for use in non-cancer patients.264

262
    Id.
263
     Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. Times (May 10,
2007), http://www.nytimes.com/2007/05/10/business/11drug-web.html (hereinafter “Meier,
Guilty Plea”).
264
     Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators
Launch Investigation of Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senators_launch_inv
estigation_of_prescription_narcotis/ (hereinafter “Ornstein, American Pain Foundation”).

                                             167
           o Consistently minimizing the risk of addiction in the use of opioids for the

               treatment of chronic non-cancer-related pain.265

           o OxyContin is virtually non-addicting.266

           o “Assur[ing] doctors – repeatedly and without evidence – that ‘fewer than one

               percent’ of patients who took OxyContin became addicted.”267

           o OxyContin was addiction resistant and had “abuse-deterrent properties.”268




           o Misrepresented the risk of addiction using misleading and inaccurate promotions

               of OxyContin that were unsupported by science.269


265
    Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public
Health Tragedy, 99(2) Am. J. Pub. Health 221-27 (Feb. 2009) (hereinafter, “Van Zee, Promotion
and Marketing”).
266
    Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017),
https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
267
    Id.; see also “I got my life back,” OxyContin Promotional Video, 1998,
https://www.youtube.com/watch?v=Er78Dj5hyeI (last accessed on March 8, 2018).
268
    Id.
269
    Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States
Attorney John Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives
for Illegally Misbranding OxyContin (May 10, 2007),
https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.

                                               168
          o It was more difficult to extract the oxycodone from an OxyContin tablet for

             intravenous abuse.270

          o OxyContin created fewer chances for addiction than immediate-release

             opioids.271

          o OxyContin had fewer “peak and trough” effects than immediate-release opioids

             resulting in less euphoria and less potential for abuse than short-acting opioids.272

          o Patients could abruptly stop opioid therapy without experiencing withdrawal

             symptoms, and patients who took OxyContin would not develop tolerance.273

          o OxyContin did not cause a “buzz,” caused less euphoria, had less addiction

             potential, had less abuse potential, was less likely to be diverted than immediate-

             release opioids, and could be used to “weed out” addicts and drug seekers.274

          o Purdue published a prescriber and law enforcement education pamphlet in 2011

             entitled Providing Relief, Preventing Abuse, which under the heading,

             “Indications of Possible Drug Abuse,” shows pictures of the stigmata of injecting

             or snorting opioids—skin popping, track marks, and perforated nasal septa. In

             fact, opioid addicts who resort to these extremes are uncommon; the far more

             typical reality is patients who become dependent and addicted through oral use.

             Thus, these misrepresentations wrongly reassured doctors that as long as they do

             not observe those signs, they need not worry that their patients are abusing or

             addicted to opioids.

          o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

             Management, which inaccurately claimed that less than 1% of children

270
    Id.
271
    Id.
272
    Id.
273
    Id.
274
    Id.

                                              169
              prescribed opioids will become addicted. This publication is still available

              online. This publication also asserted that pain is undertreated due to

              “misconceptions about opioid addiction.”

           o Purdue sponsored APF’s Treatment Options: A Guide for People Living with

              Pain (2007), which asserted that addiction is rare and limited to extreme cases of

              unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

           o A Purdue-funded study with a Purdue co-author claimed that “evidence that the

              risk of psychological dependence or addiction is low in the absence of a history

              of substance abuse.”275 The study relied only on the 1980 Porter-Jick letter to the

              editor concerning a chart review of hospitalized patients, not patients taking

              Purdue’s long-acting, take-home opioid. Although the term “low” is not defined,

              the overall presentation suggests the risk is so low as not to be a worry.

           o Purdue contracted with AGS to produce a CME promoting the 2009 guidelines

              for the Pharmacological Management of Persistent Pain in Older Persons.

              These guidelines falsely claim that “the risks [of addiction] are exceedingly low

              in older patients with no current or past history of substance abuse.” None of the

              references in the guidelines corroborates the claim that elderly patients are less

              likely to become addicted to opioids and the claim is, in fact, untrue. Purdue was

              aware of the AGS guidelines’ content when it agreed to provide this funding, and
              AGS drafted the guidelines with the expectation it would seek drug company

              funding to promote them after their completion.

           o Purdue sponsored APF’s Exit Wounds (2009), which counseled veterans that

              “[l]ong experience with opioids shows that people who are not predisposed to

              addiction are very unlikely to become addicted to opioid pain medications.”


275
   C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain: a
randomized controlled trial I painful diabetic neuropathy, 105 Pain 71 (2003).

                                               170
                 Although the term “very unlikely” is not defined, the overall presentation

                 suggests it is so low as not to be a worry.

             o Purdue sales representatives told prescribers that its drugs were “steady state,”

                 the implication of which was that they did not produce a rush or euphoric effect,

                 and therefore were less addictive and less likely to be abused.

             o Purdue sales representatives told prescribers that Butrans has a lower abuse

                 potential than other drugs because it was essentially tamperproof and, after a

                 certain point, patients no longer experience a “buzz” from increased dosage.

             o Advertisements that Purdue sent to prescribers stated that OxyContin ER was

                 less likely to be favored by addicts, and, therefore, less likely to be abused or

                 diverted, or result in addiction.

             o In discussions with prescribers, Purdue sales representatives omitted discussion

                 of addiction risks related to Purdue’s drugs.

         Janssen:

             o Myth: Opioid medications are always addictive.
               Fact: Many studies show that opioids are rarely addictive when used properly for

                 the management of chronic pain.276

             o Myth: Opioid doses have to get bigger over time because the body gets used to
                 them.
                 Fact: Unless the underlying cause of your pain gets worse (such as with cancer

                 or arthritis), you will probably remain on the same dose or need only small

                 increases over time.277




276
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).
277
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).

                                                     171
          o “[Q]uestions of addiction,” “are often overestimated” because, “[a]ccording to

              clinical opinion polls, true addiction occurs only in a small percentage of patients

              with chronic pain who receive chronic opioid analgesics.”278

          o Janssen sponsored a patient education guide titled Finding Relief: Pain

              Management for Older Adults (2009), which its personnel reviewed and

              approved and which its sales force distributed. This guide described a “myth”

              that opioids are addictive, and asserts as fact that “[m]any studies show that

              opioids are rarely addictive when used properly for the management of chronic

              pain.” Although the term “rarely” is not defined, the overall presentation

              suggests the risk is so low as not to be a worry. The language also implies that as

              long as a prescription is given, opioid use is not a problem.

          o Janssen contracted with AGS to produce a CME promoting the 2009 guidelines

              for the Pharmacological Management of Persistent Pain in Older Persons.

              These guidelines falsely claim that “the risks [of addiction] are exceedingly low

              in older patients with no current or past history of substance abuse.” The study

              supporting this assertion does not analyze addiction rates by age and, as already


278
   Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 11,
2017).

                                              172
   noted, addiction remains a significant risk for elderly patients. Janssen was aware

   of the AGS guidelines’ content when it agreed to provide this funding, and AGS

   drafted the guidelines with the expectation it would seek drug company funding

   to promote them after their completion.

o Janssen provided grants to APF to distribute Exit Wounds (2009) to veterans,

   which taught that [l]ong experience with opioids shows that people who are not

   predisposed to addiction are very unlikely to become addicted to opioid pain

   medications.” Although the term “very unlikely” is not defined, the overall

   presentation suggests the risk is so low as not to be a worry.

o Janssen currently runs a website, Prescriberesponsibly.com (last modified July 2,

   2015), which claims that concerns about opioid addiction are “overstated.”

o A June 2009 Nucynta Training module warns Janssen’s sales force that

   physicians are reluctant to prescribe controlled substances like Nucynta, but this

   reluctance is unfounded because “the risks . . . are much smaller than commonly

   believed.”

o Janssen sales representatives told prescribers that its drugs were “steady state,”

   the implication of which was that they did not produce a rush or euphoric effect,

   and therefore were less addictive and less likely to be abused.

o Janssen sales representatives told prescribers that Nucynta and Nucynta ER were

   “not opioids,” implying that the risks of addiction and other adverse outcomes

   associated with opioids were not applicable to Janssen’s drugs. In truth, however,

   as set out in Nucynta’s FDA-mandated label, Nucynta “contains tapentadol, an

   opioid agonist and Schedule II substance with abuse liability similar to other

   opioid agonists, legal or illicit.”

o Janssen’s sales representatives told prescribers that Nucynta’s unique properties

   eliminated the risk of addiction associated with the drug.

                                         173
             o In discussions with prescribers, Janssen sales representatives omitted discussion

                  of addiction risks related to Janssen’s drugs.

         Cephalon:

             o Cephalon sponsored and facilitated the development of a guidebook, Opioid

                  Medications and REMS: A Patient’s Guide, which claims, among other things,

                  that “patients without a history of abuse or a family history of abuse do not

                  commonly become addicted to opioids.”

             o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with

                  Pain (2007), which taught that addiction is rare and limited to extreme cases of

                  unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

             o In discussions with prescribers, Cephalon sales representatives omitted any

                  discussion of addiction risks related to Cephalon’s drugs.

         Endo:

             o Opana ER was designed to be crush resistant

             o Opana ER was crush and abuse resistant and not addictive.279

             o “[T]he Reformulated Opana ER as ‘designed to be’ crush resistant.”280

             o “[P]atients treated with prolonged opioid medicines usually do not become

                  addicted.”281

             o Endo trained its sales force in 2012 that use of long-acting opioids resulted in

                  increased patient compliance, without any supporting evidence.




279
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No.
15-228, Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15, at 5
(Mar. 1, 2016), https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
280
    Id. at 6.
281
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No.
15-228, Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15, at 5
(Mar. 1, 2016), https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.

                                                   174
o Endo’s advertisements for the 2012 reformulation of Opana ER claimed it was

   designed to be crush resistant, in a way that conveyed that it was less likely to be

   abused. This claim was false; the FDA warned in a May 10, 2013 letter that there

   was no evidence Endo’s design “would provide a reduction in oral, intranasal or

   intravenous abuse” and Endo’s “post-marketing data submitted are insufficient to

   support any conclusion about the overall or route-specific rates of abuse.”

   Further, Endo instructed its sales representatives to repeat this claim about

   “design,” with the intention of conveying Opana ER was less subject to abuse.

o Endo sponsored a website, painknowledge.com, through APF and NIPC, which

   claimed in 2009 that: “[p]eople who take opioids as prescribed usually do not

   become addicted.” Although the term “usually” is not defined, the overall

   presentation suggests the risk is so low as not to be a worry. The language also

   implies that as long as a prescription is given, opioid use will not become

   problematic. Endo continued to provide funding for this website through 2012,

   and closely tracked unique visitors to it.

o Endo sponsored a website, PainAction.com, which stated “Did you know? Most

   chronic pain patients do not become addicted to the opioid medications that are

   prescribed for them.”

o Endo sponsored CMEs published by APF’s NIPC, of which Endo was the sole

   funder, titled Persistent Pain in the Older Adult and Persistent Pain in the Older

   Patient. These CMEs claimed that opioids used by elderly patients present

   “possibly less potential for abuse than in younger patients[,]” which lacks

   evidentiary support and deceptively minimizes the risk of addiction for elderly

   patients.

o Endo distributed an education pamphlet with the Endo logo titled Living with

   Someone with Chronic Pain, which inaccurately minimized the risk of addiction:

                                    175
   “Most health care providers who treat people with pain agree that most people do

   not develop an addiction problem.”

o Endo distributed a patient education pamphlet edited by key opinion leader Dr.

   Russell Portenoy titled Understanding Your Pain: Taking Oral Opioid

   Analgesics. It claimed that “[a]ddicts take opioids for other reasons [than pain

   relief], such as unbearable emotional problems.” This implies that pain patients

   prescribed opioids will not become addicted, which is unsupported and untrue.

o Endo contracted with AGS to produce a CME promoting the 2009 guidelines for

   the Pharmacological Management of Persistent Pain in Older Persons. These

   guidelines falsely claim that “the risks [of addiction] are exceedingly low in

   older patients with no current or past history of substance abuse.” None of the

   references in the guidelines corroborates the claim that elderly patients are less

   likely to become addicted to opioids, and there is no such evidence. Endo was

   aware of the AGS guidelines’ content when it agreed to provide this funding, and

   AGS drafted the guidelines with the expectation it would seek drug company

   funding to promote them after their completion.

o Endo sales representatives told prescribers that its drugs were “steady state,” the

   implication of which was that they did not produce a rush or euphoric effect, and

   therefore were less addictive and less likely to be abused.

o Endo provided grants to APF to distribute Exit Wounds (2009) to veterans, which

   taught that “[l]ong experience with opioids shows that people who are not

   predisposed to addiction are very unlikely to become addicted to opioid pain

   medications.” Although the term “very unlikely” is not defined, the overall

   presentation suggests that the risk is so low as not to be a worry.

o In discussions with prescribers, Endo sales representatives omitted discussion of
   addiction risks related to Endo’s drugs.

                                    176
          420. The RICO Marketing Defendants misrepresented that opioids improved function

and quality of life:

         Purdue:

             o “[W]e’ve discovered that the simplicity and convenience of twice-daily dosing

                 also enhances patient compliance with their doctor’s instructions.”282




             o Purdue ran a series of advertisements for OxyContin in 2012 in medical journals

                 titled “Pain vignettes,” which were case studies featuring patients, each with pain

                 conditions persisting over several months, recommending OxyContin for each.

                 One such patient, “Paul,” is described to be a “54-year-old writer with

                 osteoarthritis of the hands,” and the vignettes imply that an OxyContin

                 prescription will help him work more effectively.

             o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

                 Management, which inaccurately claimed that “multiple clinical studies” have

                 shown that opioids are effective in improving daily function, psychological

                 health, and health-related quality of life for chronic pain patients.” The sole

                 reference for the functional improvement claim noted the absence of long-term

                 studies and actually stated: “For functional outcomes, the other analgesics were




282
      Ryan, Description of Hell, http://documents.latimes.com/oxycontin-press-release-1996/

                                                 177
                 significantly more effective than were opioids.” The Policymaker’s Guide is still

                 available online.

             o Purdue sponsored APF’s Treatment Options: A Guide for People Living with

                 Pain (2007), which counseled patients that opioids, when used properly, “give

                 [pain patients] a quality of life we deserve.” APF distributed 17,200 copies in

                 one year alone, according to its 2007 annual report, and the guide currently is

                 available online.

             o Purdue sponsored APF’s Exit Wounds (2009), which taught veterans that opioid

                 medications “increase your level of functioning.” Exit Wounds also omits

                 warnings of the risk of interactions between opioids and benzodiazepines, which

                 would increase fatality risk. Benzodiazepines are frequently prescribed to

                 veterans diagnosed with post-traumatic stress disorder.

             o Purdue sponsored the FSMB’s Responsible Opioid Prescribing (2007), which

                 taught that relief of pain itself improved patients’ function. Responsible Opioid

                 Prescribing explicitly describes functional improvement as the goal of a “long-

                 term therapeutic treatment course.” Purdue also spent over $100,000 to support

                 distribution of the book.

         Janssen:

             o Misrepresented that patients experienced “[s]ignificantly reduced nighttime

                 awakenings.”283

             o Misrepresented “[s]ignificant improvement in disability scores as measured by

                 the Oswestry Disability Questionnaire and Pain Disability Index.”284

             o Misrepresented “[s]ignificant improvement in social functioning.”



283
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia
Chianese, Janssen Pharmaceutica (Mar. 30, 2000) at 2.
284
    Id.

                                                178
          o Misrepresented outcome claims that were misleading because they lacked

              substantial support, evidence or clinical experience and “impl[ied] that patients

              will experience improved social or physical functioning or improved work

              productivity when using Duragesic,” including: “1,360 loaves . . . and counting,

              [w]ork, uninterrupted, [l]ife, uninterrupted, [g]ame, uninterrupted, [c]hronic pain

              relief that supports functionality, [h]elps patients think less about their pain, and

              [i]mprove[s] . . . physical and social functioning.”285

          o Misrepresented that “[o]pioid analgesics, for example, have no true ‘ceiling

              dose’ for analgesia and do not cause direct organ damage.”286




          o Myth: Opioids make it harder to function normally.
            Fact: When used correctly for appropriate conditions, opioids may make it easier

              for people to live normally.287


          o Janssen sponsored a patient education guide titled Finding Relief: Pain

              Management for Older Adults (2009), which its personnel reviewed and

              approved and its sales force distributed. This guide features a man playing golf

              on the cover and lists examples of expected functional improvement from


285
    Id. at 3 (internal quotations omitted).
286
    Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 11,
2017).
287
    Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).

                                                179
          opioids, like sleeping through the night, returning to work, recreation, sex,

          walking, and climbing stairs. The guide states as a “fact” that “opioids may make

          it easier for people to live normally” (emphasis in the original). The myth/fact

          structure implies authoritative backing for the claim that does not exist. The

          targeting of older adults also ignored heightened opioid risks in this population.

       o Janssen sponsored, developed, and approved content of a website, Let’s Talk

          Pain in 2009, acting in conjunction with the APF and AAPM whose participation

          in Let’s Talk Pain Janssen financed and orchestrated. This website featured an

          interview, which was edited by Janssen personnel, claiming that opioids were

          what allowed a patient to “continue to function,” inaccurately implying her

          experience would be representative. This video is still available today on

          youtube.com.

       o Janssen provided grants to APF to distribute Exit Wounds to veterans, which

          taught that opioid medications “increase your level of functioning” (emphasis in

          the original). Exit Wounds also omits warnings of the risk of interactions

          between opioids and benzodiazepines, which would increase fatality risk.

          Benzodiazepines are frequently prescribed to veterans diagnosed with post-

          traumatic stress disorder.

   Cephalon:

       o Cephalon sponsored the FSMB’s Responsible Opioid Prescribing (2007), which

          taught that relief of pain itself improved patients’ function. Responsible Opioid

          Prescribing explicitly describes functional improvement as the goal of a “long-

          term therapeutic treatment course.” Cephalon also spent $150,000 to purchase

          copies of the book in bulk and distributed the book through its pain sales force to

          10,000 prescribers and 5,000 pharmacists.



                                          180
             o Cephalon sponsored the American Pain Foundation’s Treatment Options: A

                  Guide for People Living with Pain (2007), which taught patients that opioids

                  when used properly “give [pain patients] a quality of life we deserve.” The

                  Treatment Options guide notes that non-steroidal anti-inflammatory drugs have

                  greater risks with prolonged duration of use, but there was no similar warning for

                  opioids. APF distributed 17,200 copies in one year alone, according to its 2007

                  annual report, and the publication is currently available online.

             o Cephalon sponsored a CME written by Dr. Webster, titled Optimizing Opioid

                  Treatment for Breakthrough Pain, which was offered online by Medscape, LLC

                  from September 28, 2007, through December 15, 2008. The CME taught that

                  Cephalon’s Actiq and Fentora improve patients’ quality of life and allow for

                  more activities when taken in conjunction with long-acting opioids.

         Endo:

             o Opana ER “will benefit patients, physicians and payers.”288




             o “Endo distributed a pamphlet in New York and posted on its public website,

                  www.opana.com, photographs of purported Opana ER patients that implied that

                  patients can achieve higher function with Opana ER.”289

             o Endo sponsored a website, painknowledge.com, through APF and NIPC, which

                  claimed in 2009 that with opioids, “your level of function should improve; you

288
    FDA Approves Endo Pharmaceuticals’ Crush-Resistant Opana ER, December 12, 2011,
https://www.biospace.com/article/releases/fda-approves-endo-pharmaceuticals-crush-resistant-
opana-er-/.
289
    Id. at 8.

                                                   181
              may find you are now able to participate in activities of daily living, such as

              work and hobbies, that you were not able to enjoy when your pain was worse.”

              Endo continued to provide funding for this website through 2012, and closely

              tracked unique visitors to it.

          o A CME sponsored by Endo, titled Persistent Pain in the Older Patient, taught

              that chronic opioid therapy has been “shown to reduce pain and improve

              depressive symptoms and cognitive functioning.”

          o Endo distributed handouts to prescribers that claimed that use of Opana ER to

              treat chronic pain would allow patients to perform work as a chef. This flyer also

              emphasized Opana ER’s indication without including equally prominent

              disclosure of the “moderate to severe pain” qualification.

          o Endo’s sales force distributed FSMB’s Responsible Opioid Prescribing (2007).

              This book taught that relief of pain itself improved patients’ function.

              Responsible Opioid Prescribing explicitly describes functional improvement as

              the goal of a “long-term therapeutic treatment course.”

          o Endo provided grants to APF to distribute Exit Wounds to veterans, which taught

              that opioid medications “increase your level of functioning” (emphasis in the

              original). Exit Wounds also omits warnings of the risk of interactions between

              opioids    and    benzodiazepines,     which   would      increase   fatality   risk.

              Benzodiazepines are frequently prescribed to veterans diagnosed with post-

              traumatic stress disorder.

       421. The RICO Marketing Defendants misrepresented that addiction risks can be

avoided or managed through screening tools and prescription guidelines:

      Purdue:

          o Purdue’s unbranded website, In the Face of Pain (inthefaceofpain.com) states

              that policies that “restrict[] access to patients with pain who also have a history


                                               182
                  of substance abuse” and “requiring special government-issued prescription forms

                  for the only medications that are capable of relieving pain that is severe” are “at

                  odds with” best medical practices.290

             o Purdue sponsored a 2012 CME program taught by a KOL titled Chronic Pain

                  Management and Opioid Use: Easing Fears, Managing Risks, and Improving

                  Outcomes. This presentation recommended that use of screening tools, more

                  frequent refills, and switching opioids could treat a high-risk patient showing

                  signs of potentially addictive behavior.

             o Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, titled Managing

                  Patient’s Opioid Use: Balancing the Need and Risk. This publication taught

                  prescribers that screening tools, urine tests, and patient agreements have the

                  effect of preventing “overuse of prescriptions” and “overdose deaths.”

             o Purdue sales representatives told prescribers that screening tools can be used to

                  select patients appropriate for opioid therapy and to manage the risks of

                  addiction.

         Cephalon:

             o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with

                  Pain (2007), which taught patients that “opioid agreements” between doctors and

                  patients can “ensure that you take the opioid as prescribed.”

         Endo:

             o Endo paid for a 2007 supplement291 available for continuing education credit in

                  the Journal of Family Practice and written by a doctor who later became a

290
    See In the Face of Pain Fact Sheet: Protecting Access to Pain Treatment, Purdue Pharma L.P.
(Resources verified Mar. 2012),
www.inthefaceofpain.com/content/uploads/2011/12/factsheet_ProtectingAccess.pdf.
291
    The Medical Journal, The Lancet found that all of the supplement papers it received failed
peer-review. Editorial, “The Perils of Journal and Supplement Publishing,” 375 The Lancet 9712
(347) 2010.

                                                  183
              member of Endo’s speakers bureau. This publication, titled Pain Management

              Dilemmas in Primary Care: Use of Opioids, recommended screening patients

              using tools like the Opioid Risk Tool or the Screener and Opioid Assessment for

              Patients with Pain, and advised that patients at high risk of addiction could safely

              (e.g., without becoming addicted) receive chronic opioid therapy using a

              “maximally structured approach” involving toxicology screens and pill counts.

       422. The RICO Marketing Defendants misrepresented that signs of opioid addiction

were not addiction, withdrawal could be simply managed, and promoted the concept of

pseudoaddiction:

      Purdue:

          o Purdue published a prescriber and law enforcement education pamphlet in 2011

              entitled Providing Relief, Preventing Abuse, which described pseudoaddiction as

              a concept that “emerged in the literature to describe the inaccurate interpretation

              of [drug-seeking behaviors] in patients who have pain that has not been

              effectively treated.”

          o Purdue distributed to physicians, at least as of November 2006 and posted on its

              unbranded website, Partners Against Pain, a pamphlet copyrighted 2005 and

              titled Clinical Issues in Opioid Prescribing. This pamphlet included a list of
              conduct including “illicit drug use and deception” it defined as indicative of

              pseudoaddiction or untreated pain. It also states: “Pseudoaddiction is a term

              which has been used to describe patient behaviors that may occur when pain is

              undertreated. . . . Even such behaviors as illicit drug use and deception can occur

              in the patient’s efforts to obtain relief. Pseudoaddiction can be distinguished

              from true addiction in that the behaviors resolve when the pain is effectively

              treated.”




                                              184
       o Purdue sponsored FSMB’s Responsible Opioid Prescribing (2007), which taught

           that behaviors such as “requesting drugs by name, “demanding or manipulative

           behavior,” seeing more than one doctor to obtain opioids, and hoarding, are all

           signs of pseudoaddiction. Purdue also spent over $100,000 to support

           distribution of the book.

       o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

           Management, which states: “Pseudo-addiction describes patient behaviors that

           may occur when pain is undertreated. . . . Pseudo-addiction can be distinguished

           from true addiction in that this behavior ceases when pain is effectively treated.”

       o A Policymaker’s Guide to Understanding Pain & Its Management also taught

           that “Symptoms of physical dependence can often be ameliorated by gradually

           decreasing the dose of medication during discontinuation,” but did not disclose

           the significant hardships that often accompany cessation of use.

       o Purdue sales representatives told prescribers that the effects of withdrawal from

           opioid use can be successfully managed.

       o Purdue sales representatives told prescribers that the potential for withdrawal on

           Butrans was low due to Butrans’ low potency and its extended release

           mechanism.

   Janssen:

       o Janssen’s website, Let’s Talk Pain, stated from 2009 through 2011 that

           “pseudoaddiction . . . refers to patient behaviors that may occur when pain is

           under-treated” and “[p]seudoaddiction is different from true addiction because

           such behaviors can be resolved with effective pain management.”

       o A Janssen PowerPoint presentation used for training its sales representatives

           titled “Selling Nucynta ER” indicates that the “low incidence of withdrawal

           symptoms” is a “core message” for its sales force. This message is repeated in

                                           185
            numerous Janssen training materials between 2009 and 2011. The studies

            supporting this claim did not describe withdrawal symptoms in patients taking

            Nucynta ER beyond 90 days or at high doses and would therefore not be

            representative of withdrawal symptoms in the chronic pain population. Patients

            on opioid therapy long-term and at high doses will have a harder time

            discontinuing the drugs and are more likely to experience withdrawal symptoms.

            In addition, in claiming a low rate of withdrawal symptoms, Janssen relied upon

            a study that only began tracking withdrawal symptoms in patients two to four

            days after discontinuing opioid use, when Janssen knew or should have known

            that these symptoms peak earlier than that for most patients. Relying on data

            after that initial window painted a misleading picture of the likelihood and

            severity of withdrawal associated with chronic opioid therapy. Janssen also knew

            or should have known that the patients involved in the study were not on the drug

            long enough to develop rates of withdrawal symptoms comparable to rates of

            withdrawal suffered by patients who use opioids for chronic pain—the use for

            which Janssen promoted Nucynta ER.

       o Janssen sales representatives told prescribers that patients on Janssen’s drugs

            were less susceptible to withdrawal than those on other opioids.

   Cephalon:

       o Cephalon sponsored FSMB’s Responsible Opioid Prescribing (2007), which

            taught that behaviors such as “requesting drugs by name,” “demanding or

            manipulative behavior,” seeing more than one doctor to obtain opioids, and

            hoarding are all signs of pseudoaddiction. Cephalon also spent $150,000 to

            purchase copies of the book in bulk and distributed it through its pain sales force

            to 10,000 prescribers and 5,000 pharmacists.

   Endo:

                                            186
             o Endo distributed copies of a book by KOL Dr. Lynn Webster entitled Avoiding

                Opioid Abuse While Managing Pain (2007). Endo’s internal planning documents

                describe the purpose of distributing this book as to “[i]ncrease the breadth and

                depth of the Opana ER prescriber base.” The book claims that when faced with

                signs of aberrant behavior, the doctor should regard it as pseudoaddiction and

                thus, increasing the dose in most cases . . . should be the clinician’s first

                response.”

             o Endo spent $246,620 to buy copies of FSMB’s Responsible Opioid Prescribing

                (2007), which was distributed by Endo’s sales force. This book asserted that

                behaviors such as “requesting drugs by name,” “demanding or manipulative

                behavior,” seeing more than one doctor to obtain opioids, and hoarding, are all

                signs of “pseudoaddiction.”

             o A CME sponsored by Endo, titled Persistent Pain in the Older Adult, taught that

                withdrawal symptoms can be avoided entirely by tapering the dose by 10-20%

                per day for ten days.

             o Endo misrepresented that “symptoms of withdrawal do not indicate

                addiction.”292

             o “Endo also trained its sales representatives to distinguish addiction from
                ‘pseudoaddiction.’”293

          423. The RICO Defendants misrepresented that opioids were safe for the long-term

treatment of chronic, non-acute, and non-cancer pain:

         Purdue:



292
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No.
15-228, Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15, at 7
(Mar. 1, 2016), https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
293
    Id.

                                               187
             o “[W]e do not want to niche OxyContin just for cancer pain.”294




             o OxyContin was safe and non-addictive when using extended release

                 formulations, and appropriate for use in non-cancer patients.295

             o OxyContin should be prescribed not merely for severe short-term pain associated

                 with surgery or cancer, but also for less acute, longer-lasting pain like arthritis,

                 back pain, sports injuries, fibromyalgia with almost limitless treatment

                 potential.296

         Janssen:

             o Duragesic was “more useful in a broader range of conditions or patients than has

                 been demonstrated by substantial evidence.”297

             o Duragesic was “not just for end stage cancer anymore” when the FDA only

                 approved Duragesic for “the management of chronic pain in patients who require

                 continuous opioid analgesia for pain that cannot be managed by lesser means.”298

             o Misrepresented that “Duragesic can be used for any type of pain management”

                 despite the fact that the FDA approved warning stated that “BECAUSE

                 SERIOUS         OR   LIFE-THREATENING          HYPOVENTILATION             COULD

294
    Ryan, Description of Hell, http://documents.latimes.com/oxycontin-launch-1995/ (emphasis
in the L.A. Times document).
295
     Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators
Launch Investigation of Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senators_launch_inv
estigation_of_prescription_narcotis/ (hereinafter “Ornstein, American Pain Foundation”).
296
    Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017),
https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
297
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia
Chianese, Janssen Pharmaceutica (Mar. 30, 2000) at 2.
298
    Id.

                                                 188
                OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL SYSTEM) IS

                CONTRAINDICATED: In the management of acute or post-operative pain,

                including use in outpatient surgeries . . . .”299

             o Misrepresented “numerous claims for the efficacy and safety of Duragesic,” but

                failed to “present[] any risk information concerning the boxed warnings,

                contraindications, warnings, or side effects associated with Duragesic’s use . . .

                [and] . . . fail[ed] to address important risks and restrictions associated with

                Duragesic therapy.”300

             o Misrepresented “[d]emonstrated effectiveness in chronic back pain with

                additional patient benefits, . . . 86% of patients experienced overall benefit in a

                clinical study based on: pain control, disability in ADLs, quality of sleep.”301

         Cephalon:

             o “[P]romoting [Actiq] for non-cancer patients to use for such maladies as

                migraines, sickle-cell pain crises, injuries, and in anticipation of changing wound

                dressings or radiation therapy.”302

             o “[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for

                whom it could have life-threatening results.”303

             o In 2011, Cephalon wrote an article titled “2011 Special Report: An Integrated
                Risk Evaluation and Risk Mitigation Strategy for Fentanyl Buccal Tablet

                (FENTORA®) AND Oral Transmucosal Fentanyl Citrate (Actiq®), published in

                Pain Medicine News. Plaintiffs are informed and believe that Cephalon

299
    Id.
300
    Id.
301
    Id. at 2-3.
302
    Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425
Million For Off-Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
303
    Id.

                                                  189
               misrepresented that its drugs were “shown to be effective in treatment of [break

               through pain] associated with multiple causes of pain,” not just cancer.

       424. The RICO Defendants also misrepresented that opioids were safer than non-opioid

analgesics because there is no ceiling dose for opioid treatment.

      Purdue:

           o Purdue’s In the Face of Pain website, along with initiatives of APF, promoted the

               notion that if a patient’s doctor does not prescribe them what—in their view—is

               a sufficient dose of opioids, they should find another doctor who will. In so

               doing, Purdue exerted undue, unfair, and improper influence over prescribers

               who face pressure to accede to the resulting demands.

           o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

               Management, which taught that dose escalations are “sometimes necessary,”

               even indefinitely high ones, which suggested that high dose opioids are safe and

               appropriate and did not disclose the risks from high dose opioids. This

               publication is still available online.

           o Purdue sponsored APF’s Treatment Options: A Guide for People Living with

               Pain (2007), which taught patients that opioids have “no ceiling dose” and are

               therefore the most appropriate treatment for severe pain. The guide also claimed

               that some patients “need” a larger dose of the drug, regardless of the dose

               currently prescribed. This language fails to disclose heightened risks at elevated

               doses.

           o Treatment Options, also taught that opioids differ from NSAIDs in that they have

               “no ceiling dose” and are therefore the most appropriate treatment for severe

               pain. Treatment Options continued, warning that risks of NSAIDs increase if

               “taken for more than a period of months,” with no corresponding warning about



                                                 190
           opioids. The publication attributed 10,000 to 20,000 deaths annually to NSAID

           overdose.

       o Purdue sponsored a CME issued by the American Medical Association in 2003,

           2007, 2010, and 2013. The CME, Overview of Management Options, was edited

           by KOL Dr. Russell Portenoy, among others, and taught that other drugs, but not

           opioids, are unsafe at high doses. The 2013 version is still available for CME

           credit.

       o Overview of Management Options also taught NSAIDs and other drugs, but not

           opioids, are unsafe at high doses.

       o Purdue sponsored APF’s Exit Wounds (2009), which omits warnings of the risk

           of interactions between opioids and benzodiazepines, which would increase

           fatality risk. Exit Wounds also contained a lengthy discussion of the dangers of

           using alcohol to treat chronic pain but did not disclose dangers of mixing

       o Purdue sales representatives told prescribers that opioids were just as effective

           for treating patients long-term and omitted any discussion that increased

           tolerance would require increasing, and increasingly dangerous, doses.

       o Purdue sales representatives told prescribers that NSAIDs were more toxic than

           opioids.

   Janssen:

       o Janssen sponsored a patient education guide entitled Finding Relief: Pain

           Management for Older Adults (2009), which its personnel reviewed and

           approved and its sales force distributed. This guide listed dose limitations as

           “disadvantages” of other pain medicines but omitted any discussion of risks of

           increased doses from opioids. The publication also falsely claimed that it is a

           “myth” that “opioid doses have to be bigger over time.”



                                           191
       o Finding Relief: Pain Management for Older Adults also described the advantages

          and disadvantages of NSAIDs on one page, and the “myths/facts” of opioids on

          the facing page. The disadvantages of NSAIDs are described as involving

          “stomach upset or bleeding,” “kidney or liver damage if taken at high doses or

          for a long time,” “adverse reactions in people with asthma,” and “can increase

          the risk of heart attack and stroke.” The only adverse effects of opioids listed are

          “upset stomach or sleepiness,” which the brochure claims will go away, and

          constipation.

       o Janssen sponsored APF’s Exit Wounds (2009), which omits warnings of the risk

          of interactions between opioids and benzodiazepines. Janssen’s label for

          Duragesic, however, states that use with benzodiazepines “may cause respiratory

          depression, [low blood pressure], and profound sedation or potentially result in

          coma. Exit Wounds also contained a lengthy discussion of the dangers of using

          alcohol to treat chronic pain but did not disclose dangers of mixing alcohol and

          opioids.

       o Janssen sales representatives told prescribers that Nucynta was not an opioid,

          making it a good choice for chronic pain patients who previously were unable to

          continue opioid therapy due to excessive side effects. This statement was

          misleading because Nucynta is an opioid and has the same effects as other

          opioids.

   Cephalon:

       o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with

          Pain (2007), which claims that some patients “need” a larger dose of their

          opioid, regardless of the dose currently prescribed.

       o Treatment Options, also taught patients that opioids differ from NSAIDs in that

          they have “no ceiling dose” and are therefore the most appropriate treatment for

                                          192
                    severe pain.     Treatment Options continued, warning that risks of NSAIDs

                    increase if “taken more than a period of months.” With no corresponding

                    warning about opioids.     The publication attributed 10,000 to 20,000 deaths

                    annually to NSAID overdose.

               o Cephalon sponsored a CME written by KOL Dr. Lynn Webster, Optimizing

                    Opioid Treatment for Breakthrough Pain, which was offered online by

                    Medscape, LLC from September 28, 2007 through December 15, 2008. The

                    CME taught that non-opioid analgesics and combination opioids that include

                    aspirin and acetaminophen are less effective to treat breakthrough pain because

                    of dose limitations.

               o Cephalon sales representatives assured prescribers that opioids were safe, even at

                    high doses.

               o Cephalon sales representatives told prescribers that NSAIDs were more toxic

                    than opioids.

               o “[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for

                    whom it could have life-threatening results.”304

           Endo:

               o Endo sponsored a website, painknowledge.com, through APF and NIPC, which

                    claimed in 2009 that opioids may be increased until “you are on the right dose of

                    medication for your pain,” and once that occurs, further dose increases would not

                    occur. Endo funded the site, which was a part of Endo’s marketing plan, and

                    tracked visitors to it.

               o Through painknowledge.com Endo distributed a flyer called “Pain: Opioid

                    Therapy.” This publication included a list of adverse effects from opioids that

                    omitted significant adverse effects like hyperalgesia, immune and hormone

304
      Id.

                                                    193
              dysfunction, cognitive impairment, tolerance, dependence, addiction, and death.

              Endo continued to provide funding for this website through 2012, and closely

              tracked unique visitors to it.

          o Endo provided grants to APF to distribute Exit Wounds (2009), which omitted

              warnings of the risk of interactions between opioids and benzodiazepines, which

              would increase fatality risk. Exit Wounds also contained a lengthy discussion of

              the dangers of using alcohol to treat chronic pain but did not disclose dangers of

              mixing alcohol and opioids.

          o Endo sales representatives told prescribers that NSAIDs were more toxic than

              opioids.

          o Endo distributed a patient education pamphlet edited by KOL Dr. Russell

              Portenoy titled Understanding Your Pain: Taking Oral Opioid Analgesics. In

              Q&A format, it asked: “If I take the opioid now, will it work later when I really

              need it?” The response was: “The dose can be increased . . . . You won’t ‘run

              out’ of pain relief.”

          o Endo distributed a “case study” to prescribers titled Case Challenges in Pain

              Management: Opioid Therapy for Chronic Pain. The study cites an example,

              meant to be representative, of a patient “with a massive upper gastrointestinal

              bleed believed to be related to his protracted use of NSAIDs” (over eight years),

              and recommends treating with opioids instead.

       425. These misrepresentations, and the legion of other representations made by the

RICO Defendants and members of Opioid Marketing Enterprise all furthered the common

purpose and fraudulent scheme of the Opioid Marketing Enterprise.              But they were

demonstrably false, as confirmed by investigations and enforcement actions against the RICO

Marketing Defendants.



                                               194
            426. In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

Purdue admitted that its promotion of OxyContin was misleading and inaccurate,

misrepresented the risk of addiction and was unsupported by science. The Order adopting the

guilty pleas provide:




            427. Additionally, Michael Friedman (“Friedman”), the company’s president, pled

guilty to a misbranding charge and agreed to pay $19 million in fines; Howard R. Udell

(“Udell”), Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and Paul

D. Goldenheim (“Goldenheim”), its former medical director, pled guilty as well and agreed to

pay $7.5 million in fines.305




305
      Id.

                                                  195
       428. In a statement announcing the guilty plea, John Brownlee (“Brownlee”), the U.S.

Attorney for the Western District of Virginia, stated:
       Purdue claimed it had created the miracle drug – a low risk drug that could
       provide long acting pain relief but was less addictive and less subject to abuse.
       Purdue’s marketing campaign worked, and sales for OxyContin skyrocketed –
       making billions for Purdue and millions for its top executives.

       But OxyContin offered no miracles to those suffering in pain. Purdue’s claims
       that OxyContin was less addictive and less subject to abuse and diversion were
       false – and Purdue knew its claims were false. The result of their
       misrepresentations and crimes sparked one of our nation’s greatest prescription
       drug failures. . . . OxyContin was the child of marketers and bottom line financial
       decision making.306

       429. Brownlee characterized Purdue’s criminal activity as follows:
             First, Purdue trained its sales representatives to falsely inform health care
        providers that it was more difficult to extract the oxycodone from an OxyContin
        tablet for the purpose of intravenous abuse. Purdue ordered this training even
        though its own study showed that a drug abuser could extract approximately
        68% of the oxycodone from a single 10 mg OxyContin tablet by simply
        crushing the tablet, stirring it in water, and drawing the solution through cotton
        into a syringe.

            Second, Purdue falsely instructed its sales representatives to inform health
        care providers that OxyContin could create fewer chances for addiction than
        immediate-release opioids.

            Third, Purdue sponsored training that falsely taught Purdue sales
        supervisors that OxyContin had fewer “peak and trough” blood level effects
        than immediate-release opioids resulting in less euphoria and less potential for
        abuse than short-acting opioids.

             Fourth, Purdue falsely told certain health care providers that patients could
        stop therapy abruptly without experiencing withdrawal symptoms and that
        patients who took OxyContin would not develop tolerance to the drug.

            And fifth, Purdue falsely told health care providers that OxyContin did not
        cause a “buzz” or euphoria, caused less euphoria, had less addiction potential,


306
   Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States
Attorney John Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives
for Illegally Misbranding OxyContin (May 10, 2007),
https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.

                                              196
           had less abuse potential, was less likely to be diverted than immediate-release
           opioids, and could be used to “weed out” addicts and drug seekers.307
          430. Purdue pled guilty to illegally misbranding OxyContin in an effort to mislead and

defraud physicians and consumers, while Friedman, Udell and Goldenheim pled guilty to the

misdemeanor charge of misbranding OxyContin for introducing misbranded drugs into

interstate commerce in violation of 21 U.S.C. §§ 331(a), 333(a)(1)-(2) and 352(a).

          431. Similarly, Endo’s marketing of Purdue was criticized and punished by the FDA

and New York Attorney General.

          432. On February 18, 2017, the State of New York announced a settlement with Endo
requiring it “to cease all misrepresentations regarding the properties of Opana ER [and] to

describe accurately the risk of addiction to Opana ER.”308 In the Assurance of Discontinuance

that effectuated the settlement, the State of New York stated that Endo knew about the risks

arising from the reformulated Opana ER even before it received FDA approval. Among other

things, the investigation concluded that:

         Endo improperly marketed Opana ER as designed to be crush resistant, when Endo’s

          own studies dating from 2009 and 2010 showed that the pill could be crushed and

          ground;

         Endo improperly instructed its sales representatives to diminish and distort the risks

          associated with Opana ER, including the serious danger of addiction; and

         Endo made unsupported claims comparing Opana ER to other opioids and failed to

          disclose accurate information regarding studies addressing the negative effects of Opana

          ER.309


307
    Id.
308
    Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces
Settlement With Endo Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing Of
Prescription Opioid Drugs (Mar. 3, 2016), https://ag.ny.gov/press-release/ag-schneiderman-
announces-settlement-endo-health-solutions-inc-endo-pharmaceuticals (last accessed on March
9, 2018).
309
    Id.

                                                197
         433. The 2017 settlement also identified and discussed a February 2013 communication

from a consultant hired by Endo to the company, in which the consultant concluded that “‘[t]he

initial data presented do not necessarily establish that the reformulated Opana ER is tamper

resistant.’” The same consultant also reported that the distribution of the reformulated Opana

ER had already led to higher levels of abuse of the drug via injection.310

         434. The Office of the Attorney General of New York also revealed that the “managed

care dossier” Endo provided to formulary committees of healthcare plans and pharmacy benefit

managers misrepresented the studies that had been conducted on Opana ER. According to

Endo’s vice president for pharmacovigilance and risk management, the dossier was presented as

a complete compendium of all research on the drug. However, it omitted certain studies: Study

108 (completed in 2009) and Study 109 (completed in 2010), which showed that reformulated

Opana ER could be ground and chewed.

         435. The settlement also detailed Endo’s false and misleading representations about the

non-addictiveness of opioids and Opana. For example, until April 2012, Endo’s website for the

drug, www.opana.com, contained the following representation: “‘Most healthcare providers

who treat patients with pain agree that patients treated with prolonged opioid medicines usually

do not become addicted.’”311       However, Endo neither conducted nor possessed a survey

demonstrating that most healthcare providers who treat patients with pain agree with that
representation.

         436. The Office of the Attorney General of New York also disclosed the following

facts that it determined to violate Opana’s obligations to truthfully market its products:


                       a.   Training materials provided by Endo to sales representatives stated:

                       “‘Symptoms of withdrawal do not indicate addiction.’”312              This


310
    Id. at 6.
311
    Id.
312
    Id. at 7.

                                                198
                      representation is inconsistent with the diagnosis of opioid-use disorder as

                      provided in the Diagnostic and Statistical Manual of Mental Disorders by

                      the American Psychiatric Association (Fifth Edition).

                      b.    Endo trained its sales representatives to falsely distinguish addiction

                      from “pseudoaddiction,” which it defined as a condition in which patients

                      exhibit drug-seeking behavior that resembles but is not the same as

                      addiction. Endo’s vice president for pharmacovigilance and risk

                      management testified that he was not aware of any research validating the

                      concept of pseudoaddiction.

       437. On June 9, 2017, the FDA asked Endo to voluntarily cease sales of Opana ER

after determining that the risks associated with its abuse outweighed the benefits. According to

Dr. Janet Woodcock, director of the FDA’s Center for Drug Evaluation and Research, the risks

include “several serious problems,” including “outbreaks of HIV and Hepatitis C from sharing

the drug after it was extracted by abusers” and “”a serious disease outbreak.”313 If Endo did not

comply, the FDA stated that it “intends to take steps to formally require its removal by

withdrawing approval.”314

       438. Like Purdue and Endo, Janssen was the subject of an FDA enforcement action that

identified its marketing statements as misrepresentations. For example:
       439. On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they



313
    FDA requests removal of Opana ER for risks related to abuse, June 8, 2017,
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
314
    Id.

                                                199
contain misrepresentations of safety information, broaden Duragesic’s indication, contain

unsubstantiated claims, and lack fair balance.”315

       440. The     March     30,   2000   letter    identified   specific   violations,   including

misrepresentations that Duragesic had a low potential for abuse:


       You present the claim, “Low abuse potential!” This claim suggests that Duragesic
       has less potential for abuse than other currently available opioids. However, this
       claim has not been demonstrated by substantial evidence. Furthermore, this claim
       is contradictory to information in the approved product labeling (PI) that states,
       “Fentanyl is a Schedule II controlled substance and can produce drug dependence
       similar to that produced by morphine.” Therefore, this claim is false or
       misleading.316

       441. The March 30, 2000 letter also stated that the promotional materials represented

that Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”317 Specifically, the FDA stated that Janssen was

marketing Duragesic for indications other than the treatment of chronic pain that cannot

otherwise be managed, for which it was approved:


       You present the claim, “It’s not just for end stage cancer anymore!” This claim
       suggests that Duragesic can be used for any type of pain management. However,
       the PI for Duragesic states, “Duragesic (fentanyl transdermal system) is indicated
       in the management of chronic pain in patients who require continuous opioid
       analgesia for pain that cannot be managed by lesser means . . . .” Therefore, the
       suggestion that Duragesic can be used for any type of pain management promotes
       Duragesic[] for a much broader use than is recommended in the PI, and thus, is
       misleading. In addition, the suggestion that Duragesic can be used to treat any
       kind of pain is contradictory to the boxed warning in the PI. Specifically, the PI
       states,

       BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION
       COULD OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL SYSTEM)
       IS CONTRAINDICATED:

315
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia
Chianese, Janssen Pharmaceutica (Mar. 30, 2000) at 2.
316
    Id.
317
    Id.

                                               200
       In the management of acute or post-operative pain, including use in outpatient
       surgeries . . . .318

       442. The March 30, 2000 letter also stated Janssen failed to adequately present

“contraindications, warnings, precautions, and side effects with a prominence and readability

reasonably comparable to the presentation of information relating to the effectiveness of the

product.”319

       443. On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA
explained that the “homemade” promotional pieces were “false or misleading because they

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unsubstantiated claims, and lack fair balance.”320

       444. The     March     30,   2000   letter    identified   specific   violations,   including

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       has less potential for abuse than other currently available opioids. However, this
       claim has not been demonstrated by substantial evidence. Furthermore, this claim
       is contradictory to information in the approved product labeling (PI) that states,
       “Fentanyl is a Schedule II controlled substance and can produce drug dependence
       similar to that produced by morphine.” Therefore, this claim is false or
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       445. The March 30, 2000 letter also stated that the promotional materials represented

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318
    Id. at 2-3.
319
    Id. at 3 (emphasis in original).
320
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia
Chianese, Janssen Pharmaceutica (Mar. 30, 2000) at 2.
321
    Id.
322
    Id.

                                               201
marketing Duragesic for indications other than the treatment of chronic pain that cannot

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       suggests that Duragesic can be used for any type of pain management. However,
       the PI for Duragesic states, “Duragesic (fentanyl transdermal system) is indicated
       in the management of chronic pain in patients who require continuous opioid
       analgesia for pain that cannot be managed by lesser means . . . .” Therefore, the
       suggestion that Duragesic can be used for any type of pain management promotes
       Duragesic[] for a much broader use than is recommended in the PI, and thus, is
       misleading. In addition, the suggestion that Duragesic can be used to treat any
       kind of pain is contradictory to the boxed warning in the PI. Specifically, the PI
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          BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION
          COULD OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL SYSTEM)
          IS CONTRAINDICATED:

          In the management of acute or post-operative pain, including use in outpatient
          surgeries . . . .323

          446. The March 30, 2000 letter also stated Janssen failed to adequately present

“contraindications, warnings, precautions, and side effects with a prominence and readability

reasonably comparable to the presentation of information relating to the effectiveness of the

product”:
       Although this piece contains numerous claims for the efficacy and safety of
       Duragesic, you have not presented any risk information concerning the boxed
       warnings, contraindications, warnings, precautions, or side effects associated with
       Duragesic’s use . . . . Therefore, this promotional piece is lacking in fair balance,
       or otherwise misleading, because it fails to address important risks and restrictions
       associated with Duragesic therapy.324

          447. On September 2, 2004, the U.S. Department of Health and Human Services

(“HHS”) sent Janssen a warning letter concerning Duragesic due to “false or misleading claims

about the abuse potential and other risks of the drug, and . . . unsubstantiated effectiveness




323
      Id. at 2-3.
324
      Id. at 3 (emphasis in original).

                                               202
claims for Duragesic,” including, specifically, “suggesting that Duragesic has a lower potential

for abuse compared to other opioid products.”

       448. The September 2, 2004 letter warned Janssen regarding its claims that Duragesic

had a low reported rate of mentions in the Drug Abuse Warning Network (“DAWN”) as

compared to other opioids. The letter stated that the claim was false or misleading because the

claim was not based on substantial data and because the lower rate of mentions was likely

attributable to Duragesic’s lower frequency of use compared to other opioids listed in DAWN:


            The file card presents the prominent claim, “Low reported rate of mentions
        in DAWN data,” along with Drug Abuse Warning Network (DAWN) data
        comparing the number of mentions for Fentanyl/combinations (710 mentions) to
        other listed opioid products, including Hydrocodone/combinations (21,567
        mentions), Oxycodone/combinations (18,409 mentions), and Methadone (10,725
        mentions). The file card thus suggests that Duragesic is less abused than other
        opioid drugs.

            This is false or misleading for two reasons. First, we are not aware of
        substantial evidence or substantial clinical experience to support this
        comparative claim. The DAWN data cannot provide the basis for a valid
        comparison among these products. As you know, DAWN is not a clinical trial
        database. Instead, it is a national public health surveillance system that monitors
        drug-related emergency department visits and deaths. If you have other data
        demonstrating that Duragesic is less abused, please submit them.

             Second, Duragesic is not as widely prescribed as other opioid products. As
        a result, the relatively lower number of mentions could be attributed to the lower
        frequency of use, and not to a lower incidence of abuse. The file card fails to
        disclose this information.325
       449. The September 2, 2004 letter also detailed a series of unsubstantiated false or

misleading claims regarding Duragesic’s effectiveness. The letter concluded that various claims

made by Janssen were insufficiently supported, including:




325
    Warning Letter from Thomas W. Abrams, U.S. Department of Health and Human Services, to
Ajit Shetty, Janssen Pharmaceutica, Inc. (Sept. 2, 2004),
https://www.pharmamedtechbi.com/~/media/Images/Publications/Archive/The%20Pink%20She
et/66/038/00660380018/040920_ duragesic_letter.pdf at 2.

                                                203
         “‘Demonstrated effectiveness in chronic back pain with additional patient benefits, . . .

          86% of patients experienced overall benefit in a clinical study based on: pain control,

          disability in ADLs, quality of sleep.’”

         “‘All patients who experienced overall benefit from DURAGESIC would recommend it

          to others with chronic low back pain.’”

         “‘Significantly reduced nighttime awakenings.’”

         “‘Significant improvement in disability scores as measured by the Oswestry Disability

          Questionnaire and Pain Disability Index.’”

         “‘Significant improvement in physical functioning summary score.’”

         “‘Significant improvement in social functioning.’”326

          450. In addition, the September 2, 2004 letter identified “outcome claims [that] are

misleading because they imply that patients will experience improved social or physical

functioning or improved work productivity when using Duragesic.” The claims include “‘1,360

loaves . . . and counting,’ ‘[w]ork, uninterrupted,’ ‘[l]ife, uninterrupted,’ ‘[g]ame,

uninterrupted,’ ‘[c]hronic pain relief that supports functionality,’ ‘[h]elps patients think less

about their pain,’ and ‘[i]mprove[s] . . . physical and social functioning.’” The September 2,

2004 letter stated: “Janssen has not provided references to support these outcome claims. We

are not aware of substantial evidence or substantial clinical experience to support these
claims.”327

          451. On July 15, 2005, the FDA issued a public health advisory warning doctors of

deaths resulting from the use of Duragesic and its generic competitor, manufactured by Mylan

N.V. Plaintiffs are informed and believe that the advisory noted that the FDA had been

“‘examining the circumstances of product use to determine if the reported adverse events may

be related to inappropriate use of the patch’” and noted the possibility “that patients and



326
      Id. at 2-3.
327
      Id. at 3.

                                                    204
physicians might be unaware of the risks” of using the fentanyl transdermal patch, which is a

potent opioid analgesic meant to treat chronic pain that does not respond to other painkillers.328

        452. Finally, Cephalon has been the subject of investigations and enforcement actions

for is misrepresentations concerning Actiq. For example:

        453. In October 2000, Cephalon acquired the worldwide product rights to Actiq and

began marketing and selling Actiq in the United States. The FDA explicitly stated that Actiq

“must not be used in opioid non-tolerant patients,” was contraindicated for the management of

acute or postoperative pain, could be deadly to children, and was “intended to be used only in

the care of opioid-tolerant cancer patients and only by oncologists and pain specialists who are

knowledgeable of and skilled in the use of Schedule II opioids to treat cancer pain.”329 The FDA

also required that Actiq be provided only in compliance with a strict risk management program

that explicitly limited the drug’s direct marketing to the approved target audiences, defined as

oncologists, pain specialists, their nurses and office staff.330

        454. Cephalon purchased the rights to Fentora, an even faster-acting tablet formulation

of fentanyl, from Cima Labs, and submitted a new drug application to the FDA in August 2005.

In September 2006, Cephalon received FDA approval to sell this faster-acting version of Actiq;

but once again, concerned about the power and risks inherent to fentanyl, the FDA limited

Fentora’s approval to the treatment of BTP in cancer patients who were already tolerant to
around-the-clock opioid therapy for their underlying persistent cancer pain. Cephalon began

marketing and selling Fentora in October 2006.

        455. Due to the FDA’s restrictions, Actiq’s consumer base was limited, as was its

potential for growing revenue. In order to increase its revenue and market share, Cephalon


328
    New Fentanyl Warnings: More Needed to Protect Patients, Institute for Safe Medication
Practices, August 11, 2005, https://www.ismp.org/newsletters/acutecare/articles/20050811.asp
329
    Id.
330
    See John Carreyrou, Narcotic “Lollipop” Becomes Big Seller Despite FDA Curbs, Wall St. J.
(Nov. 3, 2006), https://www.opiates.com/media/narcotic-lollipop-becomes-big-seller-despite-
fdacurbs/.

                                                  205
needed to find a broader audience and thus began marketing its lollipop to treat headaches, back

pain, sports injuries and other chronic non-cancer pain, targeting non-oncology practices,

including, but not limited to, pain doctors, general practitioners, migraine clinics,

anesthesiologists and sports clinics. It did so in violation of applicable regulations prohibiting

the marketing of medications for off-label use and indirect contravention of the FDA’s strict

instructions that Actiq be prescribed only to terminal cancer patients and by oncologists and

pain management doctors experienced in treating cancer pain.

       456. Beginning in or about 2003, former Cephalon employees filed four whistleblower

lawsuits claiming the company had wrongfully marketed Actiq for unapproved off-label uses.

On September 29, 2008, Cephalon finalized and entered into a corporate integrity agreement

with the Office of the Inspector General of HHS and agreed to pay $425 million in civil and

criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and

Provigil).
       According to a DOJ press release, Cephalon trained sales representatives to disregard

restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses. Specifically, the DOJ stated:

       From 2001 through at least 2006, Cephalon was allegedly promoting [Actiq] for
       non-cancer patients to use for such maladies as migraines, sickle-cell pain crises,
       injuries, and in anticipation of changing wound dressings or radiation therapy.
       Cephalon also promoted Actiq for use in patients who were not yet opioid-
       tolerant, and for whom it could have life-threatening results.331

       457. Then-acting U.S. Attorney Laurie Magid commented on the dangers of

Cephalon’s unlawful practices:




331
   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425
Million For Off-Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.

                                               206
            “This company subverted the very process put in place to protect the public from harm,

            and put patients’ health at risk for nothing more than boosting its bottom line. People

            have an absolute right to their doctors’ best medical judgment. They need to know the

            recommendations a doctor makes are not influenced by sales tactics designed to convince

            the doctor that the drug being prescribed is safe for uses beyond what the FDA has

            approved.”332

            458. Upon information and belief, documents uncovered in the government’s
investigations confirm that Cephalon directly targeted non-oncology practices and pushed its

sales representatives to market Actiq for off-label use. For instance, the government’s

investigations confirmed:


            a.   Cephalon instructed its sales representatives to ask non-cancer doctors whether

they have the potential to treat cancer pain. Even if the doctor answered “no,” a decision tree

provided by Cephalon instructed the sales representatives to give these physicians free Actiq

coupons;

            b.   Cephalon targeted neurologists in order to encourage them to prescribe Actiq to

patients with migraine headaches;

            c.   Cephalon sales representatives utilized the assistance of outside pain management

specialists when visiting non-cancer physicians to pitch Actiq. The pain management specialist

would falsely inform the physician that Actiq does not cause patients to experience a “high” and

carries a low risk of diversion toward recreational use;

            d.   Cephalon set sales quotas for its sales and marketing representatives that could not

possibly have been met solely by promoting Actiq for its FDA-approved indication;


332
      Id.

                                                  207
       e.    Cephalon promoted the use of higher doses of Actiq than patients required by

encouraging prescriptions of the drug to include larger-than-necessary numbers of lozenges with

unnecessarily high doses of fentanyl; and

       f.    Cephalon promoted Actiq for off-label use by funding and controlling CME

seminars that promoted and misrepresented the efficacy of the drug for off-label uses such as

treating migraine headaches and for patients not already opioid-tolerant.333

       459. The FDA’s letters and safety alerts, the DOJ and state investigations, and the
massive settlement seemed to have had little impact on Cephalon as it continued its deceptive

marketing strategy for both Actiq and Fentora.

       460. On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid-tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.”334

       461. Nevertheless, in 2008, Cephalon pushed forward to expand the target base for

Fentora and filed a supplemental drug application requesting FDA approval of Fentora for the

treatment of non-cancer BTP. In the application and supporting presentations to the FDA,

Cephalon admitted both that it knew the drug was heavily prescribed for off-label use and that

the drug’s safety for such use had never been clinically evaluated.335 An FDA advisory

committee noted that Fentora’s existing risk management program was ineffective and stated

333
    John Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds, Wall St. J., Nov.
21, 2006, at B1 (hereinafter “Carreyrou, Cephalon Used Improper Tactics”).
334
    Press Release, U.S. Food & Drug Administration, Public Health Advisory: Important
Information for the Safe Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProvide
rs/ucm051273.htm.
335
    FENTORA (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life Support Drugs
and
Drug Safety and Risk Management Advisory Committee, U.S. Food & Drug Administration
(May 6, 2008), https://www.fda.gov/ohrms/dockets/ ac/08/slides/2008-4356s2-03-Cephalon.pdf.

                                                 208
that Cephalon would have to institute a risk evaluation and mitigation strategy for the drug

before the FDA would consider broader label indications. In response, Cephalon revised

Fentora’s label and medication guide to add strengthened warnings.

       462. But in 2009, the FDA once again informed Cephalon that the risk management

program was not sufficient to ensure the safe use of Fentora for already approved indications.

       463. On March 26, 2009, the FDA warned Cephalon against its misleading advertising

of Fentora (“Warning Letter”). The Warning Letter described a Fentora Internet advertisement

as misleading because it purported to broaden “the indication for Fentora by implying that any

patient with cancer who requires treatment for breakthrough pain is a candidate for Fentora . . .

when this is not the case.”336 Rather, Fentora was only indicated for those who were already

opioid tolerant. It further criticized Cephalon’s other direct Fentora advertisements because they

did not disclose the risks associated with the drug.

       464. Flagrantly disregarding the FDA’s refusal to approve Fentora for non-cancer BTP

and its warning against marketing the drug for the same, Cephalon continued to use the same

sales tactics to push Fentora as it did with Actiq.

       465. The misrepresentations disseminated by members of the Opioid Marketing

Enterprise, and the RICO Marketing Defendants, caused The County and Utah consumers to

pay for excessive opioid prescriptions, suffer injuries and losses, and to incur costs associated
with the opioid epidemic caused by the Opioid Marketing Enterprise.

       466. The RICO Marketing Defendants alone could not have accomplished the purpose

of the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who

were perceived as “neutral” and more “scientific” than the RICO Defendants themselves.

Without these misrepresentations, the Opioid Marketing Enterprise could not have achieved its

common purpose.


336
   Letter from Michael Sauers, Regulatory Review Officer, Division of Drug Marketing,
Advertising and Communications, to Carole S. Marchione, Senior Director and Group Leader,
Regulatory Affairs (March 26, 2009)

                                                 209
       467. The impact of the Opioid Marketing Enterprise’s scheme is still in place – i.e., the

opioids continue to be prescribed and used for chronic pain throughout the State of Utah, and

the epidemic continues to injure The County, and consume the resources of The County’s and

Utah’s health care and law enforcement systems.

       468. The foregoing evidences that the RICO Marketing Defendants, the Front Groups,

and the KOLs were each willing participants in the Opioid Marketing Enterprise, had a common

purpose and interest in the object of the scheme, and functioned within a structure designed to

effectuate the Enterprise’s purpose.

                   B. CONDUCT OF THE OPIOID MARKETING ENTERPRISE.

       469. During time period described in this Complaint, from approximately the late 1990s

to the present, the RICO Marketing Defendants exerted control over the Opioid Marketing

Enterprise and participated in the operation or management of the affairs of the Opioid

Marketing Enterprise, directly or indirectly, in the following ways:


       a.    Creating a body of deceptive, misleading and unsupported medical and popular

literature about opioids that (a) understated the risks and overstated the benefits of long-term use;

(b) appeared to be the result of independent, objective research; and (c) was thus more likely to

be relied upon by physicians, patients, and payors;

       b.    Creating a body of deceptive, misleading and unsupported electronic and print

advertisements about opioids that (a) understated the risks and overstated the benefits of long-

term use; (b) appeared to be the result of independent, objective research; and (c) was thus more

likely to be relied upon by physicians, patients, and payors;

       c.    Creating a body of deceptive, misleading and unsupported sales and promotional

training materials about opioids that (a) understated the risks and overstated the benefits of long-



                                                210
term use; (b) appeared to be the result of independent, objective research; and (c) was thus more

likely to be relied upon by physicians, patients, and payors;

       d.    Creating a body of deceptive, misleading and unsupported CMEs and speaker

presentations about opioids that (a) understated the risks and overstated the benefits of long-term

use; (b) appeared to be the result of independent, objective research; and (c) was thus more likely

to be relied upon by physicians, patients, and payors;

       e.    Selecting, cultivating, promoting and paying KOLs based solely on their

willingness to communicate and distribute the RICO Defendants’ messages about the use of

opioids for chronic pain;

       f.    Providing substantial opportunities for KOLs to participate in research studies on

topics the RICO Defendants suggested or chose, with the predictable effect of ensuring that

many favorable studies appeared in the academic literature;

       g.    Paying KOLs to serve as consultants or on the RICO Defendants’ advisory boards,

on the advisory boards and in leadership positions on Front Groups, and to give talks or present

CMEs, typically over meals or at conferences;

       h.    Selecting, cultivating, promoting, creating and paying Front Groups based solely on

their willingness to communicate and distribute the RICO Defendants’ messages about the use of

opioids for chronic pain;

       i.    Providing substantial opportunities for Front Groups to participate in and/or publish

research studies on topics the RICO Defendants suggested or chose (and paid for), with the

predictable effect of ensuring that many favorable studies appeared in the academic literature;

       j.    Paying significant amounts of money to the leaders and individuals associated with

Front Groups;



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       k.       Donating to Front Groups to support talks or CMEs, that were typically presented

over meals or at conferences;

       l.       Disseminating many of their false, misleading, imbalanced, and unsupported

statements through unbranded materials that appeared to be independent publications from Front

Groups;

       m.       Sponsoring CME programs put on by Front Groups that focused exclusively on the

use of opioids for chronic pain;

       n.       Developing and disseminating pro-opioid treatment guidelines with the help of the

KOLs as authors and promoters, and the help of the Front Groups as publishers, and supporters;

       o.       Encouraging Front Groups to disseminate their pro-opioid messages to groups

targeted by the RICO Defendants, such as veterans and the elderly, and then funded that

distribution;

       p.       Concealing their relationship to and control of Front Groups and KOLs from the

The County and the public at large; and

       q.       Intending that Front Groups and KOLs would distribute through the U.S. mail and

interstate wire facilities, promotional and other materials that claimed opioids could be safely

used for chronic pain.

       470. The Front Groups also participated in the conduct of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:


       a.       The Front Groups promised to, and did, make representations regarding opioids and

the RICO Marketing Defendants’ drugs that were consistent with the RICO Marketing

Defendants’ messages;



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        b.   The Front Groups distributed, through the U.S. Mail and interstate wire facilities,

promotional and other materials which claimed that opioids could be safely used for chronic pain

without addiction, and misrepresented the benefits of using opioids for chronic pain outweighed

the risks;

        c.   The Front Groups echoed and amplified messages favorable to increased opioid

use—and ultimately, the financial interests of the RICO Marketing Defendants;

        d.   The Front Groups issued guidelines and policies minimizing the risk of opioid

addiction and promoting opioids for chronic pain;

        e.   The Front Groups strongly criticized the 2016 guidelines from the Center for

Disease Control and Prevention (CDC) that recommended limits on opioid prescriptions for

chronic pain; and

        f.   The Front Groups concealed their connections to the KOLs and the RICO

Marketing Defendants.

        471. The RICO Marketing Defendants’ Front Groups, “with their large numbers and

credibility with policymakers and the public—have ‘extensive influence in specific disease

areas.’” The RICO Marketing Defendants’ larger Front Groups “likely have a substantial effect

on policies relevant to their industry sponsors.”337 “By aligning medical culture with industry
goals in this way, many of the groups described in this report may have played a significant role

in creating the necessary conditions for the U.S. opioid epidemic.”338

        472. The KOLs also participated, on information and belief, in the conduct of the

affairs of the Opioid Marketing Enterprise, directly or indirectly, in the following ways:

337
    Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third
Party Advocacy Groups, U.S. Senate Homeland Security & Governmental Affairs Committee,
Ranking Members’ Office, February 12, 2018 https://www.hsdl.org/?abstract&did=808171
(“Fueling an Epidemic”), at 1.
338
    Id. 2.

                                                213
        a.   The KOLs promised to, and did, make representations regarding opioids and the

RICO Marketing Defendants’ drugs that were consistent with the RICO Marketing Defendants’

messages themselves;

        b.   The KOLs distributed, through the U.S. Mail and interstate wire facilities,

promotional and other materials which claimed that opioids could be safely used for chronic pain

without addiction, and misrepresented the benefits of using opioids for chronic pain outweighed

the risks;

        c.   The KOLs echoed and amplified messages favorable to increased opioid use—and

ultimately, the financial interests of the RICO Marketing Defendants;

        d.   The KOLs issued guidelines and policies minimizing the risk of opioid addiction

and promoting opioids for chronic pain;

        e.   The KOLs strongly criticized the 2016 guidelines from the Center for Disease

Control and Prevention (CDC) that recommended limits on opioid prescriptions for chronic pain;

and

        f.   The KOLs concealed their connections to the Front Groups and the RICO

Defendants, and their sponsorship by the RICO Marketing Defendants.

        473. The scheme devised and implemented by the RICO Marketing Defendants and

members of the Opioid Marketing Enterprise, amounted to a common course of conduct

intended to increase the RICO Marketing Defendants sales from prescription opioids by

encouraging the prescribing and use of opioids for long-term chronic pain. The scheme was a

continuing course of conduct, and many aspects of it continue through to the present.




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                  C. PATTERN OF RACKETEERING ACTIVITY

       474. The RICO Marketing Defendants conducted and participated in the conduct of the

Opioid Marketing Enterprise through a pattern of racketeering activity within the meaning of 18

U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation of 18 U.S.C. §

1341 (mail fraud) and § 1343 (wire fraud).

       475. The RICO Marketing Defendants committed, conspired to commit, and/or aided

and abetted in the commission of at least two predicate acts of racketeering activity (i.e.

violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of
racketeering activity that the RICO Marketing Defendants committed, or aided and abetted in

the commission of, were related to each other, posed a threat of continued racketeering activity,

and therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Marketing Defendants’ regular use of the facilities, services, distribution

channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire

facilities. The RICO Marketing Defendants participated in the scheme to defraud by using mail,

telephones and the Internet to transmit mailings and wires in interstate or foreign commerce.

       476. The pattern of racketeering activity described herein used by the RICO Marketing

Defendants and the Opioid Marketing Enterprise likely involved thousands of separate instances

of the use of the U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid

Marketing Enterprise, including virtually uniform misrepresentations, concealments and
material omissions regarding the beneficial uses and non-addictive qualities for the long-term

treatment of chronic, non-acute and non-cancer pain, with the goal of profiting from increased

sales of the RICO Marketing Defendants’ drugs induced by consumers, prescribers, regulators

and The County’s reliance on the RICO Marketing Defendants’ misrepresentations.

       477. Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern of racketeering




                                               215
activity, through which Defendants, the Front Groups and the KOLs defrauded and intended to

defraud Utah consumers, the Plaintiff, and other intended victims.

       478. In devising and executing the illegal scheme, the RICO Marketing Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts

regarding the safe, non-addictive and effective use of opioids for long-term chronic, non-acute

and non-cancer pain. The RICO Marketing Defendants and members of the Opioid Marketing

Enterprise knew that these representations violated the FDA approved use these drugs, and were

not supported by actual evidence. For the purpose of executing the illegal scheme, the RICO

Marketing Defendants intended that that their common purpose and scheme to defraud would,

and did, use the U.S. Mail and interstate wire facilities, intentionally and knowingly with the

specific intent to advance their illegal scheme.

       479. The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:


       a. Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1341 by sending

           or receiving, or by causing to be sent and/or received, materials via U.S. mail or

           commercial interstate carriers for the purpose of executing the unlawful scheme to

           design, manufacture, market, and sell the prescription opioids by means of false

           pretenses, misrepresentations, promises, and omissions.

       b. Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1343 by

           transmitting and/or receiving, or by causing to be transmitted and/or received,

           materials by wire for the purpose of executing the unlawful scheme to design,

           manufacture, market, and sell the prescription opioids by means of false pretenses,

           misrepresentations, promises, and omissions.


                                                   216
       480. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Utah consumers, prescribers, regulators and The

County.    The RICO Marketing Defendants, Front Groups and KOLs calculated and

intentionally crafted the scheme and common purpose of the Opioid Marketing Enterprise to

ensure their own profits remained high. In designing and implementing the scheme, the RICO

Marketing Defendants understood and intended that those in the distribution chain rely on the

integrity of the pharmaceutical companies and ostensibly neutral third parties to provide

objective and scientific evidence regarding the RICO Marketing Defendants’ products.

       481. By intentionally misrepresenting the risks and benefits of using opioids for chronic

pain, and then subsequently failing to disclose such practices to Utah consumers, prescribers,

regulators and The County, Defendants, the Front Groups and the KOLs engaged in a fraudulent

and unlawful course of conduct constituting a pattern of racketeering activity.

       482. The racketeering activities conducted by the RICO Marketing Defendants, Front

Groups and KOLs amounted to a common course of conduct, with a similar pattern and

purpose, intended to deceive Utah consumers, prescribers, regulators and The County. Each

separate use of the U.S. Mail and/or interstate wire facilities employed by Defendants was

related, had similar intended purposes, involved similar participants and methods of execution,
and had the same results affecting the same victims, including Utah consumers, prescribers,

regulators and The County. The RICO Marketing Defendants have engaged in the pattern of

racketeering activity for the purpose of conducting the ongoing business affairs of the Opioid

Marketing Enterprise.

       483. The RICO Marketing Defendants’ pattern of racketeering activity alleged herein

and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the

RICO Marketing Defendants are distinct from the Opioid Marketing Enterprise.




                                               217
        484. The pattern of racketeering activity alleged herein is continuing as of the date of

this complaint, and, upon information and belief, will continue into the future unless enjoined

by this Court.

        485. Many of the precise dates of the Opioid Marketing Enterprise’s uses of the U.S.

Mail and interstate wire facilities (and corresponding predicate acts of mail and wire fraud) have

been hidden and cannot be alleged without access to the books and records maintained by the

RICO Marketing Defendants, Front Groups, and KOLs.             Indeed, an essential part of the

successful operation of the Opioid Marketing Enterprise alleged herein depended upon secrecy.

However, Plaintiffs have described the occasions on which the RICO Marketing Defendants,

Front Groups, and KOLs disseminated misrepresentations and false statements to Utah

consumers, prescribers, regulators and The County, and how those acts were in furtherance of

the scheme, and do so further below.

        486. The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire

facilities to perpetrate the opioids marketing scheme involved thousands of communications,

publications, representations, statements, electronic transmissions, payments, including, inter

alia:
        a. Marketing materials about opioids, and their risks and benefits, which the RICO

           Marketing Defendants sent to health care providers, transmitted through the internet

           and television, published, and transmitted to Front Groups and KOLs located across

           the country, the State, and The County;

        b. Written representations and telephone calls between the RICO Marketing Defendants

           and Front Groups regarding the misrepresentations, marketing statements and claims

           about opioids, including the non-addictive, safe use of chronic long-term pain

           generally;




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       c. Written representations and telephone calls between the RICO Marketing Defendants

           and KOLs regarding the misrepresentations, marketing statements and claims about

           opioids, including the non-addictive, safe use of chronic long-term pain generally;

       d. E-mails, telephone and written communications between the RICO Marketing

           Defendants and the Front Groups agreeing to or implementing the opioids marketing

           scheme;

       e. E-mails, telephone and written communications between the RICO Marketing

           Defendants and the KOLs agreeing to or implementing the opioids marketing

           scheme;

       f. Communications between the RICO Marketing Defendants, Front Groups and the

           media regarding publication, drafting of treatment guidelines, and the dissemination

           of the same as part of the Opioid Marketing Enterprise;

       g. Communications between the RICO Marketing Defendants, KOLs and the media

           regarding publication, drafting of treatment guidelines, and the dissemination of the

           same as part of the Opioid Marketing Enterprise;

       h. Written and oral communications directed to State agencies, federal and state courts,

           and private insurers throughout the State that fraudulently misrepresented the risks

           and benefits of using opioids for chronic pain; and

       i. Receipts of increased profits sent through the U.S. Mail and interstate wire facilities –

           the wrongful proceeds of the scheme.

       487. In addition to the above-referenced predicate acts, it was foreseeable to the RICO

Marketing Defendants that the Front Groups and the KOLs would distribute publications

through the U.S. Mail and by interstate wire facilities, and, in those publications, claim that the
benefits of using opioids for chronic pain outweighed the risks of doing so.

                                                219
       488. The RICO Marketing Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

       489. To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the

consumers, prescribers, regulators and The County: (1) the fraudulent nature of the RICO

Marketing Defendants’ marketing scheme; (2) the fraudulent nature of statements made by the

RICO Marketing Defendants and by their KOLs, Front Groups and other third parties regarding

the safety and efficacy of prescription opioids; and (3) the true nature of the relationship

between the members of the Opioid Marketing Enterprise.

       490. The RICO Marketing Defendants, and each member of the Opioid Marketing

Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing

Defendants’ fraudulent scheme and participated in the common course of conduct to commit

acts of fraud and indecency in marketing prescription opioids.

       491. Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work, each of

the RICO Marketing Defendants had to agree to implement similar tactics regarding fraudulent

marketing of prescription opioids. This conclusion is supported by the fact that the RICO

Marketing Defendants each financed, supported, and worked through the same KOLs and Front
Groups, and often collaborated on and mutually supported the same publications, CMEs,

presentations, and prescription guidelines.

       492. As described herein, the RICO Marketing Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining significant money

and revenue from the marketing and sale of their highly addictive and dangerous drugs. The

predicate acts also had the same or similar results, participants, victims, and methods of

commission. The predicate acts were related and not isolated events.



                                              220
       493. The RICO Marketing Defendants predicate acts all had the purpose of creating the

opioid epidemic that substantially injured The County’s business and property, while

simultaneously generating billion-dollar revenue and profits for the RICO Marketing

Defendants. The predicate acts were committed or caused to be committed by the RICO

Marketing Defendants through their participation in the Opioid Marketing Enterprise and in

furtherance of its fraudulent scheme.

       494. The RICO Marketing Defendants’ predicate acts and pattern of racketeering

activity were a substantial and foreseeable cause of The County’s injury and the relationship

between the RICO Marketing Defendants’ conduct and The County’s injury is logical and not

speculative. It was foreseeable to the RICO Marketing Defendants that when they fraudulently

marketed highly-addictive and dangerous drugs, that were approved for very limited and

specific uses by the FDA, as non-addictive and safe for off-label uses such as moderate pain,

non-cancer pain, and long-term chronic pain, that the RICO Marketing Defendants would create

an opioid-addiction epidemic that logically, substantially and foreseeably harmed The County.

       495. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined

by this Court. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

                   D. DAMAGES.

                        1. Impact of the Opioid Marketing Enterprise.

       496. As alleged herein, including in Sections A(2) and A(3) of this Complaint, the

impact of the Opioid Diversion Enterprise has been devastating. The State’s and the Plaintiff’s

Community’s opioid prescription rate, the number of pills and other opioids distributed, and the

amount of doses of opioids dispensed far exceeds any legitimate purpose.

       497. Tragically, the State’s and the Plaintiff’s Community’s death rate has increased as
a result of the flood of opioids into the state. The State and the Plaintiff’s Community is

                                              221
plagued by unintentional drug poisonings driven largely by opioid-related overdoses.           A

significant number of the overdoses in the state involve opioids.

       498. The opioid epidemic in the State and the Plaintiff’s Community is one of the

deadlier epidemics, measured by deaths and mortality rates. The death toll in the State is

staggering, overwhelming coroner’s offices across the State.

       499. The opioid epidemic has placed increased budgetary constraints upon, amongst

other things, the public health and medical care expenditures of the State and Plaintiff’s

Community. Opioid addiction is one of the primary reasons citizens of the State and Plaintiff’s

Community seek substance abuse treatment.

       500. Criminal activity associated with the diversion of opioids has increased. This

places increased budgetary costs upon public safety expenses on the State, The County, and

Plaintiff’s Community.

                         2. Relief Sought.

       501. The RICO Marketing Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused The County injury in its business and

property.    The RICO Marketing Defendants’ pattern of racketeering activity logically,

substantially and foreseeably caused an opioid epidemic. The County’s injuries, as described

below, were not unexpected, unforeseen or independent.339 Rather, as Plaintiff alleges, the
RICO Marketing Defendants knew that the opioids were unsuited to treatment of long-term

chronic, non-acute, and non-cancer pain, or for any other use not approved by the FDA, and

knew that opioids were highly addictive and subject to abuse.340 Nevertheless, the RICO

Marketing Defendants engaged in a scheme of deception that utilized the mail and wires as part

of their fraud, in order to increase sales of their opioid products.


339
    Traveler’s Property Casualty Company of America v. Actavis, Inc., 22 Cal. Rptr. 3d 5, 19
(Cal. Ct. App. 2017).
340
    Id.

                                                 222
            502. It was foreseeable and expected that a massive marketing campaign utilized by the

RICO Marketing Defendants that misrepresented the non-addictive and effective use of

prescription opioids for purposes for which they are not suited and not approved by the FDA

would lead to a nationwide opioid epidemic.341 It was also foreseeable and expected that the

RICO Marketing Defendants’ marketing campaign would lead to increased opioid addiction and

overdose.342 The County’s injuries were logically, foreseeable, and substantially caused by the

opioid epidemic that the RICO Marketing Defendants created.

            503. Specifically, the RICO Marketing Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured The County in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic. The County’s injuries, as alleged throughout this complaint, and

expressly incorporated herein by reference, include:
       a. Losses caused by purchasing and/or paying reimbursements for the RICO Marketing

               Defendants’ prescription opioids, that The County would not have paid for or

               purchased but for the RICO Marketing Defendants’ conduct;

            b. Losses caused by the decrease in funding available for The County’s public services

               for which funding was lost because it was diverted to other public services designed

               to address the opioid epidemic;

            c. Costs for providing healthcare and medical care, additional therapeutic, and

               prescription drug purchases, and other treatments for patients suffering from opioid-

               related addiction or disease, including overdoses and deaths;

            d. Costs of training emergency and/or first responders in the proper treatment of drug

               overdoses;


341
      Id.
342
      Id.

                                                  223
e. Costs associated with providing police officers, firefighters, and emergency and/or

   first responders with Naloxone – an opioid antagonist used to block the deadly effects

   of opioids in the context of overdose;

f. Costs associated with emergency responses by police officers, firefighters, and

   emergency and/or first responders to opioid overdoses;

g. Costs for providing mental-health services, treatment, counseling, rehabilitation

   services, and social services to victims of the opioid epidemic and their families;

h. Costs for providing treatment of infants born with opioid-related medical conditions,

   or born addicted to opioids due to drug use by mother during pregnancy;

i. Costs associated with law enforcement and public safety relating to the opioid

   epidemic, including but not limited to attempts to stop the flow of opioids into local

   communities, to arrest and prosecute street-level dealers, to prevent the current opioid

   epidemic from spreading and worsening, and to deal with the increased levels of

   crimes that have directly resulted from the increased homeless and drug-addicted

   population;

j. Costs associated with increased burden on The County’s judicial system, including

   increased jail costs, public defender costs, prosecution costs, security, increased staff,

   and the increased cost of adjudicating criminal matters due to the increase in crime

   directly resulting from opioid addiction;

k. Costs associated with providing care for children whose parents suffer from opioid-

   related disability or incapacitation;

l. Loss of tax revenue due to the decreased efficiency and size of the working

   population in Plaintiffs’ Community;



                                           224
       m. Losses caused by diminished property values in neighborhoods where the opioid

           epidemic has taken root; and

       n. Losses caused by diminished property values in the form of decreased business

           investment and tax revenue.

       504. The County’s injuries were proximately caused by the RICO Marketing

Defendants’ racketeering activities because they were the logical, substantial and foreseeable

cause of The County’s injuries. But for the opioid-addiction epidemic created by the RICO

Marketing Defendants’ conduct, The County would not have lost money or property.
       505. The County’s injuries were directly caused by the RICO Marketing Defendants’

pattern of racketeering activities.

       506. The County is the most directly harmed entity and there is no other Plaintiff better

suited to seek a remedy for the economic harms at issue here.
        507. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.



                            THIRD CLAIM FOR RELIEF
       RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                                18 U.S.C. 1961, et seq.
(Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis, McKesson, Cardinal,
                               and AmerisourceBergen)
                         (The “Opioid Diversion Enterprise”)
       508. Plaintiff, The County, hereby incorporates by reference all other paragraphs of

this Complaint as if fully set forth herein, and further alleges as follows.

       509. The County brings this Claim against the following Defendants, as defined above:

Purdue, Cephalon, Endo, Mallinckrodt, Actavis (the “Manufacturer Defendants”), McKesson,

Cardinal, and AmerisourceBergen (the “Distributor Defendants”) (collectively, for purposes of
this Claim, the “RICO Diversion Defendants”).

                                                 225
       510. The RICO Diversion Defendants conducted and continue to conduct their business

through legitimate and illegitimate means in the form of an association-in-fact enterprise and/or

a legal entity enterprise as defined in 18 U.S.C. § 1961(4). Alternatively, the RICO Diversion

Defendants were members of a legal entity enterprise within the meaning of 18 U.S.C. §

1961(4). Specifically, each of the RICO Diversion Defendants was a member of the Healthcare

Distribution Alliance (the “HDA”)343 which is a distinct legal entity that satisfies the definition

of a RICO enterprise because it is a non-profit corporation and, therefore, and “enterprise”

within the definition set out in 18 U.S.C. § 1961(4). On information and belief, each of the

RICO Diversion Defendants is a member, participant, and/or sponsor of the HDA and utilized

the HDA to conduct the Opioid Diversion Enterprise and to engage in the pattern of

racketeering activity that gives rise to this cause of action. The legal and association-in-fact

enterprises alleged in the previous and subsequent paragraphs are pleaded in the alternative and

are collectively referred to as the “Opioid Diversion Enterprise.”

       511. For over a decade, the RICO Diversion Defendants aggressively sought to bolster

their revenue, increase profit, and grow their share of the prescription painkiller market by

unlawfully and surreptitiously increasing the volume of opioids they sold. However, the RICO

Diversion Defendants are not permitted to engage in a limitless expansion of their sales through

the unlawful sales of regulated painkillers. As “registrants” under the Controlled Substances
Act, 21 U.S.C. § 821, et seq. (the “CSA”), the RICO Diversion Defendants operated and

continue to operate within a “closed-system.”         The CSA restricts the RICO Diversion

Defendants’ ability to manufacture or distribute Schedule II substances like opioids by: (1)

requiring them to make sales within a limited quota set by the DEA for the overall production of

Schedule II substances like opioids; (2) register to manufacture or distribute opioids; (3)

maintain effective controls against diversion of the controlled substances that they manufacturer



343
   Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on
September 15, 2017), https://www.healthcaredistribution.org/about/hda-history.

                                                226
or distribute; and (4) design and operate a system to identify suspicious orders of controlled

substances, halt such unlawful sales, and report them to the DEA.

       512. The closed-system created by the CSA, and the establishment of quotas, was

specifically intended to reduce or eliminate the diversion of Schedule II substances like opioids

from “legitimate channels of trade” to the illicit market by controlling the “quantities of the

basic ingredients needed for the manufacture of [controlled substances].”344

       513. Finding it impossible to legally achieve their ever increasing sales ambitions,

members of the Opioid Diversion Enterprise (defined below) engaged in the common purpose

of fraudulently increasing the quotas that governed the manufacture and distribution of their

prescription opioids. The RICO Diversion Defendants formed and pursued their common

purpose through the many personal interactions that they had, confidentially, in organizations

like the Pain Care Forum and the Healthcare Distribution Alliance.

       514. The RICO Diversion Defendants’ common purpose and fraudulent scheme to

unlawfully increase the DEA quotas violated the RICO Act in two ways. First, the RICO

Diversion Defendants violated the RICO Act because they engaged in the felonious

manufacture, buying selling, or otherwise dealing in controlled substances that are punishable

by law in the United States. Specifically, the RICO Diversion Defendants “furnish[ed] false or

fraudulent material information in, or omit[ted] material information from, applications, reports,
records, and other document required to be made, kept, and filed under 21 U.S.C. §§ 801, et

seq.”, in violation of 21 U.S.C. § 843(b), which is a felony. Second, the RICO Diversion

Defendants violated the RICO Act by engaging in mail and wire fraud. The RICO Diversion

Defendants common purpose and fraudulent scheme was intended to, and did, utilize interstate

mail and wire facilities for the commission of their fraud in violation 18 U.S.C. §§ 1341 (mail

fraud) and 1343 (wire fraud).


344
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the
Caucus on International Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).

                                               227
          515. The RICO Diversion Defendants’ fraudulent scheme arises at the intersection

between the quotas governing the RICO Diversion Defendants’ prescription opioids and the

RICO Diversion Defendants’ duty to identify, report, and halt suspicious orders of controlled

substances.      The RICO Diversion Defendants’ formed an enterprise with the intent to

fraudulently increase the quotas for prescription opioids by refusing to identify, report and halt

suspicious orders, thereby omitting both the fact and the RICO Diversion Defendants’

knowledge of widespread diversion of prescription opioids into illegitimate channels.

          516. The RICO Diversion Defendants engaged in systematic and fraudulent acts as part

of the Opioid Diversion Enterprise that furnished false or fraudulent material information in,

and omitted material information from their applications, reports, records and other documents

that the RICO Defendants were required to make, keep and/or file. Furthermore, the RICO

Diversion Defendants engaged in systematic and fraudulent acts as part of the Opioid Diversion

Enterprise that were intended to and actually did utilize the mail and wire facilities of the United

States and Utah, including refusing to maintain effective controls against diversion of their

drugs, to design and operate a system to identify suspicious orders of their drugs, to halt

unlawful sales of suspicious orders, and to notify the DEA of suspicious orders.345

          517. Through the RICO Diversion Defendants’ scheme, members of the Opioid

Diversion Enterprise repeatedly requested increases of the quotas governing the manufacture,
sale and distribution of prescription opioids, misrepresented that they were complying with their

duties under the CSA, furnished false or fraudulent material information in, and omitted

material information from their applications, reports, records and other documents, engaged in

unlawful sales of painkillers that resulted in diversion of controlled substances through

suspicious orders, and refused to identify or report suspicious orders of controlled substances

sales to the DEA.346 Defendants’ refusal to report suspicious orders resulted in artificial and

illegal increases in the annual production quotas for opioids allowed by the DEA. The end

345
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
346
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.

                                                 228
result of the RICO Diversion Defendants’ fraudulent scheme and common purpose was

continually increasing quotas that generated obscene profits and, in turn, fueled an opioid

epidemic.

       518. The RICO Diversion Defendants’ illegal scheme was hatched by an enterprise

between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

harmony by each of them.        In particular, each of the RICO Diversion Defendants were

associated with, and conducted or participated in, the affairs of the Opioid Diversion Enterprise,

whose common purpose was fraudulently increase the quotas governing the manufacture and

sale of prescription opioids.

       519. The success of the RICO Diversion Defendants’ scheme allowed them to

unlawfully increase and/or maintain high production quotas and, as a direct result, allowed them

to make billions from the unlawful sale and diversion of opioids.

       520. Simultaneously, the opioid epidemic created by the RICO Diversion Defendants’

actions caused The County’s multi-million dollar injuries. The County’s injuries were and are a

reasonably foreseeable consequence of the prescription opioid addiction epidemic that the

RICO Diversion Defendants created by fraudulently increasing quotas, misrepresenting their

compliance with their duties under the CSA, and allowing the widespread diversion of legally

produced prescription opioids into the illicit market. As explained in detail below, the RICO
Diversion Defendants’ misconduct violated Section 1962(c) and The County is entitled to treble

damages for their injuries under 18 U.S.C. § 1964(c).

                   A. THE OPIOID DIVERSION ENTERPRISE.

       521. Recognizing that there is a need for greater scrutiny over controlled substances

due to their potential for abuse and danger to public health and safety, the United States

Congress enacted the Controlled Substances Act in 1970.347 The CSA and its implementing


347
  Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General,
D.D.C. Case No. 12-cv-185 (Document 14-2 February 10, 2012).

                                               229
regulations created a closed-system of distribution for all controlled substances and listed

chemicals.348 Congress specifically designed the closed chain of distribution to prevent the

diversion of legally produced controlled substances into the illicit market.349 Congress was

concerned with the diversion of drugs out of legitimate channels of distribution and acted to halt

the “widespread diversion of [controlled substances] out of legitimate channels into the illegal

market.”350 Moreover, the closed-system was specifically designed to ensure that there are

multiple ways of identifying and preventing diversion through active participation by registrants

within the drug delivery chain.351 All registrants -- manufacturers and distributors alike -- must

adhere to the specific security, recordkeeping, monitoring and reporting requirements that are

designed to identify or prevent diversion.352 When registrants at any level fail to fulfill their

obligations, the necessary checks and balances collapse.353       The result is the scourge of

addiction that has occurred

       522. Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade”

by controlling the “quantities of the basic ingredients needed for the manufacture of [controlled




348
    See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
349
    Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827,
880; H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
350
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control,
United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
351
    See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control
United States Senate, July 18, 2012 (available at
https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-
dea-rannazzisi.pdf).
352
    Id.
353
    Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General,
D.D.C. Case No. 12-cv-185 (Document 14-2 February 10, 2012).

                                               230
substances], and the requirement of order forms for all transfers of these drugs.” 354 When

evaluating production quotas, the DEA was instructed to consider the following information:
       a. Information provided by the Department of Health and Human Services;

       b. Total net disposal of the basic class by all manufacturers;

       c. Trends in the national rate of disposal of the basic class;

       d. An applicant’s production cycle and current inventory position;

       e. Total actual or estimated inventories of the class and of all substances manufactured

           from the class and trends in inventory accumulation; and

       g. Other factors such as: changes in the currently accepted medical use of substances

           manufactured for a basic class; the economic and physical availability of raw

           materials; yield and sustainability issues; potential disruptions to production; and

           unforeseen emergencies.355

       523. It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA.356

       524. At all relevant times, the RICO Diversion Defendants operated as an association-

in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by
fraudulently increasing the quotas set by the DEA that would allow them to collectively benefit

from a greater pool of prescription opioids to manufacture and distribute. In support of this

common purpose and fraudulent scheme, the RICO Diversion Defendants jointly agreed to


354
    1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the
Caucus on International Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
355
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control,
United State Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
356
    Id. (citing 21 U.S.C. 842(b)).

                                               231
disregard their statutory duties to identify, investigate, halt and report suspicious orders of

opioids and diversion of their drugs into the illicit market so that those orders would not result

in a decrease, or prevent an increase in, the necessary quotas. The RICO Diversion Defendants

conducted their pattern of racketeering activity in this jurisdiction and throughout the United

States through this enterprise.

       525. The opioid epidemic has its origins in the mid-1990s when, between 1997 and

2007, per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-

fold, and 9-fold, respectively. By 2010, enough prescription opioids were sold in the United

States to medicate every adult in the country with a dose of 5 milligrams of hydrocodone every

4 hours for 1 month.357 On information and belief, the Opioid Diversion Enterprise has been

ongoing for at least the last decade.358

       526. The Opioid Diversion Enterprise was and is a shockingly successful endeavor. The

Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis.

However, it was not until recently that federal and state regulators finally began to unravel the

extent of the enterprise and the toll that it exacted on the American public.

       527. At all relevant times, the Opioid Diversion Enterprise: (a) had an existence

separate and distinct from each RICO Diversion Defendant; (b) was separate and distinct from

the pattern of racketeering in which the RICO Diversion Defendants engaged; (c) was an
ongoing and continuing organization consisting of legal entities, including each of the RICO

Diversion Defendants; (d) was characterized by interpersonal relationships among the RICO

Diversion Defendants; (e) had sufficient longevity for the enterprise to pursue its purpose; and

(f) functioned as a continuing unit.. Each member of the Opioid Diversion Enterprise

357
    Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural-urban
differences in nonmedical prescription opioid use and abuse in the United States. Am J Public
Health. 2014;104(2):e52-9.
358
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
Center for Public Integrity (September 19, 2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-shaped-policy-
amid-drug-epidemic.

                                                232
participated in the conduct of the enterprise, including patterns of racketeering activity, and

shared in the astounding growth of profits supplied by fraudulently inflating opioid quotas and

resulting sales.

        528. The Opioid Diversion Enterprise also engaged in efforts to constrain the DEA’s

authority to hold the RICO Diversion Defendants liable for disregarding their duty to prevent

diversion. Members of the Pain Care Forum (described in greater detail below) and the

Healthcare Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s

enforcement authority. To this end, the Ensuring Patient Access and Effective Drug

Enforcement Act significantly reduced the DEA’s ability to issue orders to show cause and to

suspend and/or revoke registrations.359 The HDA and other members of the Pain Care Forum

contributed substantial amounts of money to political campaigns for federal candidates, state

candidates, political action committees and political parties. Upon information and belief, the

Pain Care Forum and its members and HDA, poured millions into such efforts.

        529. The RICO Diversion Defendants, through their illegal enterprise, engaged in a

pattern of racketeering activity that involves a fraudulent scheme to profit from the unlawful

sale of prescription opioids by increasing the quotas governing the manufacture and sale of

these controlled substances. In order to achieve that goal, the RICO Diversion Defendants

knowingly allowed suspicious orders of controlled substances to occur unhindered while


359
   See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June
13, 2016, updated July 6, 2016), http://pharmaceuticalcommerce.com/business-and-
finance/hdma-now-healthcare-distribution-alliance/; Lenny Bernstein & Scott Higham,
Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of Control,
Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-
8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator
Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6,
2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston
Gazette-Mail, Feb. 18, 2017, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-
no-leadership-in-wv-amid-flood-of-pain-pills-.

                                              233
millions of opioid doses diverted into illegal markets. The end result of this strategy was

exactly as the RICO Diversion Defendants intended – artificially increased quotas for the

manufacture and distribution of opioids, all of which resulted in a National opioid epidemic.

         530. The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

and foreign commerce because the enterprise involved commercial activities across states lines,

such as manufacture, sale, distribution, and shipment of prescription opioids throughout the

United States, and the corresponding payment and/or receipt of money from such interstate

sales.

         531. Within the Opioid Diversion Enterprise, there were interpersonal relationships and

common communication by which the RICO Diversion Defendants shared information on a

regular basis. These interpersonal relationships also formed the organization of the Opioid

Diversion Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships

and communication network for the purpose of conducting the enterprise through a pattern of

racketeering activity.

         532. Each of the RICO Diversion Defendants had systematic links to each other

through joint participation in trade industry organizations, contractual relationships and

continuing coordination of activities. The RICO Diversion Defendants participated in the

operation and management of the Opioid Diversion Enterprise by directing its affairs, as
described herein. While the RICO Diversion Defendants participated in, and are members of,

the enterprise, they each have a separate existence from the enterprise, including distinct legal

statuses, different offices and roles, bank accounts, officers, directors, employees, individual

personhood, reporting requirements, and financial statements.

         533. The RICO Diversion Defendants exerted substantial control over the Opioid

Diversion Enterprise through their membership in the Pain Care Forum, the HDA, and through

their contractual relationships.

         534. The Pain Care Forum (“PCF”) has been described as a coalition of drug makers,
trade groups and dozens of non-profit organizations supported by industry funding. The PCF

                                               234
recently became a national news story when it was discovered that lobbyists for members of the

PCF quietly shaped federal and state policies regarding the use of prescription opioids for more

than a decade.

       535. The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national

response to the ongoing wave of prescription opioid abuse.”360 Specifically, PCF members spent

over $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

including opioid-related measures.361

       536. Not surprisingly, each of the RICO Diversion Defendants who stood to profit from

expanded prescription opioid use is a member of and/or participant in the PCF.362 In 2012,

membership and participating organizations included the HDA (of which all RICO Defendants

are members), Endo, Purdue, Actavis (i.e., Allergan), and Teva (the parent company of

Cephalon).363 Each of the Manufacturer Defendants worked together through the PCF to

advance the interests of the enterprise. But, the Manufacturer Defendants were not alone. The

Distributor Defendants actively participated, and continue to participate in the PCF, at a

minimum, through their trade organization, the HDA.364 Upon information and belief, the

Distributor Defendants participated directly in the PCF as well.


360
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
Center for Public Integrity (September 19, 2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-shaped-policy-
amid-drug-epidemic (emphasis added).
361
    Id.
362
    PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-
Schedule-amp.pdf
363
    Id. Upon information and belief, Mallinckrodt became an active member of the PCF
sometime after 2012.
364
    Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief
Executive Officer, Pharmaceutical Segment for Cardinal Health, Inc., the Group President,
Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen Corporation,
and the President, U.S. Pharmaceutical for McKesson Corporation. Executive Committee,
                                                235
       537. Additionally, the HDA – or Healthcare Distribution Alliance – led to the

formation of interpersonal relationships and an organization between the RICO Diversion

Defendants. Although the entire HDA membership directory is private, the HDA website

confirms that each of the Distributor Defendants and the Manufacturer Defendants named in the

Complaint, including Actavis (i.e., Allergan), Endo, Purdue, Mallinckrodt and Cephalon were

members of the HDA.365 Additionally, the HDA and each of the Distributor Defendants,

eagerly sought the active membership and participation of the Manufacturer Defendants by

advocating for the many benefits of members, including “strengthening . . . alliances.”366

       538. Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading

partners,” and “make connections.”367     Clearly, the HDA and the Distributor Defendants

believed that membership in the HDA was an opportunity to create interpersonal and ongoing

organizational relationships and “alliances” between the Manufacturers and Defendants.

       539. The application for manufacturer membership in the HDA further indicates the

level of connection between the RICO Defendants and the level of insight that they had into
each other’s businesses.368   For example, the manufacturer membership application must be


Healthcare Distribution Alliance (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.
365
    Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14,
2017), https://www.healthcaredistribution.org/about/membership/manufacturer.
366
    Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on
September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
benefits.ashx?la=en.
367
    Id.
368
    Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on
September 14, 2017),
                                              236
signed by a “senior company executive,” and it requests that the manufacturer applicant identify

a key contact and any additional contacts from within its company.

       540. The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information.

       541. And, Manufacturer Members were asked to identify their “most recent year end

net   sales”   through   wholesale    distributors,   including   the   Distributor   Defendants

AmerisourceBergen, Cardinal Health, and McKesson and their subsidiaries.

       542. The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Manufacturer and Distributor Defendants with the opportunity to work

closely together, confidentially, to develop and further the common purpose and interests of the

enterprise.

       543. The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA, and the Distributor Defendants advertise these conferences

to the Manufacturer Defendants as an opportunity to “bring together high-level executives,

thought leaders and influential managers . . . to hold strategic business discussions on the most

pressing industry issues.”369   The conferences also gave the Manufacturer and Distributor

Defendants “unmatched opportunities to network with [their] peers and trading partners at all

levels of the healthcare distribution industry.”370 The HDA and its conferences were significant
opportunities for the Manufacturer and Distributor Defendants to interact at a high-level of




https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en.
369
    Business and Leadership Conference – Information for Manufacturers, Healthcare
Distribution Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-
leadership-conference/blc-for-manufacturers (last accessed on September 14, 2017).
370
    Id.

                                               237
leadership. It is clear that the Manufacturer Defendants embraced this opportunity by attending

and sponsoring these events.371

       544. Third, the RICO Diversion Defendants maintained their interpersonal relationships

by working together, through contractual chargeback arrangements, to exchanging sales

information and drive the unlawful sales of their opioids. To this end, the Manufacturer

Defendants engaged in an industry-wide practice of paying rebates to the Distributor

Defendants for sales of prescription opioids.372

       545. For example, the Washington Post reported that “[o]n Aug. 23, 2011, DEA

supervisors met with Mallinckrodt executives at the agency’s headquarters in Arlington, Va.,

the day a rare 5.8-magnitude earthquake hit the Washington region. People involved in the case

still call the gathering ‘the earthquake meeting.’ DEA officials showed the company the

remarkable amounts of its oxycodone going to distributors and the number of arrests being

made for oxycodone possession and distribution on the street, according to one participant in

the meeting who also spoke on the condition of anonymity because the case is pending.”373




371
    2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last
accessed on September 14, 2017).
372
    Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers
accountable, The Washington Post, (April 2, 2017),
https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27,
2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-
manufacturers.png; Letter from Sen. Claire McCaskill, (July 27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-
manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue
Pharma, (accessed on September 14, 2017), http://www.purduepharma.com/payers/managed-
markets/.
373
    https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.f336835fd5da


                                                   238
       546. “Three weeks after the Aug. 23 meeting, Mallinckrodt notified 43 of its

distributors that they would no longer receive rebates from the company if they continued to

supply certain pharmacies whose orders appeared to be suspicious.”374

       547. “On Nov. 30, 2011, the DEA served a subpoena on Mallinckrodt, demanding

documents related to its suspicious-order-monitoring program, according to the company’s

filings with the Securities and Exchange Commission. The subpoena brought a windfall of

information. The DEA gained access to data from Mallinckrodt’s rebate or ‘chargeback’

program, an industry-wide practice that provides reimbursements to wholesale distributors. That

information and other records showed where Mallinckrodt’s oxycodone was going — from the

company to its network of distributors to retailers down the chain.”375

       548. In addition, the Distributor Defendants and Manufacturer Defendants participated,

through the HDA, in Webinars and other meetings designed to exchange detailed information

regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

notices, and invoices.376 For example, on April 27, 2011, the HDA offered a Webinar to

“accurately and effectively exchange business transactions between distributors and

manufacturers…”:




374
    Id.
375
    Id.
376
    Webinars, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.

                                               239
       549. On information and belief, the Manufacturer Defendants used this information to

gather high-level data regarding overall distribution and direct the Distributor Defendants on

how to most effectively sell the prescription opioids.

       550. And, through the HDA, Manufacturer Members were asked to identify their “most

recent year end net sales” through wholesale distributors, including the Distributor Defendants

as follows:




                                                240
       551. The contractual relationships among the RICO Defendants also include vault

security programs. The RICO Diversion Defendants are required to maintain certain security

protocols and storage facilities for the manufacture and distribution of their opiates. Upon

information and belief, the manufacturers negotiated agreements whereby the Manufacturers

installed security vaults for Distributors in exchange for agreements to maintain minimum sales

performance thresholds. Upon information and belief, these agreements were used by the RICO

Diversion Defendants as a tool to violate their reporting and diversion duties in order to reach

the required sales requirements.

       552. Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants

were not two separate groups operating in isolation or two groups forced to work together in a

closed system. The RICO Diversion Defendants operated together as a united entity, working

together on multiple fronts, to engage in the unlawful sale of prescription opioids. The HDA

and the Pain Care Forum are but two examples of the overlapping relationships, and concerted

joint efforts to accomplish common goals and demonstrates that the leaders of each of the RICO

Diversion Defendants were in communication and cooperation.

       553. Alternatively, the RICO Diversion Defendants were members of a legal entity
enterprise within the meaning of 18 U.S.C. § 1961(4), through which the RICO Diversion

Defendants conducted their pattern of racketeering activity in this jurisdiction and throughout

the United States. As alleged, the Healthcare Distribution Alliance (the “HDA”)377 is a distinct

legal entity that satisfies the definition of a RICO enterprise because it is a corporation formed

under the laws of the District of Columbia, doing business in Virginia. As such, the HDA

qualifies as an “enterprise” within the definition set out in 18 U.S.C. § 1961(4).



377
   Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on
September 15, 2017), https://www.healthcaredistribution.org/about/hda-history.

                                                241
       554. On information and belief, each of the RICO Diversion Defendants is a member,

participant, and/or sponsor of the HDA, and has been since at least 2006, and utilized the HDA

to conduct the Opioid Diversion Enterprise and to engage in the pattern of racketeering activity

that gives rise to the Count.

       555. Each of the RICO Diversion Defendants is a legal entity separate and distinct from

the HDA. Additionally, the HDA serves the interests of distributors and manufacturers beyond

the RICO Diversion Defendants.        Therefore, the HDA exists separately from the Opioid

Diversion Enterprise, and each of the RICO Diversion Defendants exists separately from the

HDA. Therefore, the HDA may serve as a RICO enterprise.

                   B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

       556. During the time period alleged in this Complaint, the RICO Diversion Defendants

exerted control over, conducted and/or participated in the Opioid Diversion Enterprise by

fraudulently claiming that they were complying with their duties under the CSA to identify,

investigate and report suspicious orders of opioids in order to prevent diversion of those highly

addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

production quotas and generate unlawful profits, as follows:

       557. Defendants disseminated false and misleading statements to state and federal

regulators claiming that (1) the quotas for prescription opioids should be increased, (2) they
were complying with their obligations to maintain effective controls against diversion of their

prescription opioids, (3) they were complying with their obligations to design and operate a

system to disclose to the registrant suspicious orders of their prescription opioids, (4) they were

complying with their obligation to notify the DEA of any suspicious orders or diversion of their

prescription opioids and (5) they did not have the capability to identify suspicious orders of

controlled substances despite their possession of national, regional, state, and local prescriber-

and patient-level data that allowed them to track prescribing patterns over time, which the
Defendants obtained from data companies, including but not limited to:               IMS Health,

                                                242
QuintilesIMS, Iqvia, Pharmaceutical Data Services, Source Healthcare Analytics, NDS Health

Information Services, Verispan, Quintiles, SDI Health, ArcLight, Scriptline, Wolters Kluwer,

and/or PRA Health Science, and all of their predecessors or successors in interest (the “Data

Vendors”).

       558. The RICO Diversion Defendants applied political and other pressure on the DOJ

and DEA to halt prosecutions for failure to report suspicious orders of prescription opioids and

lobbied Congress to strip the DEA of its ability to immediately suspend registrations pending

investigation by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”378

       559. The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the RICO Diversion Defendants identify suspicious orders or customers who

were likely to divert prescription opioids.379   On information and belief, the “know your

customer” questionnaires informed the RICO Diversion Defendants of the number of pills that

the pharmacies sold, how many non-controlled substances are sold compared to controlled

substances, whether the pharmacy buys from other distributors, the types of medical providers

378
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June
13, 2016, updated July 6, 2016), http://pharmaceuticalcommerce.com/business-and-
finance/hdma-now-healthcare-distribution-alliance/; Lenny Bernstein & Scott Higham,
Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of Control,
Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-
8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator
Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6,
2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston
Gazette-Mail, Feb. 18, 2017, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-
no-leadership-in-wv-amid-flood-of-pain-pills-.
379
    Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug
Enforcement Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard
Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA,
Purdue Pharma and McGuireWoods LLC, (available at https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).

                                              243
in the area, including pain clinics, general practitioners, hospice facilities, cancer treatment

facilities, among others, and these questionnaires put the recipients on notice of suspicious

orders.

          560. The RICO Diversion Defendants purchased nationwide, regional, state, and local

prescriber- and patient-level data from the Data Vendors that allowed them to track prescribing

trends, identify suspicious orders, identify patients who were doctor shopping, identify pill

mills, etc. The Data Vendors’ information purchased by the RICO Diversion Defendants

allowed them to view, analyze, compute, and track their competitors sales, and to compare and

analyze market share information.380

          561. IMS, for example, IMS provided the RICO Diversion Defendants with reports

detailing prescriber behavior and the number of prescriptions written between competing

products.381




380
    A Verispan representative testified that the RICO Defendants use the prescribing information
to “drive market share.” Sorrell v. IMS Health Inc., 2011 WL 661712, *9-10 (Feb. 22, 2011).
381
    Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How we Turned a Mountain
of Data into a Few Information-rich Molehills, (accessed on February 15, 2018),
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&type=pdf, Figure
2 at p.3.

                                              244
          562. Similarly, Wolters Kluwer, an entity that eventually owned data mining companies

that were created by McKesson (Source) and Cardinal Health (ArcLight), provided the RICO

Defendants with charts analyzing the weekly prescribing patterns of multiple physicians,

organized by territory, regarding competing drugs, and analyzed the market share of those

drugs.382




382
      Sorrell v. IMS Health Inc., 2011 WL 705207, *467-471 (Feb. 22, 2011).

                                               245
246
       563. This information allowed the RICO Diversion Defendants to track and identify

instances of, overprescribing.383 In fact, one of the Data Venders’ experts testified that a

manufacturer of “narcotic analgesics” used the Data Venders’ information to track, identify,

report and halt suspicious orders of controlled substances.384

383
    See Sorrell v. IMS Health Inc., 2011 WL 1449043, *37-38 (March 24, 2011) (arguing that
data had been used to “identify overuse of antibiotics in children,” and “whether there is a wide
use of anthrax prophylactic medicines after the scares happened in 2001.”). The Data Vender
Respondents also cited evidence from the trial court proving that “because analysis of PI data
makes it possible to ‘identify overuse of a pharmaceutical in specific conditions, the government
employs the data to monitor usage of controlled substances.” Id.
384
    Id. at *38. Eugene “Mick” Kolassa testified as an expert on behalf of the Data Vender stating
that "a firm that sells narcotic analgesics was able to use prescriber-identifiable information to
identify physicians that seemed to be prescribing an inordinately high number of prescriptions
                                                247
       564. The RICO Diversion Defendants were, therefore, collectively aware of the

suspicious orders that flowed daily from their manufacturing and distribution facilities.

       565. The RICO Diversion Defendants refused to identify, investigate and report

suspicious orders to the DEA when they became aware of the same despite their actual

knowledge of drug diversion rings. The RICO Diversion Defendants refused to identify

suspicious orders and diverted drugs despite the DEA issuing final decisions against the

Distributor Defendants in 178 registrant actions between 2008 and 2012385 and 117

recommended decision in registrant actions from The Office of Administrative Law Judges.

These numbers include seventy-six (76) actions involving orders to show cause and forty-one



for their product.” Id; see also Joint Appendix in Sorrell v. IMS Health, 2011 WL 687134, at
*204 (Feb. 22, 2011).
385
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The
Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.

                                               248
(41) actions involving immediate suspension orders – all for failure to report suspicious

orders.386

            566. Defendants’ scheme had a decision-making structure driven by the Manufacturer

Defendants and corroborated by the Distributor Defendants. The Manufacturer Defendants

worked together to control the State and Federal Government’s response to the manufacture and

distribution of prescription opioids by increasing production quotas through a systematic refusal

to maintain effective controls against diversion, and identify suspicious orders and report them

to the DEA.

            567. The RICO Diversion Defendants worked together to control the flow of

information and influence state and federal governments and political candidates to pass

legislation that was pro-opioid. The Manufacturer and Distributor Defendants did this through

their participation in the PCF and HDA.

            568. The RICO Diversion Defendants also worked together to ensure that the

Aggregate Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA

remained artificially high and ensured that suspicious orders were not reported to the DEA in

order to ensure that the DEA had no basis for refusing to increase or decrease production quotas

due to diversion. The RICO Diversion Defendants influenced the DEA production quotas in the

following ways:
            569. The scheme devised and implemented by the RICO Diversion Defendants

amounted to a common course of conduct characterized by a refusal to maintain effective

controls against diversion, and all designed and operated to ensure the continued unlawful sale

of controlled substances.

                      C. PATTERN OF RACKETEERING ACTIVITY.

            570. The RICO Diversion Defendants conducted and participated in the conduct of the

Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. §

386
      Id.

                                                249
1961(1)(D), including ; the felonious manufacture, importation, receiving, concealment buying

selling, or otherwise dealing in a controlled substance or listed chemical (as defined in section

102 of the Controlled Substance Act), punishable under any law of the United States; and 18

U.S.C. 1961(1)(B), including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).

                        1. The RICO Defendants Manufactured, Sold and/or Dealt
                        in Controlled Substances and Their Actions Constitute
                        Crimes Punishable as Felonies.

       571. The RICO Diversion Defendants conducted and participated in the conduct of the

affairs of the Opioid Diversion Enterprise through a pattern of racketeering activity as defined
in 18 U.S.C. § 1961(1)(D) by the felonious manufacture, importation, receiving, concealment,

buying, selling, or otherwise dealing in a controlled substance or listed chemical (as defined in

section 102 of the Controlled Substance Act), punishable under any law of the United States.

       572. The RICO Diversion Defendants committed crimes that are punishable as felonies

under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it unlawful for

any person to knowingly or intentionally furnish false or fraudulent information in, or omit any

material information from, any application, report, record or other document required to be

made, kept or filed under this subchapter. A violation of section 843(a)(4) is punishable by up to

four years in jail, making it a felony. 21 U.S.C. § 843(d)(1).

       573. Each of the RICO Diversion Defendants qualifies as a registrant under the CSA.
Their status as registrants under the CSA requires that they maintain effective controls against

diversion of controlled substances in schedule I or II, design and operate a system to disclose to

the registrant suspicious orders of controlled substances and inform the DEA of suspicious

orders when discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

       574. The CSA and the Code of Federal Regulations, require the RICO Diversion

Defendants to make reports to the DEA of any suspicious orders identified through the design

and operation of their system to disclose suspicious orders. The failure to make reports as



                                                250
required by the CSA and Code of Federal Regulations amounts to a criminal violation of the

statute.

           575. The RICO Diversion Defendants knowingly and intentionally furnished false or

fraudulent information in their reports to the DEA about suspicious orders, and/or omitted

material information from reports, records and other document required to be filed with the

DEA including the Manufacturer Defendants’ applications for production quotas. Specifically,

the RICO Diversion Defendants were aware of suspicious orders of prescription opioids and the

diversion of their prescription opioids into the illicit market, and failed to report this information

to the DEA in their mandatory reports and their applications for production quotas.

           576. Upon information and belief, the foregoing examples reflect the RICO Diversion

Defendants’ pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. The sheer volume of

enforcement actions available in the public record against the Distributor Defendants supports

this conclusion.387 For example:

           577. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the AmerisourceBergen Orlando, Florida distribution center

(“Orlando Facility”) alleging failure to maintain effective controls against diversion of

controlled substances. On June 22, 2007, AmerisourceBergen entered into a settlement that
resulted in the suspension of its DEA registration.

           578. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Auburn, Washington Distribution Center

(“Auburn Facility”) for failure to maintain effective controls against diversion of hydrocodone.




387
   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The
Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.

                                                 251
       579. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

Facility”) for failure to maintain effective controls against diversion of hydrocodone.

       580. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution Center

(“Swedesboro Facility”) for failure to maintain effective controls against diversion of

hydrocodone.

       581. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Stafford, Texas Distribution Center (“Stafford

Facility”) for failure to maintain effective controls against diversion of hydrocodone.

       582. On May 2, 2008, McKesson Corporation entered into an Administrative

Memorandum of Agreement (“2008 MOA”) with the DEA which provided that McKesson

would “maintain a compliance program designed to detect and prevent the diversion of

controlled substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b),

and follow the procedures established by its Controlled Substance Monitoring Program.”

       583. On September 30, 2008, Cardinal Health entered into a Settlement and Release

Agreement and Administrative Memorandum of Agreement with the DEA related to its Auburn

Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The document also
referenced allegations by the DEA that Cardinal failed to maintain effective controls against the

diversion of controlled substances at its distribution facilities located in McDonough, Georgia

(“McDonough Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado

(“Denver Facility”).

       584. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

Facility”) for failure to maintain effective controls against diversion of oxycodone.

       585. On May, 14, 2012, Cardinal Health entered into an Administrative Memorandum
of Agreement with the DEA in which, among other things, Cardinal Health “admits that its due

                                                252
diligence efforts for some pharmacy customers and its compliance with the 2008 MOA, in

certain respects, were inadequate.”

       586. Thereafter, on December 23, 2016, Cardinal Health agreed to pay a $44 million

fine to the DEA to resolve the civil penalty portion of the administrative action taken against its

Lakeland, Florida Distribution Center.

       587. On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000 civil penalty

for violation of the 2008 MOA as well as failure to identify and report suspicious orders at its

facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La

Vista NE, Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and

West Sacramento CA.

       588. In its Administrative Memorandum Agreement, McKesson acknowledged its

wrongdoing and failure to comply with the obligations imposed by the CSA:

       589. On April 23, 2015, McKesson filed a Form-8-K announcing a settlement with the

DEA and DOJ wherein it admitted to violating the CSA and agreed to pay $150 million and

have some of its DEA registrations suspended on a staggered basis.

       590. In 2016, the Los Angeles Times reported that Purdue was aware of a pill mill

operating out of Los Angeles yet failed to alert the DEA. The LA Times uncovered that Purdue
began tracking a surge in prescriptions in Los Angeles, including one prescriber in particular.

Documents published by the L.A. Times reveal that a Purdue sales manager spoke with

company officials, asking:

       591. Purdue was clearly aware of diversion. As a registrant, Purdue has the same

obligation to report suspicious orders as a wholesale distributor. Although Purdue claimed that

it was considering making a report to the DEA, it shirked its responsibility, claimed that it was

the wholesaler's responsibility and then reserved the right to make the report:

       592. Despite its knowledge of obvious diversion, "Purdue did not shut off the supply of
highly addictive OxyContin and did not tell authorities what it knew about [a pill mill] until

                                                253
several years later when the clinic was out of business and its leaders indicted. By that time, 1.1

million pills had spilled into the hands of Armenian mobsters, the Crips gang and other

criminals."

        593. Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it

ignored its responsibility to report suspicious orders as 500 million of its pills ended up in

Florida between 2008 and 2012. After six years of DEA investigation, Mallinckrodt agreed to

a settlement involving a $35 million fine. Federal prosecutors summarized the case by saying

that Mallinckrodt's response was that everyone knew what was going on in Florida but they had

no duty to report it.

        594. These actions against the Distributor Defendants confirm that the Distributor

Defendants knew they had a duty to maintain effective controls against diversion, design and

operate a system to disclose suspicious orders, and to report suspicious orders to the DEA.

These actions also demonstrate, on information and belief, that the Manufacturer Defendants

were aware of the enforcement against their Distributors and the diversion of the prescription

opioids and a corresponding duty to report suspicious orders.

        595. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined
by this Court.

        596. Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

issue herein were hidden and cannot be alleged without access to their books and records.

Indeed, an essential part of the successful operation of the Opioid Diversion Enterprise

depended upon the secrecy of the participants in that enterprise.

        597. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, Plaintiffs’ Community and The County. Defendants calculated
and intentionally crafted the diversion scheme to increase and maintain profits from unlawful

                                                254
sales of opioids, without regard to the effect such behavior would have on this jurisdiction, its

citizens or The County. The Defendants were aware that The County and the citizens of this

jurisdiction rely on the Defendants to maintain a closed system of manufacturing and

distribution to protect against the non-medical diversion and use of their dangerously addictive

opioid drugs.

       598. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct

constituting a pattern of racketeering activity.

       599. The RICO Diversion Defendants’ predicate acts and pattern of racketeering

activity were a substantial and foreseeable cause of The County’s injury and the relationship

between the RICO Diversion Defendants’ conduct and The County’s injury are logical and not

speculative. It was foreseeable to the RICO Diversion Defendants that when they refused to

identify, report and halt suspicious orders as required by the CSA and Code of Federal

Regulations, it would allow the wide-spread diversion of prescriptions opioids into the illicit

market and create an opioid-addiction epidemic that logically, substantially, and foreseeably

harmed The County.

       600. The RICO Diversion Defendants’ predicate acts and pattern of racketeering

activity were a substantial and foreseeable cause of The County’s injury and the relationship
between the RICO Diversion Defendants’ conduct and The County’s injury is logical and not

speculative. It was foreseeable to the RICO Diversion Defendants that when they fraudulently

marketed highly-addictive and dangerous drugs, that were approved for very limited and

specific uses by the FDA, as non-addictive and safe for off-label uses such as moderate pain,

non-cancer pain, and long-term chronic pain, that the RICO Diversion Defendants would create

an opioid-addiction epidemic that logically, substantially and foreseeably harmed The County.

       601. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.



                                                   255
                        2. The RICO Diversion Defendants Engaged in Mail and
                        Wire Fraud.

       602. The RICO Diversion Defendants carried out, or attempted to carry out, a scheme

to defraud federal and state regulators, and the American public by knowingly conducting or

participating in the conduct of the Opioid Diversion Enterprise through a pattern of racketeering

activity within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire

facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       603. The RICO Diversion Defendants committed, conspired to commit, and/or aided

and abetted in the commission of at least two predicate acts of racketeering activity (i.e.
violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Diversion Defendants committed, or aided and abetted in

the commission of, were related to each other, posed a threat of continued racketeering activity,

and therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Diversion Defendants’ regular use of the facilities, services, distribution

channels, and employees of the Opioid Diversion Enterprise. The RICO Diversion Defendants

participated in the scheme to defraud by using mail, telephone and the Internet to transmit

mailings and wires in interstate or foreign commerce.

       604. The RICO Diversion Defendants used, directed the use of, and/or caused to be

used, thousands of interstate mail and wire communications in service of their scheme through

virtually uniform misrepresentations, concealments and material omissions regarding their

compliance with their mandatory reporting requirements and the actions necessary to carry out

their unlawful goal of selling prescription opioids without reporting suspicious orders or the

diversion of opioids into the illicit market.

       605. In devising and executing the illegal scheme, the RICO Diversion Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material
facts. For the purpose of executing the illegal scheme, the RICO Diversion Defendants

                                                256
committed these racketeering acts, which number in the thousands, intentionally and knowingly

with the specific intent to advance the illegal scheme.

       606. The RICO Diversion Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:
       a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or

           receiving, or by causing to be sent and/or received, materials via U.S. mail or

           commercial interstate carriers for the purpose of executing the unlawful scheme to

           design, manufacture, market, and sell the prescription opioids by means of false

           pretenses, misrepresentations, promises, and omissions.

       b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by transmitting and/or

           receiving, or by causing to be transmitted and/or received, materials by wire for the

           purpose of executing the unlawful scheme to design, manufacture, market, and sell

           the prescription opioids by means of false pretenses, misrepresentations, promises,

           and omissions.

       607. The RICO Diversion Defendants’ use of the mail and wires includes, but is not

limited to, the transmission, delivery, or shipment of the following by the Manufacturers,

Distributors, or third parties that were foreseeably caused to be sent as a result of the RICO
Diversion Defendants’ illegal scheme, including but not limited to:
       a. The prescription opioids themselves;

       b. Documents and communications that supported and/or facilitated the Defendants’

           request for higher aggregate production quotas, individual production quotas, and

           procurement quotas;

       c. Documents and communications that facilitated the manufacture, purchase and sale

           of prescription opioids;

       d. Defendants’ DEA registrations;
                                                257
       e. Documents and communications that supported and/or facilitated Defendants’ DEA

             registrations;

       f. Defendants’ records and reports that were required to be submitted to the DEA

             pursuant to 21 U.S.C. § 827;

       g. Documents and communications related to the Defendants’ mandatory DEA reports

             pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

       h. Documents intended to facilitate the manufacture and distribution of Defendants’

             prescription opioids, including bills of lading, invoices, shipping records, reports and

             correspondence;

       i. Documents for processing and receiving payment for prescription opioids;

       j. Payments from the Distributors to the Manufacturers;

       k. Rebates and chargebacks from the Manufacturers to the Distributors;

       l. Payments to Defendants’ lobbyists through the PCF;

       m. Payments to Defendants’ trade organizations, like the HDA, for memberships and/or

             sponsorships;

       n. Deposits of proceeds from Defendants’ manufacture and distribution of prescription

             opioids; and

       o. Other documents and things, including electronic communications.

       608. On information and belief, the RICO Diversion Defendants (and/or their agents),

for the purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or

received) by mail or by private or interstate carrier, shipments of prescription opioids and

related documents by mail or by private carrier affecting interstate commerce, including the

following:



                                                 258
                                        Drugs
Defendant
Group Name Company Names                Drug Name        Chemical Name      CSA
                                                                            Schedule
                                                         Oxycodone
                                        OxyContin        hydrochloride      Schedule II
                                                         extended release
                                                         Morphine sulfate
                                      MS Contin                             Schedule II
                                                         extended release
               (1) Purdue Pharma, LP,                    Hydromorphone
               (2) Purdue Pharma,     Dilaudid                              Schedule II
                                                         hydrochloride
Purdue         Inc.,                                     Hydromorphone
               (3) The Purdue         Dilaudid-HP                           Schedule II
                                                         hydrochloride
               Frederick Company
                                      Butrans            Buprenorphine      Schedule II
                                                         Hydrocodone
                                        Hysinga ER                          Schedule II
                                                         bitrate
                                                         Oxycodone
                                        Targiniq ER      hydrochloride      Schedule II
               (1) Cephalon, Inc.,
               (2) Teva                 Actiq            Fentanyl citrate   Schedule II
               Pharmaceutical
Cephalon       Industries, Ltd.,        Fentora          Fentanyl citrate   Schedule II
               (3) Teva
               Pharmaceuticals USA,     Generic        Oxycodone            Schedule II
               Inc.                     oxycontin      hydrochloride
                                                       Oxymorphone
                                        Opana ER       hydrochloride        Schedule II
                                                       extended release
                                                       Oxymorphone
               (1) Endo Health          Opana                               Schedule II
                                                       hydrochloride
               Solutions, Inc.,                        Oxymorphone
               (2) Endo                 Percodan       hydrochloride and    Schedule II
               Pharmaceuticals Inc.,                   aspirin
Endo           (3) Qualitest                           Oxymorphone
               Pharmaceuticals, Inc.    Percocet       hydrochloride and    Schedule II
               (wholly-owned                           acetaminophen
               subsidiary of Endo)
                                        Generic oxycodone                   Schedule II
                                        Generic oxymorphone                 Schedule II
                                        Generic hydromorphone               Schedule II
                                        Generic hydrocodone                 Schedule II
               (1) Mallinckrodt PLC,                      Hydromorphone
               (2) Mallinckrodt LLC     Exalgo                              Schedule II
                                                          hydrochloride
Mallinckrodt   (wholly-owned
               subsidiary of                               Oxycodone
                                        Roxicodone                          Schedule II
               Mallinckrodt PLC)                           hydrochloride
               (1) Allergan Plc,                           Morphine
               (2) Actavis LLC,         Kadian                              Schedule II
                                                           Sulfate
               (3) Actavis Pharma,                         Hydrocodone
               Inc.,                    Norco (Generic
Allergan                                                   and              Schedule II
               (4) Actavis Plc,         of Kadian)         acetaminophen
               (5) Actavis, Inc.,
               (6) Watson               Generic            Fentanyl         Schedule II
               Pharmaceuticals, Inc.,   Duragesic

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                                           Drugs
Defendant
Group Name Company Names                   Drug Name         Chemical Name       CSA
                                                                                 Schedule
                (7) Watson Pharma,                              Oxymorphone
                Inc.                       Generic Opana                         Schedule II
                                                                hydrochloride


       609. Each of the RICO Diversion Defendants identified manufactured, shipped, paid

for and received payment for the drugs identified above, throughout the United States.

       610. The RICO Diversion Defendants also used the internet and other electronic

facilities to carry out their scheme and conceal the ongoing fraudulent activities. Specifically,

the RICO Diversion Defendants made misrepresentations about their compliance with Federal
and State laws requiring them to identify, investigate and report suspicious orders of

prescription opioids and/or diversion of the same into the illicit market.

       611. At the same time, the RICO Diversion Defendants misrepresented the superior

safety features of their order monitoring programs, ability to detect suspicious orders,

commitment to preventing diversion of prescription opioids, and their compliance with all state

and federal regulations regarding the identification and reporting of suspicious orders of

prescription opioids.

       612. Upon information and belief, the RICO Diversion Defendants utilized the internet

and other electronic resources to exchange communications, to exchange information regarding

prescription opioid sales, and to transmit payments and rebates/chargebacks.
       613. The RICO Diversion Defendants also communicated by U.S. Mail, by interstate

facsimile, and by interstate electronic mail with each other and with various other affiliates,

regional offices, regulators, distributors, and other third-party entities in furtherance of the

scheme.

       614. The mail and wire transmissions described herein were made in furtherance of

Defendants’ scheme and common course of conduct to deceive regulators, the public and The

County that Defendants were complying with their state and federal obligations to identify and
report suspicious orders of prescription opioids all while Defendants were knowingly allowing

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millions of doses of prescription opioids to divert into the illicit drug market. The RICO

Diversion Defendants’ scheme and common course of conduct was to increase or maintain high

production quotas for their prescription opioids from which they could profit.

        615. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

wire facilities have been deliberately hidden by Defendants and cannot be alleged without

access to Defendants’ books and records. However, Plaintiffs have described the types of, and

in some instances, occasions on which the predicate acts of mail and/or wire fraud occurred.

They include thousands of communications to perpetuate and maintain the scheme, including

the things and documents described in the preceding paragraphs.

        616. The RICO Diversion Defendants did not undertake the practices described herein

in isolation, but as part of a common scheme. Various other persons, firms, and corporations,

including third-party entities and individuals not named as defendants in this Complaint, may

have contributed to and/or participated in the scheme with the RICO Diversion Defendants in

these offenses and have performed acts in furtherance of the scheme to increase revenues,

increase market share, and /or minimize the losses for the RICO Diversion Defendants.

        617. The RICO Diversion Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.
        618. The RICO Diversion Defendants hid from the general public and suppressed

and/or ignored warnings from third parties, whistleblowers and governmental entities about the

reality of the suspicious orders that the RICO Diversion Defendants were filling on a daily basis

– leading to the diversion of hundreds of millions of doses of prescriptions opioids into the

illicit market.

        619. The RICO Diversion Defendants, with knowledge and intent, agreed to the overall

objective of their fraudulent scheme and participated in the common course of conduct to

commit acts of fraud and indecency in manufacturing and distributing prescription opioids.



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       620. Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants

had to agree to implement similar tactics regarding manufacturing prescription opioids and

refusing to report suspicious orders.

       621. As described herein, the RICO Diversion Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining significant monies

and revenues from the sale of their highly addictive and dangerous drugs. The predicate acts

also had the same or similar results, participants, victims, and methods of commission. The

predicate acts were related and not isolated events.

       622. The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured The County’s business and property, while simultaneously generating

billion-dollar revenue and profits for the RICO Diversion Defendants. The predicate acts were

committed or caused to be committed by the RICO Diversion Defendants through their

participation in the Opioid Diversion Enterprise and in furtherance of its fraudulent scheme.

       623. The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

enterprise.

       624. The pattern of racketeering activity alleged herein is continuing as of the date of
this Complaint and, upon information and belief, will continue into the future unless enjoined

by this Court.

       625. Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

issue here have been hidden by Defendants and cannot be alleged without access to Defendants’

books and records. Indeed, an essential part of the successful operation of the Opioid Diversion

Enterprise alleged herein depended upon secrecy.

       626. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar
results affecting similar victims, including Plaintiffs’ Community and The County. Defendants

                                                262
calculated and intentionally crafted the Opioid Diversion Enterprise and their scheme to

increase and maintain their increased profits, without regard to the effect such behavior would

have on Plaintiffs’ Community, its citizens or The County. In designing and implementing the

scheme, at all times Defendants were cognizant of the fact that those in the manufacturing and

distribution chain rely on the integrity of the pharmaceutical companies and ostensibly neutral

third parties to provide objective and reliable information regarding Defendants’ products and

their manufacture and distribution of those products. The Defendants were also aware that The

County and the citizens of this jurisdiction rely on the Defendants to maintain a closed system

and to protect against the non-medical diversion and use of their dangerously addictive opioid

drugs.

         627. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct

constituting a pattern of racketeering activity.

         628. It was foreseeable to Defendants that The County would be harmed when they

refused to report and halt suspicious orders, because their violation of the duties imposed by the

CSA and Code of Federal Regulations allowed the widespread diversion of prescription opioids

out of appropriate medical channels and into the illicit drug market – causing the opioid

epidemic that the CSA intended to prevent.
         629. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

                    D. DAMAGES.

                        1. Impact of the Opioid Diversion Enterprise.

         630. As alleged herein, including in Sections A(2) and A(3) of this Complaint, the

impact of the Opioid Diversion Enterprise has been devastating. The State’s and the Plaintiff’s

Community’s opioid prescription rate, the number of pills and other opioids distributed, and the
amount of doses of opioids dispensed far exceeds any legitimate purpose.

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       631. Tragically, the State’s and the Plaintiff’s Community’s death rate has increased as

a result of the flood of opioids into the state. The State and the Plaintiff’s Community is

plagued by unintentional drug poisonings driven largely by opioid-related overdoses.           A

significant number of the overdoses in the state involve opioids.

       632. The opioid epidemic in the State and the Plaintiff’s Community is one of the

deadlier epidemics, measured by deaths and mortality rates. The death toll in the State is

staggering, overwhelming coroner’s offices across the State.

       633. The opioid epidemic has placed increased budgetary constraints upon, amongst

other things, the public health and medical care expenditures of the State and Plaintiff’s

Community. Opioid addiction is one of the primary reasons citizens of the State and Plaintiff’s

Community seek substance abuse treatment.

       634. Criminal activity associated with the diversion of opioids has increased. This

places increased budgetary costs upon public safety expenses on the State, The County, and

Plaintiff’s Community.

                         2. The Relief Sought.

       635. The RICO Diversion Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused The County injury in its business and

property. The RICO Diversion Defendants’ pattern of racketeering activity, including their
refusal to identify, report and halt suspicious orders of controlled substances, logically,

substantially and foreseeably cause an opioid epidemic. The County was injured by the RICO

Diversion Defendants’ pattern of racketeering activity and the opioid epidemic that they created.

       636. As The County alleges, the RICO Diversion Defendants knew that the opioids

they manufactured and supplied were unsuited to treatment of long-term, chronic, non-acute,

and non-cancer pain, or for any other use not approved by the FDA, and knew that opioids were




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                                             388
highly addictive and subject to abuse.             Nevertheless, the RICO Diversion Defendants

engaged in a scheme of deception, that utilized the mail and wires as part of their fraud, in order

to increase sales of their opioid products by refusing to identify, report suspicious orders of

prescription opioids that they knew were highly addictive, subject to abuse, and were actually

being diverted into the illegal market.389

       637. Here, as The County alleges, the link of causation generally breaks down into

three very short steps: (1) the RICO Diversion Defendants’ affirmative action to continue

supplying prescription opioids through legal channels with knowledge that they were being

diverted into the illicit market; (2) an opioid epidemic in the form of criminal drug trafficking,

misuse and abuse; and (3) injuries to The County.390 Although not as direct as a car accident or

a slip-and-fall case, this causal chain is still a “direct sequence” and a logical, substantial and

foreseeable cause of The County’s injury.391

       638. Specifically, the RICO Diversion Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured The County in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic. The County’s injuries, as alleged throughout this complaint, and

expressly incorporated herein by reference, include:


       a. Losses caused by purchasing and/or paying reimbursements for the RICO

           Defendants’ prescription opioids, that The County would not have paid for or

           purchased but for the RICO Diversion Defendants’ conduct;




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    Traveler’s Property Casualty Company of America v. Actavis, Inc., 22 Cal. Rptr. 3d 5, 19
(Cal. Ct. App. 2017).
389
    City of Everett v. Purdue Pharma L.P., 2017 WL 4236062, *6 (W.D. Wash. Sept. 25, 2017).
390
    Id.
391
    Id.

                                                   265
b. Losses caused by the decrease in funding available for The County’s public services

   for which funding was lost because it was diverted to other public services designed

   to address the opioid epidemic;

c. Costs for providing healthcare and medical care, additional therapeutic, and

   prescription drug purchases, and other treatments for patients suffering from opioid-

   related addiction or disease, including overdoses and deaths;

d. Costs of training emergency and/or first responders in the proper treatment of drug

   overdoses;

e. Costs associated with providing police officers, firefighters, and emergency and/or

   first responders with Naloxone – an opioid antagonist used to block the deadly effects

   of opioids in the context of overdose;

f. Costs associated with emergency responses by police officers, firefighters, and

   emergency and/or first responders to opioid overdoses;

g. Costs for providing mental-health services, treatment, counseling, rehabilitation

   services, and social services to victims of the opioid epidemic and their families;

h. Costs for providing treatment of infants born with opioid-related medical conditions,

   or born addicted to opioids due to drug use by mother during pregnancy;

i. Costs associated with law enforcement and public safety relating to the opioid

   epidemic, including but not limited to attempts to stop the flow of opioids into local

   communities, to arrest and prosecute street-level dealers, to prevent the current opioid

   epidemic from spreading and worsening, and to deal with the increased levels of

   crimes that have directly resulted from the increased homeless and drug-addicted

   population;



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       j. Costs associated with increased burden on The County’s judicial system, including

           increased security, increased staff, and the increased cost of adjudicating criminal

           matters due to the increase in crime directly resulting from opioid addiction;

       k. Costs associated with providing care for children whose parents suffer from opioid-

           related disability or incapacitation;

       l. Loss of tax revenue due to the decreased efficiency and size of the working

           population in Plaintiffs’ Community;

       m. Losses caused by diminished property values in neighborhoods where the opioid

           epidemic has taken root; and

       n. Losses caused by diminished property values in the form of decreased business

           investment and tax revenue.

       639. The County’s injuries were proximately caused by Defendants’ racketeering

activities because they were the logical, substantial and foreseeable cause of The County’s

injuries. But for the opioid-addiction epidemic created by Defendants’ conduct, The County

would not have lost money or property.

       640. The County’s injuries were directly caused by the RICO Diversion Defendants’

pattern of racketeering activities.

       641. The County is most directly harmed and there is no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

       642. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.




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                        FOURTH CLAIM FOR RELIEF
               NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                            (Against All Defendants)

       643. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       644. Plaintiff seeks economic damages that were the foreseeable result of Defendants’

intentional and/or unlawful actions and omissions.

       645. Under State law, to establish actionable negligence, one must show, in addition to

the existence of a duty, a breach of that duty and injury resulting proximately therefrom. All such

essential elements exist here.

       646. Each Defendant owed a duty to the Plaintiff and to the public health and safety in

the Plaintiff’s Community because the injury was foreseeable and, in fact, foreseen by the

Defendants. If a course of action creates a foreseeable risk of injury, the individual engaged in

that course of action has a duty to protect others from such injury. Each Defendant owed a duty

to the Plaintiff and to the public in the Plaintiff’s Community, because the injury was foreseeable

and, in fact, foreseen by the Defendants.

       647. Further, as Section 302B of the Restatement of Torts provides: “An act or an

omission may be negligent if the actor realizes or should realize that it involves an unreasonable

risk of harm to another through the conduct of the other or a third person which is intended to

cause harm, even though such conduct is criminal.”

       648. Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling and distributing highly dangerous opioid drugs to and in the State and

Plaintiff’s Community.




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       649. Each Defendant had an obligation to exercise due care in manufacturing,

marketing, selling and distributing highly dangerous opioid drugs in the State and Plaintiff’s

Community.

       650. Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities and

impose significant costs upon the governmental entities associated with those communities. The

closed system of opioid distribution whereby wholesale distributors are the gatekeepers between

manufacturers and pharmacies, and wherein all links in the chain have a duty to prevent

diversion, exists for the purpose of controlling dangerous substances such as opioids and

preventing diversion and abuse.

       651. Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe harm of

addiction, foreseeably causing patients to seek increasing levels of opioids, frequently turning to

the illegal drug market as a result of a drug addiction that was foreseeable to the Manufacturer

Defendants.

       652. Moreover, law enforcement repeatedly warned Defendants of the unlawfulness and

consequences of their actions and omissions.

       653. The escalating amounts of addictive drugs flowing through Defendants’ businesses,

and the sheer volume of these prescription opioids, further alerted Defendants that addiction was

fueling increased consumption and that legitimate medical purposes were not being served.

       654. As described above in allegations expressly incorporated herein, Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution of

dangerous opioids, which are Schedule II Controlled Substances, by failing to monitor for,



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failing to report, and filling highly suspicious orders time and again. Because the very purpose of

these duties was to prevent the resulting harm – diversion of highly addictive drugs for non-

medical purposes – the causal connection between Defendants’ breach of duties and the ensuing

harm was entirely foreseeable.

       655. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Distributor Defendants misrepresented their compliance with their duties under the law

and concealed their noncompliance and shipments of suspicious orders of opioids to Plaintiff’s

Community and destinations from which they knew opioids were likely to be diverted into

Plaintiff’s Community, in addition to other misrepresentations alleged and incorporated herein.

       656. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the business of

pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled

Substances, by misrepresenting the nature of the drugs and aggressively promoting them for

chronic pain for which they knew the drug were not safe or suitable.

       657. The Manufacturer Defendants misrepresented and concealed the addictive nature of

prescription opioids and their lack of suitability for chronic pain, in addition to other

misrepresentations alleged and incorporated herein.

       658. All Defendants breached their duties to prevent diversion and report and halt

suspicious orders, and all Defendants misrepresented their compliance with their legal duties.

       659. Defendants’ breaches were intentional and/or unlawful, and Defendants’ conduct

was willful, wanton, malicious, reckless, oppressive and/or fraudulent.

       660. The     causal   connection    between    Defendants’      breaches   of   duties    and

misrepresentations and the ensuing harm was entirely foreseeable.



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       661. As described above in allegations expressly incorporated herein, Defendants’

breaches of duty and misrepresentations caused, bear a causal connection with and/or

proximately resulted in the damages sought herein.

       662. Defendants were selling dangerous drugs statutorily categorized as posing a high

potential for abuse and severe dependence. Defendants knowingly traded in drugs that presented

a high degree of danger if prescribed incorrectly or diverted to other than medical, scientific or

industrial channels. However, Defendants breached their duties to monitor for, report and halt

suspicious orders; breached their duties to prevent diversion; and, further, misrepresented what

their duties were and their compliance with their legal duties.

       663. The Defendants failed to disclose the material facts that, inter alia, they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell opioids.

       664. As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed and sold had characteristics, uses

or benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented

that the opioids were safe and effective when the Manufacturer Defendants knew, or should have

known, such representations were untrue, false and misleading.

       665. Because of the dangerously addictive nature of these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value and in fact

caused addiction and overdose deaths.




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       666. The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or

concealed material facts and failed to correct prior misrepresentations and omissions about the

risks and benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful

statements about opioids deceptive.

       667. Defendants’ unlawful and/or intentional actions create a rebuttable presumption of

negligence under State law.

       668. Plaintiff seeks economic losses (direct, incidental or consequential pecuniary

losses) resulting from Defendants’ actions and omissions.

       669. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                                 FIFTH CLAIM FOR RELIEF
                                   NEGLIGENCE PER SE
                                   (Against All Defendants)

       670. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       671. The statutes cited herein are public safety laws. Each Defendant had a duty under,

inter alia, these laws maintain effective controls against diversion of prescription opioids and to

guard against, prevent, and report suspicious orders of opioids.

       672. Defendants’ actions and omissions in violation of the law constitute negligence per

se.




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      673. Defendants’ actions and omissions were intentional and/or unlawful, and

Defendants acted with actual malice.

      674. It was foreseeable that the breach of duty described herein would result in the

economic damages for which Plaintiff seeks recovery.

      675. As described above in language expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes requiring that as wholesale drug distributors,

Defendants could only distribute these dangerous drugs under a closed system – a system

Defendants were responsible for guarding.

      676. As described above in language expressly incorporated herein, Defendants’ breach

of statutory and regulatory duties caused, bears a causal connection with, and proximately

resulted in, harm and damages sought by the Plaintiff.

      677. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ negligence per se. Plaintiff does not seek damages for the

wrongful death, physical personal injury, serious emotional distress, or any physical damage to

property caused by Defendants’ actions.

      678. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.




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                                  SIXTH CLAIM FOR RELIEF
                                     CIVIL CONSPIRACY
                                    (Against All Defendants)

        679. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

        680. As set forth herein, Defendants engaged in a civil conspiracy to create a public

nuisance in conjunction with their unlawful marketing, sale, distribution and/or diversion of

opioids into the State and Plaintiff’s Community.

        681. As set forth herein, Defendants engaged in a civil conspiracy to commit negligent

acts, fraudulent acts and omissions, and misrepresentations in conjunction with their unlawful

distribution and diversion of opioids into the State and Plaintiff’s Community.

        682. As set forth herein, Defendants engaged in a civil conspiracy to unlawfully divert

opioids and create opioid dependence and abuse in the State and Plaintiff’s Community.

        683. Distributor and Manufacturer Defendants unlawfully failed to act to prevent

diversion and failed to monitor for, report and prevent suspicious orders of opioids.

        684. The Manufacturer Defendants further unlawfully marketed opioids in the State and

Plaintiff’s Community in furtherance of that conspiracy.

        685. Defendants acted tortiously in concert with each other and/or in pursuit of a

common design, and/or Defendants knew each other’s conduct constituted a breach of their legal

duties and provided substantial assistance and/or encouragement in the conduct.

        686. Defendants’ conspiracy is a continuing conspiracy, and the overt acts performed in

compliance with the conspiracy’s objective(s) are ongoing and/or have occurred within the last

year.




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       687. Plaintiff alleges Defendants’ conspiracy and acts in furtherance in greater detail

earlier in the Complaint, including, without limitation, in Plaintiff’s racketeering allegations.

Such allegations are incorporated herein.

       688. Defendants acted with a common understanding or design to commit unlawful acts,

as alleged herein, and acted purposely, without a reasonable or lawful excuse, to create the

injuries alleged herein.

       689. Defendants acted with malice, purposely, intentionally, unlawfully and without a

reasonable or lawful excuse.

       690. Defendants’ conspiracy and Defendants’ actions and omissions in furtherance

thereof proximately caused and/or substantially contributed to the direct and foreseeable losses

alleged herein.

       691. Plaintiff seeks economic losses (direct, incidental or consequential pecuniary

losses) resulting from Defendants’ civil conspiracy.

       692. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                           SEVENTH CLAIM FOR RELIEF
                   FRAUD AND FRAUDULENT MISREPRESENTATION
                              (Against All Defendants)

       693. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.




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       694. Defendants violated their general duty not to actively deceive, have made

knowingly false statements and have omitted and/or concealed information that made statements

Defendants did make knowingly false. Defendants acted intentionally and/or unlawfully.

       695. As alleged herein, Defendants made false statements as to their compliance with

state and federal law regarding their duties to prevent diversion and their duties to monitor,

report and halt suspicious orders and/or concealed their noncompliance with these requirements.

       696. As alleged herein, the Manufacturer Defendants engaged in false representations

and concealments of material fact regarding the use of opioids to treat chronic, non-cancer pain.

       697. Additionally, the Marketing Defendants’ knowing deceptions during the relevant

period, which were intended to induce reliance, include but are not limited to:

                   a. Marketing Defendants’ misrepresentations overstating the benefits of, and

                      evidence for, the use of opioids for chronic pain;

                   b. Marketing Defendants’ misrepresentations that the risks of long-term

                      opioid use, especially the risk of addiction, were overblown;

                   c. Marketing Defendants’ misrepresentations that opioid doses can be safely

                      and effectively increased until pain relief is achieved;

                   d. Marketing Defendants’ misrepresentations that signs of addiction were

                      “pseudoaddiction” and thus reflected undertreated pain, which should be

                      responded to with more opioids;

                   e. Marketing Defendants’ misrepresentations that screening tools effectively

                      prevent addiction;

                   f. Marketing Defendants’ misrepresentations concerning the comparative

                      risks of NSAIDs and opioids;



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g. Marketing Defendants’ misrepresentations that opioids differ from

   NSAIDs in that opioids have no ceiling dose;

h. Marketing Defendants’ misrepresentations that evidence supports the long-

   term use of opioids for chronic pain;

i. Marketing Defendants’ misrepresentations that chronic opioid therapy

   would improve patients’ function and quality of life;

j. Marketing Defendants’ false portrayal of their efforts and/or commitment

   to rein in the diversion and abuse of opioids;

k. Marketing Defendants’ misrepresentations that withdrawal is easily

   managed;

l. Purdue’s and Endo’s misrepresentations that alleged abuse-deterrent

   opioids reduce tampering and abuse;

m. Purdue’s misrepresentations that OxyContin provides a full 12 hours of

   pain relief;

n. Purdue’s misrepresentations that it cooperates with and supports efforts to

   prevent opioid abuse and diversion;

o. Mallinckrodt’s misrepresentations that it meets or exceeds legal

   requirements for controlling against diversion of controlled substances it

   has been entrusted to handle;

p. Insys’s misrepresentations that Subsys was appropriate for treatment of

   non-cancer pain and its failure to disclose that Subsys was not approved for

   such use;




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                    q. Insys’s misrepresentations to third-party payors to secure approval for

                       coverage;

                    r. Insys’s use of speaker bureaus to disguise kickbacks to prescribers;

                    s. Teva’s misrepresentations that Actiq and Fentora were appropriate for

                       treatment of non-cancer pain and its failure to disclose that Atciq and

                       Fentora were not approved for such use;

                    t. Cephalon’s unsubstantiated claims that Actiq and Fentora were appropriate

                       for treatment of non-cancer pain;

                    u. Marketing Defendants’ use of front groups to misrepresent that the

                       deceptive statements from the sources described in this Complaint came

                       from objective, independent sources;

                    v. Marketing Defendants’ creation of a body of deceptive, misleading and

                       unsupported medical and popular literature, advertisements, training

                       materials, and speaker presentations about opioids that (i) understated the

                       risks and overstated the benefits of long-term use; (ii) appeared to be the

                       result of independent, objective research; and (iii) was thus more likely to

                       be relied upon by physicians, patients, and payors; and,

                    w. Such other misrepresentations and deceptions outlined above.

       698. By engaging in the acts and practices alleged herein, the Marketing Defendants in

the relevant time period with the intent that others rely on their omissions or suppression of

information, omitted material facts that Marketing Defendants had a duty to disclose by virtue of

these Defendants’ other representations, including but not limited to:

               a.      opioids are highly addictive and may result in overdose or death;



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              b.      no credible scientific evidence supports the use of screening tools as a
                      strategy for reducing abuse or diversion;

              c.      high dose opioids subject the user to greater risks of addiction, other
                      injury, and/or death;

              d.      opioids present the risks of hyperalgesia, hormonal dysfunction, decline in
                      immune function, mental clouding, confusion, dizziness, increased falls
                      and fractures in the elderly, neonatal abstinence syndrome, and potentially
                      fatal interactions with alcohol or benzodiazepines; these omissions were
                      made while Defendants exaggerated the risks of competing products such
                      as NSAIDs;

              e.      claims regarding the benefits of chronic opioid therapy lacked scientific
                      support or were contrary to the scientific evidence;

              f.      Purdue’s 12-hour OxyContin fails to last a full twelve hours in many
                      patients;

              g.      Purdue’s and Endo’s abuse-deterrent formulations are not designed to
                      address, and have no effect on, the common route of abuse (oral abuse),
                      can be defeated with relative ease, and may increase overall abuse;

              h.      Marketing Defendants’ failure to report suspicious prescribers and/or
                      orders;

              i.      Insys’s use of kickback and insurance fraud schemes;

              j.      Insys’s failure to disclose that Subsys was not approved for non-cancer
                      pain;

              k.      Cephalon’s failure to disclose that Actiq and Fentora were not approved
                      for non-cancer pain;

              l.      Marketing Defendants’ failure to disclose their financial ties to and role in
                      connection with KOLs, front groups, and deceptive literature and
                      materials, as more fully described above; and

              m.      Such other omissions and concealments as described above

       699. As alleged herein, Defendants knowingly and/or intentionally made representations

that were false. Defendants had a duty to disclose material facts and concealed them. These false

representations and concealed facts were material to the conduct and actions at issue. Defendants

made these false representations and concealed facts with knowledge of the falsity of their


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representations, and did so with the intent of misleading Plaintiff, Plaintiff’s Community, the

public and persons on whom Plaintiff relied.

        700. These false representations and concealments were reasonably calculated to

deceive Plaintiff, Plaintiff’s Community and the physicians who prescribed opioids for persons in

Plaintiff’s Community; were made with the intent to deceive; and did in fact deceive these

persons, Plaintiff and Plaintiff’s Community.

        701. Plaintiff and Plaintiff’s Community reasonably relied on these false representations

and concealments of material fact.

        702. Plaintiff justifiably relied on Defendants’ representations and/or concealments, both

directly and indirectly. This reliance proximately caused Plaintiff’s injuries.

        703. Defendants’ fraudulent conduct was a direct and proximate cause of the injuries

Plaintiff alleges herein.

        704. Plaintiff seeks economic losses (direct, incidental or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity, including fraudulent misrepresentations

and fraudulent concealment.

        705. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                                 EIGHTH CLAIM FOR RELIEF
                                   UNJUST ENRICHMENT
                                    (Against All Defendants)

        706. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.



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        707. Under the doctrine of unjust enrichment, a party who receives a benefit must return

the benefit if retention would be inequitable. Unjust enrichment is established where: (a) the

plaintiff conferred a benefit upon the defendant; (b) the defendant has knowledge of the benefit;

(c) the defendant accepted or retained the benefit conferred; and (d) the circumstances are such

that it would be inequitable for the defendant to retain the benefit without paying the plaintiff for

its fair value.

        708. Plaintiff conferred a benefit on each Manufacturer Defendant.           By paying for

services related to public safety, treatment, emergency services, and public health, Plaintiff has

assumed the financial burden of paying for services and goods that allow defendants to continue

their scheme, including treatment and emergency services, which benefit was known to and

accepted by each Manufacturing Defendant, which inured to the profits of each Manufacturing

Defendant, and for which retention of such benefit is inequitable based on the Manufacturing

Defendants’ false and misleading marketing and omissions of and failure to state material facts

in connection with marketing opioids, and by failing to prevent diversion by reporting and

preventing suspicious orders of opioids in violation of their legal duties, as set forth herein. The

Manufacturing Defendants have thus been unjustly enriched by deceptive marketing,

contributing to Plaintiff’s current opioid epidemic.

        709. Plaintiff conferred a benefit on each Distributor Defendant. By paying for services

related to public safety, treatment, emergency services, and public health, Plaintiff has assumed

the financial burden of paying for services and goods that allow defendants to continue their

scheme, including treatment and emergency services, which benefit was known to and accepted

by each Distributor Defendant, which inured to the profits of each Distributor Defendant, and for

which retention of such benefit is inequitable based on the Distributor Defendants’ intentional



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and unlawful actions and omissions, as set forth herein. The Distributor Defendants have thus

been unjustly enriched by neglecting their duty to distribute prescription opioids only for proper

medical purposes, and by failing to prevent diversion by reporting and preventing suspicious

orders of opioids in violation of their legal duties, contributing to Plaintiff’s current opioid

epidemic.

       710. Plaintiff’s opioid addiction and overdose epidemic has cost it millions of dollars

including inter alia: (1) costs for providing medical care, additional therapeutic and prescription

drug purchases, and other treatments for patients suffering from opioid-related addiction or

disease, including overdoses and deaths; (2) costs for providing treatment, counseling and

rehabilitation services; (3) costs for providing treatment of infants born with opioid-related

medical conditions; and (4) costs associated with public safety and the judicial system relating to

the opioid epidemic.

       711. The unjust enrichment of the Manufacturer and Distributor Defendants is directly

related to the damage, loss, and detriment to Plaintiff caused by Defendants’ false marketing and

failure to report and/or prevent suspicious sales.        It would be inequitable under these

circumstances for the Defendants to retain this benefit without compensating Plaintiff for its

value. Plaintiff seeks recovery of the amounts by which the Defendants were enriched as a result

of their inequitable conduct.



                             NINTH CLAIM FOR RELIEF
                       UTAH CONSUMER SALES PRACTICES ACT
                          UTAH CODE ANN. §§ 13-11-1 et seq.
                               (Against All Defendants)




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       712. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows:

       713. The Utah Consumer Sales Practices Act, Utah Code Ann. §§ 13-11-1 et seq.,

(“UCSPA”) applies to any deceptive act or practice by a supplier in connection with a consumer

transaction, whether it occurs before, during, or after the transaction.

       714. Pursuant to the UCSPA, a supplier commits a deceptive act or practice if, among

other things, it knowingly or intentionally: (i) indicates that the subject of a consumer transaction

has sponsorship, approval, performance characteristics, accessories, uses, or benefits, if it has

not; (ii) indicates that the subject of a consumer transaction is of a particular standard, quality,

grade, style, or model, if it is not; (iii) indicates that the subject of a consumer transaction has

been supplied in accordance with a previous representation, if it has not; or (iv) indicates that the

supplier has a sponsorship, approval, or affiliation the supplier does not have.

       715. Defendants violated Utah Code Ann. §§ 13-11-4 and 5 by engaging in unfair and

deceptive acts or practices and in unconscionable consumer sales acts and practices in Utah.

       716. As alleged herein, each Defendant wrongfully represented that the opioid

prescription medications they manufactured, marketed, and sold had characteristics, uses, or

benefits that they do not have.

       717. The Defendants also wrongfully misrepresented that the opioids were safe and

effective when such representations were untrue, false, and misleading.

       718. The Defendants used exaggeration and/or ambiguity as to material facts and

omitted material facts, which tended to deceive and/or did in fact deceive.

       719. The Defendants made deceptive representations about the use of opioids to treat

chronic non-cancer pain. Each Defendant also omitted or concealed material facts and failed to



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correct prior misrepresentations and omissions about the risks and benefits of opioids. Each

Defendant’s omissions rendered even their seemingly truthful statements about opioids

deceptive.

       720. Because of the dangerously addictive nature of these drugs, which the Defendants

concealed and misrepresented, they lacked medical value, and in fact caused addiction and

overdose deaths; therefore, Defendants’ sales and marketing of opioids constituted a violation of

State law.

       721. In addition, each Defendant engaged in unfair and/or deceptive trade practices by

failing to report suspicious orders of opioids and/or prevent the diversion of highly addictive

prescription drugs to illegal sources.

       722. Defendants were required to comply with the reporting requirements under federal

law and maintain distribution records pursuant to Utah Code Ann. § 58-37-6.

       723. Defendants failed to disclose the material facts that, inter alia, they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell opioids, and the Distributor Defendants would not have been able to receive and

renew licenses to sell opioids.

       724. Because of the dangerously addictive nature of these drugs, the Defendants’ unfair

and/or deceptive trade practices unlawfully caused an opioid and heroin plague and epidemic in

the State and Plaintiff’s Community.




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       725. Each Defendant had a non-delegable duty to guard against and prevent the misuse

and/or diversion of prescription opioids to other than legitimate medical, scientific, and industrial

channels.

       726. Defendants also omitted material facts, causing confusion or misunderstanding as

to approval or certification of goods or services.

       727. The Defendants failed to disclose the material facts that, inter alia, they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell opioids, and the Distributor Defendants would not have been able to receive and

renew licenses to sell opioids.

       728. Defendants’ unfair, deceptive, and unconscionable representations, concealments,

and omissions were reasonably calculated to deceive the State, the public, Plaintiff’s

Community, and Plaintiff.

       729. As described more specifically above, Defendants’ representations, concealments,

and omissions constitute a willful course of conduct which continues to this day.

       730. The damages that Plaintiff seeks to recover were sustained as a direct and

proximate cause of the Defendants’ intentional and/or unlawful actions and omissions.

       731. Defendants’ actions and omissions in the course of marketing, selling, and

distributing prescriptions opioids violated the UCSPA and the actions and transactions

constituting those violations occurred primarily and substantially within the State of Utah and

Plaintiff’s Community.




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       732. Each Defendant failed to report and/or prevent the diversion of highly addictive

prescription drugs.

       733. Because of the dangerously addictive nature of these drugs, the Distributor

Defendants’ manufacturing, marketing, sales, and distribution practices unlawfully caused an

opioid and heroin plague and epidemic in the State and Plaintiff’s Community. Each Defendant

had a non-delegable duty to guard against and prevent the diversion of prescription opioids to

other than legitimate medical, scientific, and industrial channels.

       734. The Defendants also omitted material facts, causing confusion or misunderstanding

as to approval or certification of goods or services.

       735. The Defendants failed to disclose the material facts that, inter alia, they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell opioids, and the Distributor Defendants would not have been able to receive and

renew licenses to sell opioids.

       736. As alleged herein, each Defendant wrongfully represented that the opioid

prescription medications they manufactured, marketed, and sold had characteristics, uses, or

benefits that they do not have.

       737. The Defendants also wrongfully misrepresented that the opioids were safe and

effective when such representations were untrue, false, and misleading.

       738. The Defendants also used exaggeration and/or ambiguity as to material facts and

omitted material facts, which had a tendency to deceive and/or did in fact deceive.




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       739. Because of the dangerously addictive nature of these drugs, which the Defendants

concealed and misrepresented, they lacked medical value, and in fact caused addiction and

overdose deaths; therefore, Defendants’ sales and marketing of opioids constituted a violation of

State law.

       740. The Defendants made deceptive representations about the use of opioids to treat

chronic non-cancer pain. Each Defendant also omitted or concealed material facts and failed to

correct prior misrepresentations and omissions about the risks and benefits of opioids. Each

Defendant’s omissions rendered even their seemingly truthful statements about opioids

deceptive.

       741. Defendants acted knowingly, intentionally and/or unlawfully.

       742. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ deceptive trade practices. Plaintiff does not seek damages for

physical personal injury or any physical damage to property caused by Defendants’ actions.

       743. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by Defendants,

attorney fees and costs, and pre- and post-judgment interest

                                      PUNITIVE DAMAGES

       744. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       745. By engaging in the above-described intentional and/or unlawful acts or practices,

Defendants acted with actual malice, wantonly and oppressively. Defendants acted with

conscious disregard for the rights of others and/or in a reckless, wanton, willful or grossly



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negligent manner. Defendants acted with a prolonged indifference to the adverse consequences

of their actions and/or omissions. Defendants acted with a conscious disregard for the rights and

safety of others in a manner that had a great probability of causing substantial harm. Defendants

acted toward the Plaintiff with fraud, oppression and/or malice and/or were grossly negligent in

failing to perform the duties and obligations imposed upon them under applicable federal and

state statutes and common law.

       746. Defendants were selling and/or manufacturing dangerous drugs statutorily

categorized as posing a high potential for abuse and severe dependence. Thus, Defendants

knowingly traded in drugs that presented a high degree of danger if prescribed incorrectly or

diverted to other than legitimate medical, scientific or industrial channels. Because of the severe

level of danger posed by, and indeed visited upon the State and Plaintiff’s Community by, these

dangerous drugs, Defendants owed a high duty of care to ensure that these drugs were only used

for proper medical purposes. Defendants chose profit over prudence and the safety of the

community, and an award of punitive damages is appropriate as punishment and a deterrence.

       747. By engaging in the above-described wrongful conduct, Defendants also engaged in

willful misconduct and gross negligence and exhibited an entire want of care that would raise the

presumption of a conscious indifference to consequences.

                                            RELIEF

       WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:

       748. Enter a Judgment in favor of the Plaintiff in a final order against each of the

Defendants;

       749. Enjoin the Defendants and their employees, officers, directors, agents, successors,

assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries and all



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other persons acting in concert or participation with them from engaging in unfair or deceptive

practices in violation of law and ordering temporary, preliminary or permanent injunction;

       750. Order that Defendants compensate the Plaintiff for past and future costs to abate the

ongoing public nuisance caused by the opioid epidemic;

       751. Order Defendants to fund an “abatement fund” for the purposes of abating the

opioid nuisance;

       752. Award actual damages, treble damages, injunctive and equitable relief, forfeiture as

deemed proper by the Court, and attorneys’ fees and all costs and expenses of suit pursuant to

Plaintiff’s racketeering claims;

       753. Award the Plaintiff the damages caused by the opioid epidemic, including (A) costs

for providing medical care, additional therapeutic and prescription drug purchase, and other

treatments for patients suffering from opioid-related addiction or disease, including overdoses

and deaths; (B) costs for providing treatment, counseling, and rehabilitation services; (C) costs

for providing treatment of infants born with opioid-related medical conditions; and (D) costs

associated with public safety relating to the opioid epidemic.

       754. Enter a judgment against the Defendants requiring Defendants to pay punitive

damages;

       755. Grant the Plaintiff

               a. The costs of investigation, reasonable attorneys’ fees, and all other costs and

                   expenses;

               b. Pre-judgment and post-judgment interest; and

               c. All other relief as provided by law and/or as the Court deems appropriate and

                   just.



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                                     JURY DEMAND

    Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues.

    DATED: October 9, 2018.

                                      JONES WALDO HOLBROOK & McDONOUGH, P.C.

                                      /s/ P. MATTHEW MUIR
                                      ___________________________
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